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                                 Exhibit A
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                       SCU
                                                       FACE PAGE

      This page is the face of the policy referenced by number below and is a part of the policy.


      Insured's Name: El Novillo Restaurant; DJJ Restaurant Corp., dba;
      Policy Number: 773TA10063               Policy Dates: From: 7/1/2019 To: 7/1/2020

      Surplus Lines Agent's Name:                       Marcia Whisman
      Surplus Lines Agent's Address:                    120 E. Palmetto Park Road, Suite 300
                                                        Boca Raton, FL 33432
      Surplus Lines Agent's License:                    # P134922
      Producing Agent's Name:                           Roberto Rafael Hernandez
      Producing Agent's Physical Address:               11440 N. Kendall DriveSuite 201
                                                        Miami, FL 33176

      "THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA SURPLUS LINES LAW. PERSONS
      INSURED BY SURPLUS LINES CARRIERS DO NOT HAVE THE PROTECTION OF THE FLORIDA
      INSURANCE GUARANTY ACT TO THE EXTENT OF ANY RIGHT OF RECOVERY FOR THE
      OBLIGATION OF AN INSOLVENT UNLICENSED INSURER."

      "SURPLUS LINES INSURERS' POLICY RATES AND FORMS ARE NOT
      APPROVED BY ANY FLORIDA REGULATORY AGENCY."
           Policy Premium:                            $2,828.00                      Policy Fee:                      $35.00
            Inspection Fee:                              $50.00                    Service Fee:                        $2.91
                       Tax:                             $145.65          Citizen's Assessment:
          EMPA Surcharge:                                 $4.00             FHCF Assessment:




      Surplus Lines Agent's Countersignature:


      If this policy is a surplus lines, personal lines residential property policy then the following shall apply:


      "THIS POLICY CONTAINS A CO -PAY PROVISION THAT MAY RESULT
      IN HIGH OUT -OF- POCKET EXPENSES TO YOU."

     If this policy is a surplus lines, personal lines residential property policy which includes the peril of
     windstorm then the following shall apply:

      "THIS POLICY CONTAINS A SEPARATE DEDUCTIBLE FOR
      HURRICANE OR WIND LOSSES, WHICH MAY RESULT IN HIGH OUT -
      OF- POCKET EXPENSES TO YOU."
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                                 POLICY BANNER PAGE

POLICY NUMBER:           773TA10063


INSURED:    El Novillo   Restaurant;




                               POLICY FORMS ARE COMPLETE
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      This Declaration Page is attached to and forms part of Certificate provisions (Form SLC -3 USA NMA                   2868)

        Previous No: 7 7MCW - 7 619                                          Certificate No: 7 7 3 TA10 0 6 3


             Name and address of the Assured:
            El Novillo Restaurant;                                             NO FLAT CANCELLATIONS
            DJJ Restaurant Corp dba
            15450 New Barn Road
            Hialeah, FL 33014
     2.      Effective from 07/01/2019 to             07/01/2020
             both days at 12:01 a.m. standard time.

     3.      Insurance is effective with certain UNDERWRITERS AT LLOYD'S, LONDON.
             Authority Ref. No: B0429BA1900773



     4.      Amount                Coverage                         Rate
               See Applicable Commercial Coverage         Part Declarations
     5.   Premium
                Commercial Property Premium:          $          2,828.00
             Commercial Inland Marine Premium:        $    NOT COVERED
                  Commercial Crime Premium:           $    NOT COVERED




                                       Policy Fee     $                35.00
                                   Inspection Fee     $                50.00
                                Surplus Lines Tax     $               145.65
                                    Stamping Fee      $                 2.91
                                    FL EMPATF         $                 4.00
                                  Total Premium:      $             3,065.56
     6.     Forms attached hereto and special conditions: Per attached form SCHEDULE OF FORMS (SCU -004)

     7.     Service of Suit may be made upon:               Per attached form SCU -006
     8.     In the event of a claim, please notify the following:
            SCU
            Att: Claims
            P.O. Box 2576, Sumter, SC 29151                                    SCU     -   A Division   of CRC Insurance Services Inc.
            Phone: 866 -816 -6594
            Email: LloydsClaims @scui.com
                                                                                  By
     Dated:07/03/2019 JS/TZ
                                                                                                   Correspondent


                                                 One Lime Street London EC3M 7HA



                                  Lloyd's Certificate
                                                                           SCU,    ADiv of CRC Ins Services Inc
                                                                           3820    Northdale Blvd
                                                                           Suite       115A
                                                                           Tampa,      FL     33624
                                                      INSURED
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                 SCHEDULE OF FORMS AND ENDORSEMENTS

POLICY NUMBER:                                                     NAMED INSURED
 773TA10063                                                        El Novillo Restaurant;




Form /Endorsement No. /Edition Date
Forms   Applicable   -   INTERLINE


IL0017 1198                 COMMON POLICY CONDITIONS
SCU -002 1013               COLLECTIVE CERTIFICATE ENDORSEMENT
SCU -003 1013               SYNDICATE ALLOCATION ENDORSEMENT
SCU -005 1013               MINIMUM EARNED PREMIUM ENDORSEMENT
SCU -006 1016               COMBINED PROVISIONS ENDORSEMENT
LMA3100                     SANCTION LIMITATION AND EXCLUSION CLAUSE
LSW1001                     SEVERAL LIABILITY NOTICE
LMA5219 12 -01 -2015        US TRIA OF 2002 AS AMENDED NOT PURCHASED CLAUSE


Forms   Applicable   -   PROPERTY


CF150 1185                  COMMERCIAL PROPERTY COVERAGE PART
CP0010 1012                 PROPERTY COVERAGE FORM
CP0030 1012                 BUS INC WITH EXTRA EXPENSE
CP0090 0788                 COMM PROPERTY CONDITIONS
CP0411 0917                 PROTECTIVE SAFEGUARDS
CP1030 1012                 SPECIAL CAUSE OF LOSS
CP1054 0607                WIND /HAIL EXCLUSION
CP1211 0917                BURGLARY AND ROBBERY PROTECTIVE SYSTEMS
CP1470 0607                BUILDING GLASS -TENANT'S POLICY
SCU-113   1114              COMMERCIAL PROPERTY EXTENSION


Forms Applicable     -   STATE FORMS


USU1 0409                   JACKET
CP0125 0212                 FLORIDA CHANGES
IL0175 0702                 FLORIDA CHANGES   -   LEGAL ACTION AGAINST US
IL0255 0316                 FLORIDA CHANGES   -   CANCELLATION & NONRENWAL




    Misc Form No. /Edition Date




FORMS SCHEDULE (SCU -004)                             INSURED
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                                                                                                                   IL00171198


                                    COMMON POLICY CONDITIONS
   All Coverage Parts included in this policy are subject to the following conditions.

  A. Cancellation                                                              b.    Give you reports on the conditions we find;
                                                                                     and
       1.   The first Named Insured shown in the Declara-
            tions may cancel this policy by mailing or de-                     c.    Recommend changes.
            livering to us advance written notice of cancel-
            lation.                                                       2.   We are not obligated to make any inspections,
                                                                               surveys, reports or recommendations and any
       2.   We may cancel this policy by mailing or deliv-                     such actions we do undertake relate only to in-
            ering to the first Named Insured written notice of                 surability and the premiums to be charged. We
            cancellation at least:                                             do not make safety inspections. We do not un-
                                                                               dertake to perform the duty of any person or
            a.   10 days before the effective date of cancel-
                                                                               organization to provide for the health or safety of
                 lation if we cancel for nonpayment of pre-                    workers or the public. And we do not warrant
                 mium; or                                                      that conditions:
            b.   30 days before the effective date of can-                     a.    Are safe or healthful; or
                 cellation if we cancel for any other reason.
                                                                               b.    Comply with laws, regulations, codes or
       3.   We will mail or deliver our notice to the first                          standards.
            Named Insured's last mailing address known to
            us.                                                           3.   Paragraphs 1. and 2. of this condition apply not
                                                                               only to us, but also to any rating, advisory, rate
       4.   Notice of cancellation will state the effective date               service or similar organization which makes
            of cancellation. The policy period will end on                     insurance inspections, surveys, reports or rec-
            that date.                                                         ommendations.
       5.   If this policy is cancelled, we will send the first           4.   Paragraph 2. of this condition does not apply to
            Named Insured any premium refund due. If we                        any inspections, surveys, reports or recom-
            cancel, the refund will be pro rata. If the first                  mendations we may make relative to certifi-
            Named Insured cancels, the refund may be less                      cation, under state or municipal statutes, ordi-
            than pro rata. The cancellation will be effective                  nances or regulations, of boilers, pressure
            even if we have not made or offered a refund.                      vessels or elevators.
       6.   If notice is mailed, proof of mailing will be suf-
                                                                     E.   Premiums
            ficient proof of notice.
                                                                          The first Named Insured shown in the Declarations:
  B.   Changes
                                                                          1.   Is   responsible for the payment of all premiums;
       This policy contains all the agreements between you                     and
       and us concerning the insurance afforded. The first
       Named Insured shown in the Declarations is auth-                   2.   Will be the payee for any return premiums we
       orized to make changes in the terms of this policy                      pay.
       with our consent. This policy's terms can be
       amended or waived only by endorsement issued by               F.   Transfer Of Your Rights And Duties Under
       us and made a part of this policy.                                 This Policy

  C.   Examination Of Your Books And Records                              Your rights and duties under this policy may not be
                                                                          transferred without our written consent except in the
       We may examine and audit your books and records                    case of death of an individual named insured.
       as they relate to this policy at any time during the
       policy period and up to three years afterward.                     If you die, your rights and duties will be transferred
                                                                          to your legal representative but only while acting
  D.   Inspections And Surveys                                            within the scope of duties as your legal repre-
                                                                          sentative. Until your legal representative is ap-
       1.   We have the right to:                                         pointed, anyone having proper temporary custody
            a.   Make inspections and surveys at any time;                of your property will have your rights and duties but
                                                                          only with respect to that property.




   IL00171198                             Copyright, Insurance Services Office, Inc., 1998                           Page   1   of 1
                                                           INSURED
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          Certificate Number: 773TA10063

          Insured:   El Novillo     Restaurant;
          Effective Date:   07/01/2019
          COLLECTIVE CERTIFICATE ENDORSEMENT

          The Underwriters whose contract numbers are hereunto subscribed, hereby agree that:

              1.       SCU has procured insurance with certain Underwriters through our Broker in London,
                       England under the below listed contract numbers. The subscribing insurers' obligations
                       under contracts of insurance to which they subscribe are several and not joint and are limited
                       solely to the extent of their individual subscriptions. The subscribing insurers are not
                       responsible for the subscription of any co- subscribing insurer who for any reason does not
                       satisfy all or part of its obligations.

              2.       Each contract shall be liable for such proportion of any loss as the amount underwritten by
                       such contract, as specified hereunder. In no event shall any of the Underwriters under such
                       contract be liable for amount greater than that underwritten by it, as specified herein.

              3.       It is understood and agreed that service of process or suit or any notice as proof of loss
                       required by the Certificate when served upon any of the Underwriters of such contract
                       executing the "Collective Certificate" endorsement shall be deemed to be service upon all
                       such Underwriters under each contract.



    CONTRACT NUMBER                      PERCENTAGE:                          PREMIUM:                          TOTAL
                                  PROPERTY          LIABILITY         PROPERTY         LIABILITY
                                  SECTION           SECTION           SECTION          SECTION
       B0429BA1900773              100 %               NIL        $        2,828.         NIL               $       2,828.
                                          %            NIL        $                        NIL              S

                                                       NIL        $                        NIL              $

                                          s            NIL        $                        NIL              $




    TOTAL                                                         $        2,828.                           $       2,828.




   SCU-002 (10/13)
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                           SYNDICATE ALLOCATION ENDORSEMENT


                                        CRC Insurance Services Inc dba SCU




                                               SECURITY DETAILS

                         PLACED WITH:      Lloyd's Underwriters, London, England, comprising:




                 Line                            Pseudonym                             Syndicate No

                        50.0%                          XLC                                 2003
                        12.3%                          AFB                                 2623
                         2.7%                          AFB                                  623
                        13.5%                          BRT                                 2987
                         1.5%                          BRT                                 2988
                        10.0%                          WRB                                 1967
                        10.0%                          MSP                                  318




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                                           MINIMUM EARNED PREMIUM CLAUSE



        If this Insurance is cancelled at your request, there will be a minimum earned premium retained by us of
        $          or 25   %   of the premium for this Insurance, whichever is greater.

        If a policy fee, inspection fee or expense constant is applicable to this policy, those fee(s) will be fully earned
        and no refund of those fee(s) will be made.

        All other Terms and Conditions of this Policy remain unchanged.




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                                  COMBINED PROVISIONS ENDORSEMENT



                                           MICROOGRANISM EXCLUSION (ABSOLUTE)

This policy does not insure any loss, damage, claim, cost, expense or other sum directly or indirectly arising out of or relating
to:

      mold, mildew, fungus, spores or other micro -organism of any type, nature, or description, including but not limited to
      any substance whose presence poses an actual or potential threat to human health.

This exclusion applies regardless whether there is (i) any physical loss or damage to insured property; (ii) any insured peril or
cause, whether or not contributing concurrently or in any sequence; (iii) any loss of use, occupancy, or functionality; or (iv)
any action required, including but not limited to repair, replacement, removal, cleanup, abatement, disposal, relocation, or
steps taken to address medical or legal concerns.

This exclusion replaces and supersedes any provision in the policy that provides insurance, in whole or in part for these
matters.
LMA 5018




                                                    ASBESTOS ENDORSEMENT

A.    This Policy only insures asbestos physically incorporated in an insured building or structure, and then only that part of the
      asbestos which has been physically damaged during the period of insurance by one of these Listed Perils:

      fire; explosion; lightning; windstorm; hail; direct impact of vehicle, aircraft or vessel; riot or civil commotion, vandalism or
      malicious mischief; or accidental discharge of fire protective equipment.

This coverage is subject to each of the following specific limitations:

1.    The said building or structure must be insured under this Policy for damage by that Listed Peril.

2.    The Listed Peril must be the immediate, sole cause of the damage of the asbestos.

3.    The Assured must report to Underwriters the existence and cost of the damage as soon as practicable after the Listed
      Peril first damaged the asbestos. However, this Policy does not insure any such damage first reported to the
      Underwriters more than 12 (twelve) months after the expiration, or termination, of the period of insurance.

4.    Insurance under this Policy in respect of asbestos shall not include any sum relating to:

      (i)   any faults in the design, manufacture or installation of the asbestos;

      (ii) asbestos not physically damaged by the Listed Peril including any governmental or regulatory authority direction or
           request of whatsoever nature relating to undamaged asbestos.

B.    Except as set forth in the foregoing Section A, this Policy does not insure asbestos or any sum relating thereto.

14/ 09/ 2005
LMA5019



                                                 SERVICE OF SUIT CLAUSE (U.S.A.)

This Service of Suit Clause will not be read to conflict with or override the obligations of the parties to arbitrate their disputes
as provided for in any Arbitration provision within this Policy. This Clause is intended as an aid to compelling arbitration or
enforcing such arbitration or arbitral award, not as an alternative to such Arbitration provision for resolving disputes arising
out of this contract of insurance (or reinsurance).


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 It isagreed that in the event of the failure of the Underwriters hereon to pay any amount claimed to be due hereunder, the
 Underwriters hereon, at the request of the Insured (or Reinsured), will submit to the jurisdiction of a Court of competent
 jurisdiction within the United States. Nothing in this Clause constitutes or should be understood to constitute a waiver of
 Underwriters' rights to commence an action in any Court of competent jurisdiction in the United States, to remove an action to
 a United States District Court, or to seek a transfer of a case to another Court as permitted by the laws of the United States or
 of any State in the United States.

     further agreed that service of process in such suit may be made upon Mendes & Mount, LLP., 750 Seventh Avenue,
 It is
 New York, NY 10019 -6829, USA All States except California where it shall be: Foley & Lardner LLP, 555 California Street,
 Suite 1700, San Francisco, CA 94104 -1520. and that in any suit instituted against any one of them upon this contract,
 Underwriters will abide by the final decision of such Court or of any Appellate Court in the event of an appeal.
 The above -named are authorized and directed to accept service of process on behalf of Underwriters in any such suit and/ or
 upon the request of the Insured (or Reinsured) to give a written undertaking to the Insured (or Reinsured) that they will enter a
 general appearance upon Underwriters' behalf in the event such a suit shall be instituted.

 Further, pursuant to any statute of any state, territory or district of the United States which makes provision therefor,
 Underwriters hereon hereby designate the Superintendent, Commissioner or Director of Insurance or other officer specified
 for that purpose in the statute, or his successor or successors in office, as their true and lawful attorney upon whom may be
 served any lawful process in any action, suit or proceeding instituted by or on behalf of the Insured (or Reinsured) or any
 beneficiary hereunder arising out of this contract of insurance (or reinsurance), and hereby designate the above -named as the
 person to whom the said officer is authorized to mail such process or a true copy thereof.

 14/ 09/ 2005
 LMA5020



                                                    APPLICABLE LAW (USA)

 This Insurance shall be subject to the applicable state law to be determined by the court of competent jurisdiction as
 determined by the provisions of the Service of Suit Clause (USA)

 14/ 09/ 2005
 LMA5021



                                           TOTAL OR CONSTRUCTIVE LOSS CAUSE

    understood and agreed that in the event of a total loss or constructive total loss under the policy, the entire policy
 It is
 premium shall be earned in full and no return premium shall be due the named insured.

 LSW 546



                                            LLOYD'S PRIVACY POLICY STATEMENT

 UNDERWRITERS AT LLOYD'S, LONDON

 The Certain Underwriters at Lloyd's, London want you to know how we protect the confidentiality of your non -public personal
 information. We want you to know how and why we use and disclose the information that we have about you. The following
 describes our policies and practices for securing the privacy of our current and former customers.

 INFORMATION WE COLLECT

 The non -public personal information that we collect about you includes, but is not limited to:
 "   Information contained in applications or other forms that you submit to us, such as name, address, and social security
         number




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    Information about your transactions with our affiliates or other third -parties, such as balances and payment history

    Information we receive from    a   consumer -reporting agency, such as credit -worthiness or credit history

INFORMATION WE DISCLOSE

We disclose the information that we have when it is necessary to provide our products and services. We may also disclose
information when the law requires or permits us to do so.

CONFIDENTIALITY AND SECURITY

Only our employees and others who need the information to service your account have access to your personal
information. We have measures in place to secure our paper files and computer systems.

RIGHT TO ACCESS OR CORRECT YOUR PERSONAL INFORMATION

You have a right to request access to or correction of your personal information that is in our possession.

CONTACTING US

If you have any questions about this privacy notice or would like to learn more about how we protect your privacy, please
contact the agent or broker who handled this insurance. We can provide        a   more detailed statement of our privacy practices
upon request.

06/ 03
LSW1135B



                                           WAR AND CIVIL WAR EXCLUSION CLAUSE

                                 (Approved by Lloyd's Underwriters' Non Marine Association)

    Notwithstanding anything to the contrary herein this Policy does not cover Loss or Damage directly or indirectly
occasioned by, happening through or in consequence of war, invasion, acts of foreign enemies, hostilities (whether war be
declared or not), civil war, rebellion, revolution, insurrection, military or usurped power or confiscation or nationalization or
requisition or destruction of or damage to property by or under the order of any government or public or local authority.

N.M.A. 464 (1/ 1/ 83)




             RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE -PHYSICAL DAMAGE- DIRECT (U.S.A.)

This Policy does not cover any loss or damage arising directly or indirectly from nuclear reaction, nuclear radiation or
radioactive contamination; however, such nuclear reaction, nuclear radiation or radioactive contamination may have been
caused * NEVERTHELESS if Fire is an Insured Peril and a Fire arises directly or indirectly from nuclear reaction, nuclear
radiation or radioactive contamination any loss or damage arising directly from that Fire shall (subject to the provisions of
this Policy) be covered EXCLUDING however all loss or damage caused by nuclear reaction, nuclear radiation, or
radioactive contamination arising directly or indirectly from that Fire.

7/ 5/ 59
NMA1191




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                                                   CANCELLATION CLAUSE


 NOTWITHSTANDING anything contained in this Insurance to the contrary this Insurance may be canceled by the Assured
 at any time by written notice or by surrender of this Contract of Insurance. This Insurance may also be canceled by or on
 behalf of the Underwriters by delivering to the Assured or by mailing to the Assured, by registered, certified or other first
 class mail, at the Assured's address as shown in this Insurance, written notice stating when, not less than 10 days
 thereafter, the cancellation shall be effective. The mailing of such notice as aforesaid shall be sufficient proof of notice and
 this Insurance shall terminate at the date and hour specified in such notice.

 If this Insurance shall be canceled by the Assured the Underwriters shall retain the customary short rate proportion
 of the premium hereon, except that if this Insurance is on an adjustable basis the Underwriters shall receive the Earned
 Premium hereon or the customary short rate proportion of any Minimum Premium stipulated herein whichever is the
 greater.

      Insurance shall be canceled by or on behalf of the Underwriters, the Underwriters shall retain the pro rata
 If this
 proportion of the premium hereon, except that if this Insurance is on an adjustable basis, the Underwriters shall receive the
 Earned Premium hereon or the pro rata proportion of any Minimum Premium stipulated herein whichever is the greater.

 Payment or tender of any unearned premium by the Underwriters shall not be        a   condition precedent to the effectiveness of
 Cancellation but such payment shall be made as soon as practicable.

 If the period of limitation relating to the giving of notice is prohibited or made void by any law controlling the construction
 thereof, such period shall be deemed to be amended so as to be equal to the minimum period of limitation permitted by
 such law.
 20/ 4/ 61
 NMA1331



                                                     USA& CANADA
                                             LAND, WATER AND AIR EXCLUSION


 Notwithstanding any provision to the contrary within the Policy of which this Endorsement forms part (or within any other
 Endorsement which forms part of this Policy), this Policy does not insured land (including but not limited to land on which
 the insured property is located), water or air, howsoever and wherever occurring, or any interest or right therein.

 24/ 11/ 88
 N MA2341




                        SEEPAGE AND/ OR POLLUTION AND/ OR CONTAMINATION EXCLUSION
                                               USA & CANADA

 Notwithstanding any provisions to the contrary within the Policy of which this Endorsement forms part (or within any other
 Endorsement which forms part of this Policy), this Policy does not insure:

      (a) any loss, damage, cost or expense, or
      (b) any increase in insured loss, damage, cost or expense, or
      (c) any loss, damage, cost, expense, fine or penalty, which is incurred, sustained or imposed by order, direction,
          instructions or request of, or by any agreement with, any court, government agency or any public, civil or military
          authority, or threat thereof, (and whether or not as a result of public or private litigation.)

 which arises from any kind or seepage or any kind or pollution and/ or contamination, or threat thereof, whether or not
 caused by or resulting from a Peril insured, or from steps or measures taken in connection with the avoidance, prevention,
 abatement, mitigation, remediation, clean -up or removal of such seepage or pollution and/ or contamination or threat
 thereof.
   NOTE - If Fire is not an insured peril under this policy the words "NEVERTHELESS" to the end of the clause do not apply
 and should be disregarded.




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The term any kind of seepage or any kind or pollution and/ or contamination' as used in this Endorsement includes (but
not limited to):

(a) seepage of, or pollution and/ or contamination by, anything, including but not limited to, any material designated as
'hazardous material' by the United States Environmental Protection Agency or as a 'hazardous material' by the United
States Department of Transportation, or defined as a 'toxic substance' by the Canadian Environmental Protection Act for
the purposes of Part II of that Act, or any substance designated or defined as toxic, dangerous, hazardous or deleterious
to persons or the environment under any other Federal, State, Provincial, Municipal or other law, ordinance or regulation;
and
(b) the presence, existence, or release of anything which endangers or threatens to endanger the health, safety or
welfare of persons or the environment.

 24/ 11/ 88
 N MA2342




                                   ELECTRONIC DATE RECOGNITION EXCLUSION (EDRE)

This Policy does not cover any loss, damage, cost, claim or expense, whether preventative, remedial or otherwise, directly
or indirectly arising out of or relating to:

       (a) the calculation, comparison, differentiation, sequencing or processing of data involving the date change to the
           year 2000, or any other date change, including leap year calculations, by any computer system, hardware,
           programme or software and/ or any microchip, integrated circuit or similar device in computer equipment or
           non -computer equipment, whether the property of the Insured or not; or

       (b) any change, alteration, or modification involving the date change to the year 2000, or any other date change,
           including leap year calculations, to any such computer system, hardware, programme or software and/ or
           microchip, integrated circuit or similar device in computer equipment or non -computer equipment, whether the
           property of the Insured or not.

This clause applies regardless of any other cause or event that contributes concurrently or in any sequence to the loss, da
mage, cost, claim or expense.

17/ 12/ 97
N MA2802




                                           ELECTRONIC DATA ENDORSEMENT B

1.     Electronic Data Exclusion

       Notwithstanding any provision to the contrary within the Policy or any endorsement thereto,   it is   understood and
       agreed as follows:

       (a) This Policy does not insure loss, damage, destruction, distortion, erasure, corruption or alteration of
           ELECTRONIC DATA from any cause whatsoever (including but not limited to COMPUTER VIRUS) or loss of use,
           reduction in functionality, cost, expense of whatsoever nature resulting therefrom, regardless of any other cause
           or event contributing concurrently or in any other sequence to the loss.
           ELECTRONIC DATA means facts, concepts and information converted to a form useable for communications,
           interpretation or processing by electronic and electromechanical data processing or electronically controlled
           equipment and includes programmes, software and other coded instructions for the processing and manipulation
           of data or the direction and manipulation of such equipment.

           COMPUTER VIRUS means a set of corrupting, harmful or otherwise unauthorised instructions or code including a
           set of maliciously introduced unauthorised instructions or code, programmatic or otherwise, that propagate
           themselves




     SCU -006 (10/ 16)                                                                                               Page 5 of 7
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             through a computer system or network of whatsoever nature. COMPUTER VIRUS includes but           is   not limited to
             'Trojan Horses', 'worms' and 'time or logic bombs'.

      (b) However, in the event that a peril listed below results from any of the matters described in paragraph (a) above, this
          Policy, subject to all its terms, conditions and exclusions, will cover physical damage occurring during the Policy
          period to property insured by this Policy directly caused by such listed peril.

      Listed Perils

      Fire
      Explosion


 2.   Electronic Data Processing Media Valuation

      Notwithstanding any provision to the contrary within the Policy or any endorsement thereto,   it is   understood and
      agreed as follows:

      Should electronic data processing media insured by this Policy suffer physical loss or damage insured by this Policy,
      then the basis of valuation shall be the cost of the blank media plus the costs of copying the ELECTRONIC DATA from
      back -up or from originals of a previous generation. These costs will not include research and engineering nor any costs
      of recreating, gathering or assembling such ELECTRONIC DATA. If the media is not repaired, replaced or restored the
      basis of valuation shall be the cost of the blank media. However this Policy does not insure any amount pertaining to the
      value of such ELECTRONIC DATA to the Assured or any other party, even if such ELECTRONIC DATA cannot be
      recreated, gathered or assembled.

 25/ 01/ 01
 NMA2915




                                         TERRORISM EXCLUSION ENDORSEMENT

  Notwithstanding any provision to the contrary within this insurance or any endorsement thereto it is agreed that this
 insurance excludes loss, damage, cost or expense of whatsoever nature directly or indirectly cause by, resulting from or in
 connection with any act of terrorism regardless of any other cause or event contributing concurrently or in any other
 sequence to the loss.

 For the purpose of this endorsement an act of terrorism means an act, including but not limited to the use of force or
 violence and/ or the threat thereof, of any person or group(s) of persons, whether acting alone or on behalf of or in
 connection with any organisation(s) or government(s), committed for political, religious, ideological or similar purposes
 including the intention to influence any government and/ or to put the public, or any section of the public, in fear.

 This endorsement also excludes loss, damage, cost or expense of whatsoever nature directly or indirectly caused by,
 resulting from or in connection with any action taken in controlling, preventing, suppressing or in any way relating to any act
 of terrorism.

 If the Underwriters allege that by reason of this exclusion, any loss, damage, cost or expense is not covered by this
 insurance the burden of proving the contrary shall be upon the Assured.

 In the event any portion of this endorsement is found to be invalid or unenforceable, the remainder shall remain in full force
 and effect.

 NMA2920
 08/ 10/ 01




 SCU -006 (10/ 16)                                                                                                    Page 6 of 7
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                                  BIOLOGICAL OR CHEMICAL MATERIALS EXCLUSION


    agreed that this Insurance excludes loss, damage, cost or expense of whatsoever nature directly or indirectly caused by,
It is
resulting from or in connection with the actual or threatened malicious use of pathogenic or poisonous biological or chemical
materials regardless of any other cause or event contributing concurrently or in any other sequence thereto.

06/ 02/ 03

NMA2962




                                         PRE -EXISTING DAMAGE ENDORSEMENT

It is hereby noted and agreed this Policy does not provide coverage for any loss caused directly or indirectly as   a   result of
unrepaired damage caused by an occurrence which took place prior to the inception date of this Policy.

SCU-116 (10/ 16)




    SCU -006 (10/ 16)                                                                                           Page 7 of 7
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                          SANCTION LIMITATION AND EXCLUSION CLAUSE


        No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or
        provide any benefit hereunder to the extent that the provision of such cover, payment of such claim
        or provision of such benefit would expose that (re)insurer to any sanction, prohibition or restriction
        under United Nations resolutions or the trade or economic sanctions, laws or regulations of the
        European Union, United Kingdom or United States of America.


        15/ 09/ 10
        LMA3100
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                                    Several Liability Notice   - 1001


     The subscribing insurers' obligations under Contracts of Insurance to which they
     subscribe are several and not joint and are limited solely to the extent of their individual
     subscriptions. The subscribing insurers are not responsible for the subscriptions of any
     co- subscribing insurer who for any reason does not satisfy all or part of its obligations.

    Nothing herein contained in shall be held to vary, alter, waive or extend any of the
    terms, conditions, provisions, agreements or limitations of the above mentioned
    Certificate, other than as above stated.




 LSW 1001
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                              U.S. Terrorism Risk Insurance Act of 2002 as amended
                                               Not Purchased Clause

            This Clause is issued in accordance with the terms and conditions of the "U.S. Terrorism
            Risk Insurance Act of 2002" as amended as summarized in the disclosure notice.

                hereby noted that the Underwriters have made available coverage for "insured losses"
            It is
            directly resulting from an "act of terrorism" as defined in the "U.S. Terrorism Risk Insurance
            Act of 2002 ", as amended ('TRIA ") and the Insured has declined or not confirmed to
            purchase this coverage.

            This Insurance therefore affords no coverage for losses directly resulting from any "act of
            terrorism" as defined in TRIA except to the extent, if any, otherwise provided by this policy.

            All other terms, conditions, insured coverage and exclusions of this Insurance including
            applicable limits and deductibles remain unchanged and apply in full force and effect to
            the coverage provided by this Insurance.




            LMA5219
            12 January 2015
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                                           COMMERCIAL PROPERTY COVERAGE PART
                                              SUPPLEMENTAL DECLARATIONS
                                                                                                                Certificate No: 773TA10063
    Business Description: Restaurant
    Schedule of Locations:
    Prem. Bldg.
    No. No.     Location                                                                        Construction /Occupancy
    1        1        15450 New Barn Road, Hialeah, FL 33014                                    Fire Resistive /Restaurant




    Coverage /Limit of Insurance
Prem. Bldg.                                                               Business
No. No.               Building     Rate       Contents     Rate           Income       Rate     Valuation Coins. Cause of Loss
    1    1                                   $285,000 .18                                         RCV        80%      Special
    1    1                                                               $750,000      .18                        %   Special




                                                                                                                  %




    PREM.        BLDG.        INFLATION GUARD    (Percentage)        +    +MONTHLY LIMIT OF ++MAXIMUM PERIOD '*EXTENDED PERIOD
    NO.          NO.          BUILDING   PERSONAL PROPERTY               INDEMNITY (Fraction) OF INDEMNITY (X) OF INDEMNITY (Days)
    1            1                                                         1/6


                                                                                                            +   +APPLIES TO BUSINESS INCOME ONLY
    Additional Coverages Provided         -- APPLICABLE ONLY WHEN ENTRIES ARE MADE IN THE SCHEDULE BELOW
Prem. Bldg.                                               Limit of
 No.   No. Coverage                                      Insurance       Valuation Rate Coinsurance Cause of Loss
1        1           Improvements and                    $420,000          RCV       .18        80%      Special
                     Betterments



    Deductibles:
    $2,500                                         AOP




    EXCEPTIONS:
    Mortgagee:
    Premises No.         Building No.                                            Premises No.      Building No.




CF150 (11/ 85)                                              INSURED
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                                                                                                COMMERCIAL PROPERTY
                                                                                                               CP 00 10 10 12


                         BUILDING AND PERSONAL PROPERTY
                                  COVERAGE FORM
   Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
   what is and is not covered.
   Throughout this policy the words "you" and "your" refer to the Named Insured shown         in the   Declarations. The words
   "we ", "us" and "our" refer to the company providing this insurance.
   Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.


   A.   Coverage                                                          b.   Your Business Personal Property con-
        We will pay for direct physical loss of or damage to                   sists of the following property located in or
        Covered Property at the premises described in the                      on the building or structue described in the
        Declarations caused by or resulting from any Cov-                      Declarations or in the open (or in a vehicle)
        ered Cause of Loss.                                                    within 100 feet of the building or structure
                                                                               or within 100 feet of the premises de-
        1.   Covered Property                                                  scribed in the Declarations, whichever dis-
             Covered Property, as used in this Coverage                        tance is greater.
             Part, means the type of property described in                     (1) Furniture and fixtures;
             this section, A.1., and limited in A.2. Property
             Not Covered, if a Limit of Insurance is shown in                  (2) Machinery and equipment;
             the Declarations for that type of property.                       (3) "Stock";
             a. Building, meaning the building or struc-                       (4) All other personal property owned by
                  ture described in the Declarations,                              you and used in your business;
                  including:                                                   (5) Labor, materials or services furnished
                  (1) Completed additions;                                         or arranged by you on personal prop-
                  (2) Fixtures, including outdoor fixtures;                        erty of others;

                 (3) Permanently installed:                                    (6) Your use interest as tenant in improve-
                                                                                   ments and betterments. Improve-
                     (a) Machinery and                                             ments and betterments are fixtures,
                     (b) Equipment;                                                alterations, installations or additions:
                 (4) Personal property owned by you that                           (a) Made a part of the building or
                     is used to maintain or service the                                structure you occupy but do not
                     building or structure or its premises,                            own; and
                     including:                                                    (b) You acquired or made at your ex-
                     (a) Fire -extinguishing equipment;                                pense but cannot legally remove;
                     (b) Outdoor furniture;                                    (7) Leased personal property for which
                     (c) Floor coverings; and                                      you have a contractual responsibility
                                                                                   to insure, unless otherwise provided
                     (d) Appliances used for refrigerating,                        for under Personal Property Of Others.
                         ventilating, cooking, dishwashing
                         or laundering;                                   c.   Personal Property Of Others that is:
                 (5) If not covered by other insurance:                        (1) In your care, custody or control; and
                                                                               (2) Located    in or on the building or
                     (a) Additions under construction, al-
                         terations and repairs to the build-                       structure described in the Declarations
                         ing or structure;                                         or in the open (or in a vehicle) within
                                                                                   100 feet of the of the building or struc-
                     (b) Materials, equipment, supplies                            ture or within 100 feet of the premises
                         and temporary structures, on or                           described in the Declarations, which-
                         within 100 feet of the described                          ever distance is greater.
                         premises, used for making addi-
                         tions, alterations or repairs to the
                         building or structure.


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                                                          INSURED
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                  However, our payment for loss of or dam-                   n.   Electronic data, except as provided under
                  age to personal property of others will only                    the Additional Coverage, Electronic Data.
                  be for the account of the owner of the                          Electronic data means information, facts
                  property.                                                       or computer programs stored as or on,
       2.   Property Not Covered                                                  created or used on, or transmitted to or
                                                                                  from computer software (including sys-
            Covered Property does not include:                                    tems and applications software), on hard
            a.    Accounts, bills, currency, food stamps or                       or floppy disks, CD-ROMs, tapes, drives,
                  other evidences of debt, money, notes or                        cells, data processing devices or any other
                  securities. Lottery tickets held for sale are                   repositories of computer software which
                  not securities;                                                 are used with electronically controlled
            b.    Animals, unless owned by others and                             equipment. The term computer programs,
                                                                                  referred to in the foregoing description of
                  boarded by you, or if owned by you, only
                  as "stock" while inside of buildings;
                                                                                  electronic data, means a set of related
                                                                                  electronic instructions which direct the op-
            c.    Automobiles held for sale;                                      erations and functions of a computer or
            d.    Bridges, roadways, walks, patios or other                       device connected to it, which enable the
                  paved surfaces;                                                 computer or device to receive, process,
                                                                                  store, retrieve or send data. This para-
            e.    Contraband, or property in the course of il-
                                                                                  graph, n., does not apply to your "stock" of
                  legal transportation or trade;
                                                                                  prepackaged software, or to electronic
            f.    The cost of excavations, grading, backfill-                     data which is integrated in and operates or
                  ing or filling;                                                 controls the building's elevator, lighting,
            g.    Foundations of buildings, structures, ma-                       heating, ventilation, air conditioning or se-
                  chinery or boilers if their foundations are                     curity system;
                  below:                                                     o.   The cost to replace or restore the informa-
                  (1) The lowest basement floor; or                               tion on valuable papers and records, in-
                                                                                  cluding those which exist as electronic
                  (2) The surface of the ground, if there is
                                                                                  data. Valuable papers and records include
                      no basement;
                                                                                   but are not limited to proprietary infor-
            h.   Land (including land on which the property                       mation, books of account, deeds, manu-
                 is located), water, growing crops or lawns                       scripts, abstracts, drawings and card
                 (other than lawns which are part of a vege-                      index systems. Refer to the Coverage Ex-
                 tated roof);                                                     tension for Valuable Papers And Records
            i.   Personal property        while    airborne   or                  (Other Than Electronic Data) for limited
                 waterborne;                                                      coverage for valuable papers and records
                                                                                  other than those which exist as electronic
            J    Bulkheads,    pilings,   piers,   wharves    or                  data;
                 docks;
                                                                             P.   Vehicles or self-propelled machines (in-
            k.   Property that is covered under another                           cluding aircraft or watercraft) that:
                 coverage form of this or any other policy in
                 which it is more specifically described, ex-                     (1) Are licensed for use on public roads;
                 cept for the excess of the amount due                                or
                 (whether you can collect on it or not) from                      (2) Are operated principally away from the
                 that other insurance;                                                described premises.
            I.    Retaining walls that are not part of a                          This paragraph does not apply to:
                  building;                                                           (a) Vehicles or self -properoloed ma-
            m. Underground pipes, flues or drains;                                        chines or autos you manufacture,
                                                                                             process or warehouse;




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                    (b) Vehicles or self -propelled ma-                           (d) Remove property of others of a
                        chines, other than autos, you hold                            type that would not be Covered
                        for sale;                                                     Property under this Coverage
                    (c) Rowboats or canoes out of water                               Form;
                        at the described premises; or                             (e) Remove deposits of mud or earth
                    (d) Trailers, but only to the extent                              from the grounds of the described
                        provided for in the Coverage Ex-                                 premises;
                        tension for Non -owned Detached                           (f)    Extract "pollutants" from land or
                        Trailers;                                                        water; or
           q    The following property while outside of                          (g) Remove, restore or replace pol-
                buildings:                                                           luted land or water.
                (1) Grain, hay, straw or other crops;                        (3) Subject to the exceptions in Para-
                (2) Fences, radio or television antennas                         graph (4), the following provisions
                    (including satellite dishes) and their                        apply:
                    lead -in wiring, masts or towers, trees,                      (a) The most we will pay for the total
                    shrubs or plants (other trees, shrubs                             of direct physical loss or damage
                    or plants which are "stock" or are part                           plus debris removal expense is the
                    of a vegetated roof), all except as pro-                          Limit of Insurance applicable to
                    vided in the Coverage Extensions.                                 the Covered Property that has
      3.   Covered Causes Of Loss                                                     sustained loss or damage.
           See applicable Causes Of Loss form as shown                            (b) Subject to (a) above, the amount
           in the Declarations.                                                       we will pay for debris removal ex-
                                                                                      pense is limited to 25% of the sum
      4.   Additional Coverages
                                                                                      of the deductible plus the amount
           a.   Debris Removal                                                        that we pay for direct physical loss
                (1) Subject to Paragraphs (2), (3) and (4),                           or damage to the Covered Prop-
                    we will pay your expense to remove                                erty that has sustained loss or
                    debris of Covered Property and other                              damage. However, if no Covered
                    debris that is on the described prem-                             Property has sustained direct
                    ises, when such debris is caused by                               physical loss or damage, the most
                    or results from a Covered Cause of                                we will pay for removal of debris
                    Loss that occurs during the policy pe-                            of other property (if such removal
                    riod. The expenses will be paid only if                           is covered      under this Addi-
                    they are reported to us in writing within                         tional Coverage) is $5,000 at each
                     180 days of the date of direct physical                          location.
                    loss or damage.                                          (4) We will pay up to an additional
                (2) Debris Removal does not apply to                             $25,000 for debris removal expense,
                    costs to:                                                    for each location, in any one occur-
                                                                                 rence of physical loss or damage to
                    (a) Remove     debris of property of                         Covered Property, if one or both of the
                        yours that is not insured under                          following circumstances apply:
                        this policy, or property in your
                        possession that is not Covered                           (a) The total of the actual debris re-
                        Property;                                                    moval expense plus the amount
                                                                                     we pay for direct physical loss
                    (b) Remove debris of property owned                              or damage exceeds the Limit of
                        or leased to the landlord of the
                                                                                     Insurance on the Covered Prop-
                        building where your described                                erty that has sustained loss or
                        permises are located, unless you                             damage.
                        have a contractural responsibility
                        to insure such property and it is in-                    (b) The actual debris removal ex-
                        sured under this policy;                                     pense exceeds 25% of the sum of
                                                                                     the deductible plus the amount
                    (c) Remove any property that is Prop-                            that we pay for direct physical loss
                        erty Not Covered, including prop-                            or damage to the Covered Prop-
                        erty addressed under the Outdoor                             erty that has sustained loss or
                        Property Coverage Extension;                                 damage.




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                     Therefore, if (4)(a) and / or (4)(b) ap-       The additional amount payable for debris removal ex-
                     plies, our total payment for direct            pense is provided in accordance with the terms of
                     physical loss or damage and debris             Paragraph (4), because the debris removal expense
                     removal expense may reach but will             ($40,000) exceeds 25% of the loss payable plus the de-
                     never exceed the Limit of Insurance on         ductible ($40,000 is 50% of $80,000), and because the
                     the Covered Property that has sus-             sum of the loss payable and debris removal expense
                     tained loss or damage, plus $25,000.           ($79,500 + $40,000 = $119,500) would exceed the
                  (5) Examples                                      Limit of Insurance ($90,000). The additional amount of
                                                                    covered debris removal expense is $25,000, the maxi-
                     The following examples assume that             mum payable under Paragraph (4). Thus, the total pay-
                     there is no Coinsurance penalty.               able for debris removal expense in this example is
   Example   1                                                      $35,500; $4,500 of the debris removal expense is not
   Limit of Insurance                               $   90,000
                                                                    covered.

   Amount of Deductible                             $        500
                                                                            b.   Preservation Of Property
   Amount of Loss:                                  $   50,000                   If it isnecessary to move Covered Prop-
                                                                                 erty from the described premises to pre-
   Amount of Loss Payable:                          $   49,000                   serve it from loss or damage by a Covered
                                            ($50,000 - $500)                     Cause of Loss, we will pay for any direct
                                                                                 physical loss or damage to that property:
   Debris Removal Expense                           $   10,000
                                                                                 (1) While it is being moved or while tem-
   Debris Removal Expense Payable:                  $   10,000
                                                                                     porarily stored at another location;
   ($10,000 is 20% of $50,000.)                                                      and
   The debris removal expense is less than 25% of the                            (2) Only if the loss or damage occurs
   sum of the loss payable plus the deductible. The sum                              within 30 days after the property is first
   of the loss payable and the debris removal expense                                 moved.
   ($49,500 + $10,000 = $59,500) is less than the Limit of
                                                                            c.   Fire Department Service Charge
   Insurance. Therefore, the full amount of debris removal
   expense is payable in accordance with the terms of                            When the fire department is called to save
   Paragraph (3).                                                                or protect Covered Property from a Cov-
                                                                                 ered Cause of Loss, we will pay up to
   Example 2
                                                                                 $1,000 for service at each premises de-
   Limit of Insurance                               $ 90,000                     scribed in the Declarations, unless a
   Amount of Deductible                             $        500                 higher limit is shown in the Declarations.
                                                                                 Such limit is the most we will pay regard-
   Amount of Loss:                                  $   80,000
                                                                                 less of the number of responding fire de-
   Amount of Loss Payable:                          $ 79,500                     partments or fire units, and regardless of
                                            ($80,000    -   $500)                the number or type of services performed.
   Debris Removal Expense                          $    40,000                   This Additional Coverage applies to your li-
                                                                                 ability for fire department service charges:
   Debris Removal Expense Payable:
                                                                                 (1) Assumed by contract or agreement
                          Basic Amount:             $ 10,500                         prior to loss; or
                          Additional Amount:        $ 25,000
                                                                                 (2) Required by local ordinance.
   The basic amount payable for debris removal expense                           No Deductible applies to this Additional
   under the terms of Paragraph (3) is calculated as fol-                        Coverage.
   lows: $80,000 ($79,500 + $500) x .25 = $20,000,
   capped at $10,500. The cap applies because the sum
   of the loss payable ($79,500) and the basic amount
   payable for debris removal expense ($10,500) cannot
   exceed the Limit of Insurance ($90,000).




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          d.   Pollutant Clean -up And Removal                                  (5) Under this Additional Coverage, we
               We will pay your expense to extract "pollu-                          will not pay for:
               tants" from land or water at the described                            (a) The enforcement of or compli-
                premises if the discharge, dispersal, seep-                              ance with any ordinance or law
                age, migration, release or escape of the                                 which requires demolition, repair,
                "pollutants" is caused by or results from a                              replacement, reconstruction, re-
                Covered Cause of Loss that occurs during                                    modeling or remediation of prop-
               the policy period. The expenses will be                                      erty due to contamination by
                paid only if they are reported to us in writ-                               "pollutants" or due to the pres-
               ing within 180 days of the date on which                                     ence, growth, proliferation, spread
               the Covered Cause of Loss occurs.                                            or any activity of "fungus", wet or
               This Additional Coverage does not apply                                      dry rot or bacteria; or
               to costs to test for, monitor or assess the                          (b) Any costs associated with the en-
               existence, concentration or effects of "pol-                             forcement of or compliance with
               lutants". But we will pay for testing which is                           an ordinance or law which re-
               performed in the course of extracting the                                quires any insured or others to
               "pollutants" from the land or water.                                     test for, monitor, clean up, re-
               The most we will pay under this Additional                               move, contain, treat, detoxify or
               Coverage for each described premises is                                  neutralize, or in any way respond
               $10,000 for the sum of all covered ex-                                   to, or assess the effects of "pollu-
               penses arising out of Covered Causes of                                  tants", "fungus ", wet or dry rot or
               Loss occurring during each separate                                      bacteria.
               12 -month period of this policy.                                 (6) The most we will pay under this Addi-
          e.   Increased Cost Of Construction                                       tional Coverage, for each described
                                                                                    building insured under this Coverage
               (1) This Additional Coverage applies only                            Form, is $10,000 or 5% of the Limit of
                   to buildings to which the Replacement                             Insurance applicable to that building,
                   Cost Optional Coverage applies.                                  whichever is less. If a damaged build-
               (2) In the event of damage by a Covered                              ing is covered under a blanket Limit of
                   Cause of Loss to a building that is                              Insurance which applies to more than
                   Covered Property, we will pay the in-                            one building or item of property, then
                   creased costs incurred to comply with                            the most we will pay under this Addi-
                   the minimum standards of an ordi-                                tional Coverage, for that damaged
                   nance or law in the course of repair,                            building, is the lesser of $10,000 or 5%
                   rebuilding or replacement of damaged                             times the value of the damaged build-
                   parts of that property, subject to the                           ing as of the time of loss times the ap-
                   limitations stated in e.(3) through e.(9)                        plicable Coinsurance percentage.
                   of this Additional Coverage.                                     The    amount payable under this
               (3) The ordinance or law referred to in                              Additional Coverage is additional
                   e.(2) of this Additional Coverage is an                          insurance.
                   ordinance or law that regulates the                          (7) With  respect          to   this    Additional
                   construction or repair of buildings or                           Coverage:
                   establishes zoning or land use require-
                   ments at the described premises and                              (a) We will not pay for the Increased
                   is in force at the time of loss.                                     Cost of Construction:
               (4) Under this Additional Coverage, we                                       (i)   Until the property is actually
                   will not pay any costs due to an ordi-                                         repaired or replaced at the
                    nance or law that:                                                            same or another premises;
                                                                                                  and
                    (a) You were required to comply with
                        before the loss, even when the                                  (ii)      Unless the repair or replace-
                        building was undamaged; and                                               ment is made as soon as rea-
                                                                                                  sonably possible after the loss
                    (b) You failed to comply with.                                                or damage, not to exceed two
                                                                                                  years. We may extend this pe-
                                                                                                  riod in writing during the two
                                                                                                  years.




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                      (b) If the building is repaired or re-                     (3) The Covered Causes of Loss appli-
                          placed at the same premises, or if                         cable to Your Business Personal
                          you elect to rebuild at another                            Property apply to this Additional Cov-
                          premises, the most we will pay for                         erage, Electronic Data, subject to the
                          the Increased Cost of Construc-                            following:
                          tion, subject to the provisions of
                                                                                     (a) If the Causes Of Loss - Special
                          e.(6) of this Additional Coverage,
                                                                                         Form applies, coverage under this
                          is the increased cost of construc-
                                                                                            Additional Coverage, Electronic
                          tion at the same premises.                                        Data, is limited to the "specified
                      (c) If the ordinance or law requires re-                              causes of loss" as defined in that
                          location to another premises, the                                 form and Collapse as set forth in
                          most we will pay for the Increased                                that form.
                          Cost of Construction, subject to
                                                                                     (b) If the Causes Of Loss - Broad
                          the provisions of e.(6) of this Addi-                          Form applies, coverage under this
                          tional Coverage, is the increased
                                                                                         Additional Coverage, Electronic
                          cost of construction at the new                                Data, includes Collapse as set
                          premises.                                                      forth in that form.
                  (8) This Additional Coverage is not sub-
                                                                                     (c) If the Causes Of Loss form is en-
                      ject to the terms of the Ordinance Or
                                                                                         dorsed to add a Covered Cause of
                      Law Exclusion to the extent that such
                                                                                         Loss, the additional Covered
                      Exclusion would conflict with the pro-
                                                                                         Cause of Loss does not apply to
                      visions of this Additional Coverage.
                                                                                         the coverage provided under this
                  (9) The costs addressed in the Loss Pay-                               Additional Coverage, Electronic
                      ment and Valuation Conditions and                                     Data.
                      the Replacement Cost Optional Cover-                           (d) The Covered Causes of Loss in-
                      age, in this Coverage Form, do not in-
                                                                                         clude a virus, harmful code or sim-
                      clude the increased cost attributable                              ilar instruction introduced into or
                      to enforcement of or compliance with
                                                                                         enacted on a computer system
                      an ordinance or law. The amount
                                                                                         (including electronic data) or a
                      payable under this Additional Cover-
                                                                                         network to which it is connected,
                      age, as stated in e.(6) of this Addi-
                                                                                         designed to damage or destroy
                      tional Coverage, is not subject to such
                                                                                         any part of the system or disrupt
                      limitation.
                                                                                         its normal operation. But there is
          f.      Electronic Data                                                        no coverage for loss or damage
                  (1) Under this Additional Coverage, elec-                              caused by or resulting from ma-
                      tronic data has the meaning described                              nipulation of a computer system
                      under Property Not Covered, Elec-                                  (including electronic data) by any
                      tronic Data. This Additional Coverage                              employee, including a temporary
                      does not apply to your "stock" of pre-                             or leased employee, or by an en-
                      packaged software, or to electronic                                tity retained by you or for you to
                      data which is integrated in and oper-                              inspect, design, install, modify,
                      ates or controls the building's elevator,                          maintain, repair or replace that
                      lighting, heating, ventilation, air condi-                         system.
                      tioning or security system.
               (2) Subject to the provisions of this Addi-
                   tional Coverage, we will pay for the
                   cost to replace or restore electronic
                   data which has been destroyed or cor-
                   rupted by a Covered Cause of Loss.
                   To the extent that electronic data is
                   not replaced or restored, the loss will
                   be valued at the cost of replacement
                   of the media on which the electronic
                   data was stored, with blank media of
                   substantially identical type.




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                (4) The most we will pay under this Addi-                     (2) Your Business Personal Property
                    tional Coverage, Electronic Data, is                           (a) If this policy covers Your Business
                    $2,500 (unless a higher limit is shown                             Personal Property, you may ex-
                    in the Declarations) for all loss or
                                                                                       tend that insurance to apply to:
                    damage sustained in any one policy
                    year, regardless of the number of oc-                                 (i)   Business personal property,
                    currences of loss or damage or the                                          including such property that
                   number of premises, locations or com-                                        you newly acquire, at any lo-
                   puter systems involved. If loss pay-                                         cation you acquire other than
                   ment on the first occurrence does not                                        at fairs, trade shows or exhibi-
                  exhaust this amount, then the balance                                         tions; or
                  is available for subsequent loss or                                (ii)       Business personal property,
                  damage sustained in but not after that                                        including such property that
                   policy year. With respect to an occur-                                       you newly acquire, located
                  rence which begins in one policy year                                         at your newly constructed or
                  and continues or results in additional                                        acquired buildings at the
                  loss or damage in a subsequent policy                                         location described in the
                  year(s), all loss or damage is deemed                                         Declarations.
                  to be sustained in the policy year in
                                                                                          The most we will pay for loss or
                  which the occurrence began.
                                                                                          damage under this Extension is
      5.   Coverage Extensions                                                            $100,000 at each building.
           Except as otherwise provided, the following                            (b) This Extension does not apply to:
           Extensions apply to property located in or on
                                                                                          (i)   Personal property of others
           the building described in the Declarations or in
                                                                                                that is temporarily in your pos-
           the open (or in a vehicle) within 100 feet of the
                                                                                                session in the course of instal-
           described premises.
                                                                                                ling or performing work on
           If a Coinsurance percentage of 80% or more,                                          such property; or
           or  a Value Reporting period symbol, is shown
                                                                                      (ii)      Personal property of others
           in the Declarations, you may extend the insur-
                                                                                                that is temporarily in your pos-
           ance provided by this Coverage Part as
                                                                                                session in the course of your
           follows:
                                                                                                manufacturing or wholesaling
           a.   Newly Acquired Or Constructed                                                   activities.
                Property
                                                                              (3) Period Of Coverage
                (1) Buildings
                                                                                  With respect to insurance provided
                   If this policy covers Building, you may                        under this Coverage Extension for
                   extend that insurance to apply to:                             Newly Acquired Or Constructed Prop-
                   (a) Your new buildings while being                             erty, coverage will end when any of
                       built on the described premises;                           the following first occurs:
                       and                                                        (a) This policy expires;
                   (b) Buildings you acquire at locations,                        (b) 30 days expire after you acquire
                       other than the described prem-                                 the property or begin construction
                       ises, intended for:                                            of that part of the building that
                        (i)   Similar use as the building de-                         would qualify as covered prop-
                              scribed in the Declarations; or                         erty; or
                       (ii)   Use as a warehouse.                                 (c) You report values to us.
                   The most we will pay for loss or dam-                          We will charge you additional pre-
                   age under this Extension is $250,000                           mium for values reported from the
                   at each building.                                              date you acquire the property or begin
                                                                                  construction of that part of the build-
                                                                                  ing that would qualify as covered
                                                                                  property.




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               b.     Personal Effects And Property Of Others                    d.   Property Off -premises
                      You may extend the insurance that applies                       (1) You may extend the insurance pro-
                      to Your Business Personal Property to ap-                           vided by this Coverage Form to apply
                      ply to:                                                             to your Covered Property while it is
                      (1) Personal effects owned by you, your                             away from the described premises, if it
                            officers, your partners or members,                           is:
                            your managers or your employees.                              (a) Temporarily at a location you do
                            This Extension does not apply to loss                             not own, lease or operate;
                            or damage by theft.                                           (b) In storage at a location you lease,
                      (2) Personal property of others in your                                 provided the lease was executed
                          care, custody or control.                                           after the beginning of the current
                      The most we will pay for loss or damage                                 policy term; or
                      under this Extension is $2,500 at each de-                          (c) At any fair,      trade     show     or
                      scribed premises. Our payment for loss of                               exhibition.
                      or damage to personal property of others                        (2) This Extension does          not apply   to
                      will only be for the account of the owner of
                                                                                          property:
                      the property.
                                                                                          (a) In or on a vehicle; or
              c.      Valuable Papers And Records (Other
                      Than Electronic Data)                                               (b) In the care, custody or control of
                                                                                              your salespersons, unless the
                      (1)   You may extend the insurance that ap-
                                                                                              property is in such care, custody
                            plies to Your Business Personal Prop-
                                                                                              or control at a fair, trade show or
                            erty to apply to the cost to replace
                                                                                              exhibition.
                            or restore the lost information on val-
                            uable papers and records for which                        (3) The most we will pay for loss or dam-
                            duplicates do not exist. But this Exten-                      age under this Extension is $10,000.
                            sion does not apply to valuable papers               e.   Outdoor Property
                            and records which exist as electronic
                                                                                      You may extend the insurance provided
                            data. Electronic data has the meaning
                                                                                      by this Coverage Form to apply to your
                            described under Property Not Cov-
                                                                                      outdoor fences, radio and television anten-
                            ered, Electronic Data.
                                                                                      nas (including satellite dishes), trees,
                      (2) If the Causes Of Loss - Special Form                        shrubs and plants (other than trees,
                          applies, coverage under this Exten-                         shrubs or plants which are "stock" or are
                          sion is limited to the "specified causes                    part of a vegetated roof), including debris
                          of loss" as defined in that form and                        removal expense, caused by or resulting
                          Collapse as set forth in that form.                         from any of the following causes of loss if
                    (3) If the Causes Of Loss - Broad Form                            they are Covered Causes of Loss:
                        applies, coverage under this Exten-                           (1) Fire;
                        sion includes Collapse as set forth in
                                                                                      (2) Lightning;
                            that form.
                                                                                      (3) Explosion;
                    (4) Under this Extension, the most we will
                        pay to replace or restore the lost infor-                     (4) Riot or Civil Commotion; or
                        mation is $2,500 at each described                            (5) Aircraft.
                        premises, unless a higher limit is
                                                                                      The most we will pay for loss or damage
                        shown in the Declarations. Such
                        amount is additional insurance. We                            under this Extension is $1,000, but not
                        will also pay for the cost of blank ma-                       more than $250 for any one tree, shrub
                        terial for reproducing the records                            or plant. These limits apply to any one
                        (whether or not duplicates exist) and                         occurrence, regardless of the types or
                        (when there is a duplicate) for the                           number of items lost or damaged in that
                        cost of labor to transcribe or copy the                       occurrence.
                        records. The costs of blank material
                        and labor are subject to the applicable
                        Limit of Insurance on Your Business
                        Personal Property and, therefore, cov-
                        erage of such costs is not additional
                            insurance.




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               Subject to all aforementioned terms and                            (2) If the applicable Covered Causes of
               limitations of coverage, this Coverage Ex-                             Loss form or endorsement contains a
               tension includes the expense of removing                               limitation or exclusion concerning loss
               from the described premises the debris of                              or damage from sand, dust, sleet,
               trees, shrubs and plants which are the                                 snow, ice or rain to property in a struc-
               property of others, except in the situation                            ture, such limitation or exclusion also
               in which you are a tenant and such prop-                               applies to property in a portable stor-
               erty is owned by the landlord of the de-                               age unit.
               scribed premises.                                                  (3) Coverage under this Extension:
          f.   Non-owned Detached Trailers                                            (a) Will end 90 days after the business
               (1) You may extend the insurance that ap-                                  personal property has been
                   plies to Your Business Personal Prop-                                  placed in the storage unit;
                   erty to apply to loss or damage to                                 (b) Does not apply if the storage unit
                   trailers that you do not own, provided
                                                                                          itself has been in use at the de-
                   that:                                                                  scribed premises for more than
                    (a) The     trailer   is   used   in   your                           90 consecutive days, even if the
                          business;                                                       business personal property has
                    (b) The trailer is in your care, custody                              been stored there for 90 or fewer
                        or control at the premises de-                                    days as of the time of loss or
                        scribed in the Declarations; and                                  damage.
                    (c) You have a contractual responsi-                          (4) Under this Extension, the most we will
                        bility to pay for loss or damage to                           pay for the total of all loss or damage
                        the trailer.                                                  to business personal property is
                                                                                      $10,000 (unless a higher limit is indi-
               (2) We will not pay for any loss or damage                             cated in the Declarations for such Ex-
                    that occurs:                                                      tension) regardless of the number of
                    (a) While the trailer is attached to any                          storage units. Such limit is part of, not
                        motor vehicle or motorized con-                               in addition to, the applicable Limit of
                        veyance, whether or not the motor                             Insurance on Your Business Personal
                        vehicle or motorized conveyance                               Property. Therefore, payment under
                        is in motion;                                                 this Extension will not increase the ap-
                    (b) During hitching or unhitching                                 plicable Limit of Insurance on Your
                        operations, or when a trailer                                 Business Personal Property.
                        becomes accidentally unhitched                            (5) This Extension does not apply to loss
                        from a motor vehicle or motorized                             or damage otherwise covered under
                        conveyance.                                                   this Coverage Form or any endorse-
               (3) The most we will pay for loss or dam-                              ment to this Coverage Form or policy,
                                                                                      and does not apply to loss or damage
                   age under this Extension is $5,000,
                   unless a higher limit is shown in the                              to the storage unit itself.
                   Declarations.                                              Each of these Extensions is additional insur-
               (4) This    insurance is excess over the                       ance unless otherwise indicated. The Addi-
                    amount due (whether you can collect                       tional Condition, Coinsurance, does not apply
                    on it or not) from any other insurance                    to these Extensions.
                    covering such property.                          B.   Exclusions And Limitations
          g.   Business Personal Property Temporarily                     See applicable Causes Of Loss form as shown          in
               In Portable Storage Units                                  the Declarations.
               (1) You may extend the insurance that ap-             C.   Limits Of Insurance
                    plies to Your Business Personal Prop-                 The most we will pay for loss or damage in any one
                    erty to apply to such property while                  occurrence is the applicable Limit Of Insurance
                   temporarily stored in a portable stor-                 shown in the Declarations.
                   age unit (including a detached trailer)
                   located within 100 feet of the building                The most we will pay for loss or damage to outdoor
                   or structure described in the Declara-                 signs, whether or not the sign is attached to a
                   tions within 100 feet of the premises                  building, is $2,500 per sign in any one occurrence.
                   described in the Declarations, which-
                   ever distance is greater.




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        The amounts of insurance stated in the following          Total amount of loss payable:
        Additional Coverages apply in accordance with the         $59,850 + $80,000 = $139,850
        terms of such coverages and are separate from the
        Limit(s) Of Insurance shown in the Declarations for        EXAMPLE 2
        any other coverage:                                        (This example, too, assumes there is no Coinsurance
        1.    Fire Department Service Charge;                      penalty.)
        2.    Pollutant Clean -up And Removal;                    The Deductible and Limits of Insurance are the same
                                                                  as those in Example 1.
        3.    Increased Cost Of Construction; and
                                                                   Loss to Building   1:                            $    70,000
        4.    Electronic Data.
                                                                        (Exceeds Limit of Insurance plus Deductible)
        Payments under the Preservation Of Property Ad-
        ditional Coverage will not increase the applicable         Loss to Building 2:                              $    90,000
        Limit of Insurance.                                             (Exceeds Limit of Insurance plus Deductible)
   D.   Deductible                                                 Loss Payable - Building 1:                       $    60,000
        In  any one occurrence of loss or damage (herein-               (Limit of Insurance)
        after referred to as loss), we will first reduce the
                                                                   Loss Payable - Building 2:                       $    80,000
        amount of loss if required by the Coinsurance Con-
        dition or the Agreed Value Optional Coverage. If                (Limit of Insurance)
        the adjusted amount of loss is less than or equal to      Total amount of loss payable:                     $   140,000
        the Deductible, we will not pay for that loss. If the
                                                                   E.   Loss Conditions
        adjusted amount of loss exceeds the Deductible,
        we will then subtract the Deductible from the ad-               The following conditions apply in addition to the
        justed amount of loss and will pay the resulting                Common Policy Conditions and the Commercial
        amount or the Limit of Insurance, whichever is less.            Property Conditions.
        When the occurrence involves loss to more                       1.   Abandonment
        than one item of Covered Property and separate                       There can be no abandonment of any property
        Limits of Insurance apply, the losses will not be                    to us.
        combined in determining application of the Deduc-
        tible. But the Deductible will be applied only once             2.   Appraisal
        per occurrence.                                                      If we and you     disagree on the value of the
   EXAMPLE #         1
                                                                             property or the amount of loss, either may
                                                                             make written demand for an appraisal of the
   (This example assumes there is             no   Coinsurance               loss. In this event, each party will select a corn -
   penalty.)                                                                 petent and impartial appraiser. The two ap-
   Deductible:                                      $     250                praisers will select an umpire. If they cannot
                                                                             agree, either may request that selection be
   Limit of Insurance - Building   1:               $   60,000
                                                                             made by a judge of a court having jurisdiction.
   Limit of Insurance - Building 2:                 $   80,000               The appraisers will state separately the value of
   Loss to Building 1:                              $   60,100               the property and amount of loss. If they fail to
                                                                             agree, they will submit their differences to the
   Loss to Building 2:                              $   90,000
                                                                             umpire. A decision agreed to by any two will
   The amount of loss to Building 1 ($60,100) is less than                   be binding. Each party will:
   the sum ($60,250) of the Limit of Insurance applicable
                                                                             a.   Pay its chosen appraiser; and
   to Building 1 plus the Deductible.
                                                                             b.   Bear the other expenses of the appraisal
   The Deductible will be subtracted from the amount of
                                                                                  and umpire equally.
   loss in calculating the loss payable for Building 1:
                                                                             If there is an appraisal, we will still retain our
        $    60,100
                                                                             right to deny the claim.
        -      250
                                                                        3.   Duties In The Event Of Loss Or Damage
        $    59,850 Loss Payable - Building   1
                                                                             a.   You must see that the following are done
   The Deductible applies once per occurrence and there-                          in the event of loss or damage to Covered
   fore is not subtracted in determining the amount of loss                       Property:
   payable for Building 2. Loss payable for Building 2 is
                                                                                  (1) Notify the police if a law may have
   the Limit of Insurance of $80,000.
                                                                                      been broken.




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               (2) Give us prompt notice of the loss or               4.   Loss Payment
                   damage. Include a description of the                    a.   In the event of loss or damage covered by
                   property involved.                                           this Coverage Form, at our option, we will
               (3) As soon as possible, give us a descrip-                      either:
                   tion of how, when and where the loss                         (1) Pay the value of lost or damaged
                    or damage occurred.                                             property;
               (4) Take all reasonable steps to protect
                                                                                (2) Pay the cost of repairing or replacing
                   the Covered Property from further
                                                                                    the lost or damaged property, subject
                   damage, and keep a record of your                                to b. below;
                   expenses necessary to protect the
                   Covered Property, for consideration in                       (3) Take all or any part of the property at
                   the settlement of the claim. This will                           an agreed or appraised value; or
                   not increase the Limit of Insurance.                         (4) Repair, rebuild or replace the property
                   However, we will not pay for any sub-                            with other property of like kind and
                   sequent loss or damage resulting from                            quality, subject to b. below.
                   a cause of loss that is not a Covered
                                                                                We will determine the value of lost or dam-
                   Cause of Loss. Also, if feasible, set the
                                                                                aged property, or the cost of its repair or
                   damaged property aside and in the
                                                                                replacement, in accordance with the appli-
                   best possible order for examination.
                                                                                cable terms of the Valuation Condition in
               (5) At our request, give us complete in-                         this Coverage Form or any applicable pro-
                   ventories of the damaged and undam-                          vision which amends or supersedes the
                   aged property. Include quantities,                           Valuation Condition.
                   costs, values and amount of loss
                                                                           b.   The cost to repair, rebuild or replace does
                    claimed.
                                                                                not include the increased cost attributable
               (6) As often as may be reasonably re-                            to enforcement of or compliance with any
                   quired, permit us to inspect the prop-                       ordinance or law regulating the construc-
                   erty proving the loss or damage and                          tion, use or repair of any property.
                   examine your books and records.
                                                                           c.   We will give notice of our intentions within
                                  us to take samples of                         30 days after we receive the sworn proof of
                    damaged and       undamaged property                        loss.
                    for inspection,   testing and analysis,
                                                                           d.   We will not pay you more than your finan-
                    and permit us     to make copies from
                                                                                cial interest in the Covered Property.
                    your books and    records.
                                                                           e.   We may adjust losses with the owners of
               (7) Send us a signed, sworn proof of loss
                                                                                lost or damaged property if other than you.
                   containing the information we request
                                                                                If we pay the owners, such payments will
                   to investigate the claim. You must do
                                                                                satisfy your claims against us for the own-
                   this within 60 days after our request.
                                                                                ers' property. We will not pay the owners
                   We will supply you with the necessary
                                                                                more than their financial interest in the
                    forms.
                                                                                Covered Property.
               (8) Cooperate with us in the investigation
                                                                           f.   We may elect to defend you against suits
                   or settlement of the claim.
                                                                                arising from claims of owners of property.
          b.   We may examine any insured under oath,                           We will do this at our expense.
               while not in the presence of any other
                                                                           g.   We will pay for covered loss or damage
               insured and at such times as may be rea-
                                                                                within 30 days after we receive the sworn
               sonably required, about any matter relat-
                                                                                proof of loss, if you have complied with all
               ing to this insurance or the claim, including
                                                                                of the terms of this Coverage Part, and:
               an insured's books and records. In the
               event of an examination, an insured's an-                        (1) We have reached agreement with you
               swers must be signed.                                                on the amount of loss; or
                                                                                (2) An appraisal award has been made.




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           h.   A party wall is a wall that separates and is                        (b) When this policy is issued to the
                 common to adjoining buildings that are                                 owner or general lessee of a build-
                 owned by different parties. In settling cov-                           ing, building means the entire
                 ered losses involving a party wall, we will                            building. Such building is vacant
                 pay a proportion of the loss to the party                              unless at least 31% of its total
                wall based on your interest in the wall in                              square footage is:
                 proportion to the interest of the owner of                                (i)   Rented to a lessee or subles-
                the adjoining building. However, if you
                                                                                                 see and used by the lessee or
                elect to repair or replace your building and
                                                                                                 sublessee to conduct its cus-
                the owner of the adjoining building elects                                       tomary operations; and/ or
                 not to repair or replace that building, we
                will pay you the full value of the loss to the                            (ii)   Used     by  the   building
                 party wall, subject to all applicable policy                                    owner to conduct customary
                provisions including Limits of Insurance,                                        operations.
                the Valuation and Coinsurance Conditions                        (2) Buildings under construction or reno-
                and all other provisions of this Loss Pay-                          vation are not considered vacant.
                ment Condition. Our payment under the
                                                                           b.   Vacancy Provisions
                provisions of this paragraph does not alter
                any right of subrogation we may have                            If the building where loss or damage
                against any entity, including the owner or                      occurs has been vacant for more than
                insurer of the adjoining building, and does                     60 consecutive days before that loss or
                not alter the terms of the Transfer Of                          damage occurs:
                Rights Of Recovery Against Others To Us                         (1) We will not pay for any loss or damage
                Condition in this policy.                                           caused by any of the following, even if
      5.   Recovered Property                                                       they are Covered Causes of Loss:
            If either you or we recover any property after                          (a) Vandalism;
           loss settlement, that party must give the other                          (b) Sprinkler leakage, unless you
           prompt notice. At your option, the property will                             have protected the system against
           be returned to you. You must then return to us                               freezing;
           the amount we paid to you for the property.
           We will pay recovery expenses and the ex-                                (c) Building glass breakage;
           penses to repair the recovered property, sub-                            (d) Water damage;
           ject to the Limit of Insurance.                                          (e) Theft; or
      6.   Vacancy                                                                  (f)    Attempted theft.
           a. Description Of Terms                                              (2) With respect to Covered Causes of
                (1) As used in this Vacancy Condition, the                          Loss other than those listed in b.(1)(a)
                    term building and the term vacant                               through b.(1)(f) above, we will reduce
                    have the meanings set forth in (1)(a)                           the amount we would otherwise pay
                    and (1)(b) below:                                               for the loss or damage by 15 %.
                    (a) When this policy is issued to a ten-          7.   Valuation
                        ant, and with respect to that ten-                 We will determine the value of Covered Prop-
                        ant's interest in Covered Property,                erty in the event of loss or damage as follows:
                        building means the unit or suite
                        rented or leased to the tenant.                    a.   At actual cash value as of the time of loss
                        Such building is vacant when it                         or damage, except as provided in b., c., d.
                        does not contain enough business                        and e. below.
                        personal property to conduct cus-                  b.   If the Limit of Insurance for Building satis-
                        tomary operations.                                      fies the Additional Condition, Coinsurance,
                                                                                and the cost to repair or replace the dam-
                                                                                aged building property is $2,500 or less,
                                                                                we will pay the cost of building repairs or
                                                                                replacement.




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                  The cost of building repairs or replace-                            Instead, we will determine the most we will
                  ment does not include the increased cost                            pay using the following steps:
                  attributable to enforcement of or compli-                           (1) Multiply the value of Covered Property
                  ance with any ordinance or law regulating                               at the time of loss by the Coinsurance
                  the construction, use or repair of any
                                                                                            percentage;
                  property.
                                                                                      (2) Divide the Limit of Insurance of the
                  However, the following property will be val-                            property by the figure determined in
                  ued at the actual cash value, even when
                                                                                          Step (1);
                  attached to the building:
                                                                                      (3) Multiply the total amount of loss, be-
                  (1) Awnings or floor coverings;
                                                                                          fore the application of any deductible,
                  (2) Appliances for refrigerating, ventilat-                             by the figure determined in Step (2);
                      ing, cooking, dishwashing or launder-                               and
                      ing; or
                                                                                      (4) Subtract the deductible from the figure
                  (3) Outdoor equipment or furniture.                                     determined in Step (3).
             C.   "Stock" you have sold but not delivered at                          We will pay the amount determined in
                  the selling price less discounts and ex-                            Step (4) or the Limit of Insurance,
                  penses you otherwise would have had.                                whichever is less. For the remainder, you
             d.   Glass at the cost of replacement with                               will either have to rely on other insurance
                  safety -glazing material if required by law.                        or absorb the loss yourself.
             e.   Tenants' Improvements and Betterments               Example     1   (Underinsurance)
                  at:                                                 When:           The value of the property is:         $ 250,000
                  (1) Actual cash value of the lost or dam-                           The Coinsurance percentage
                      aged property if you make repairs                               for it is:                                 80%
                        promptly.                                                     The Limit of Insurance for it is:     $ 40,000
                  (2) A proportion of your original cost if
                                                                      Step (1):       $250,000 x 80% - $200,000
                      you do not make repairs promptly. We
                      will determine the proportionate value                          (The minimum amount of Insurance to
                      as follows:                                                     meet your Coninsurance requirements)
                        (a) Multiply the original cost by the         Step (2):       $100,000     =   $200,000 = .50
                            number of days from the loss or           Step (3):       $40,000 x .50 = $20,000
                            damage to the expiration of the
                                                                      Step (4):       $20,000 - $250 = $19,750
                            lease; and
                                                                     We will pay no more than $19,750. The remaining
                        (b) Divide the   amount determined in
                                                                     $20,250 is not covered.
                            (a) above    by the number of days
                            from the     installation of inprove-     Example    (Adequate Insurance)
                                                                                  2
                            ments to      the expiration of the      When:        The value of the property is:     $ 250,000
                            lease.
                                                                                  The Coinsurance percentage
                        If your lease contains a renewal op-                      for it is:                             80%
                        tion, the expiration of the renewal op-
                        tion period will replace the expiration                   The Limit of Insurance for it is:  $ 40,000
                        of the lease in this procedure.                           The Deductible is:                 $    250
                  (3) Nothing if others pay for repairs or                        The amount of loss is:             $ 40,000
                        replacement.                                 The minimum amount of insurance to meet your Coin-
   F.   Additional Conditions                                        surance requirement is $200,000 ($250,000 x 80%).
        1.   Coinsurance                                             Therefore, the Limit of Insurance in this example is ad-
                                                                     equate, and no penalty applies. We will pay no more
             If a Coinsurance percentage is shown in the             than $39,750 ($40,000 amount of loss minus the de-
             Declarations, the following condition applies:          ductible of $250).
             a.   We will not pay the full amount of any loss
                  if the value of Covered Property at the
                  time of loss times the Coinsurance percent
                  age shown for it in the Declarations is
                  greater than the Limit of Insurance for the
                  property.




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              b.        If one Limit of Insurance applies to two or                         (2) Submits a signed, sworn proof of loss
                       more separate items, this condition will ap-                             within 60 days after receiving notice
                       ply to the total of all property to which the                            from us of your failure to do so; and
                       limit applies.                                                       (3) Has notified us of any change in
   Example         3                                                                            ownership, occupancy or substan-
   When:               The value of the property is:                                            tial change in risk known to the
                                                                                                mortgageholder.
                       Building at Location   1:              $ 75,000
                                                                                            All of the terms of this Coverage Part will
                       Building at Location 2:                $ 100,000                     then apply directly to the mortgageholder.
                       Personal Proerty                                                e.   If we pay the mortgageholder for any loss
                       at Location 2:                         $    75,000                   or damage and deny payment to you be-
                                                              $   250,000                   cause of your acts or because you have
                       The Coinsurance percentage
                                                                                            failed to comply with the terms of this Cov-
                       for it is:                                                           erage Part:
                                                                     90%
                                                                                            (1) The mortgageholder's rights under the
                       The Limit of Insurnce for
                       Buildings and Personal Property                                          mortgage will be transferred to us to
                       at Locations 1 and 2 is:        $ 180,000
                                                                                                the extent of the amount we pay; and

                       The Deductible is:                                                   (2) The mortgageholder's right to recover
                                                              $     1,000
                                                                                                the full amount of the mort-
                       The amount of loss is:                                                   gageholder's claim will not be
                       Building at Location 2:                $    30,000                       impaired.
                       Personal Property                                                    At our option, we may pay to the mort-
                       at Location 2:                         $    20,000                   gageholder the whole principal on the
                                                                                            mortgage plus any accrued interest. In this
                                                              $    50,000
                                                                                            event, your mortgage and note will be
   Step (1)            $250,000 x 90% _ $225,000                                            transferred to us and you will pay your re-
                       (the minimum amount of insurance to                                  maining mortgage debt to us.
                       meet your Coinsurance requirements                              f.   If we cancel this policy, we will give written
                       and to avoid the penalty shown below)                                notice to the mortgageholder at least:
   We will pay no more than $39,000. The remaining                                          (1) 10 days before the effective date of
   $11,000 is not covered.                                                                      cancellation if we cancel for your non-
       2.     Mortgageholders                                                                   payment of premium; or
              a. The term mortgageholder includes trustee.                                  (2) 30 days before the effective date of
                                                                                                cancellation if we cancel for any other
              b. We will pay for covered loss of or damage
                                                                                                reason.
                       to buildings or structures to each mortga-
                       geholder shown in the Declarations in                           g.   If we elect not to renew this policy, we will
                       their order of precedence, as interests may                          give written notice to the mortgageholder
                       appear.                                                              at least 10 days before the expiration date
                                                                                            of this policy.
              c.       The mortgageholder has the right to re-
                       ceive loss payment even if the mortgage-              G.   Optional Coverages
                       holder has started foreclosure or similar                  If shown as applicable
                                                                                                       in the Declarations, the fol-
                       action on the building or structure.                       lowing Optional Coverages apply separately to
              d.       If we deny your claim because of your acts                 each item:
                       or because you have failed to comply with                  1.   Agreed Value
                       the terms of this Coverage Part, the mort-
                                                                                       a. The Additional Condition, Coinsurance,
                       gageholder will still have the right to re-
                                                                                           does not apply to Covered Property to
                       ceive loss payment if the mortgageholder:
                                                                                          which this Optional Coverage applies. We
                       (1) Pays any premium due under this                                will pay no more for loss of or damage to
                           Coverage Part at our request if you                            that property than the proportion that the
                           have failed to do so;                                           Limit of Insurance under this Coverage
                                                                                           Part for the property bears to the Agreed
                                                                                          Value shown for it in the Declarations.




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              b.   If the expiration date for this Optional Cov-                 (4) "Stock ", unless the Including "Stock"
                   erage shown in the Declarations is not                            option is shown in the Declarations.
                   extended, the Additional Condition, Coin-
                                                                                 Under the terms of this Replacement Cost
                   surance, is reinstated and this Optional
                                                                                 Optional Coverage, tenants' improve-
                   Coverage expires.                                             ments and betterments are not considered
              c.   The terms of this Optional Coverage apply                     to be the personal property of others.
                   only to loss or damage that occurs:                      c.   You may make a claim for loss or damage
                   (1) On or after the effective date of this                    covered by this insurance on an actual
                       Optional Coverage; and                                    cash value basis instead of on a replace-
                   (2) Before the Agreed Value expiration                        ment cost basis. In the event you elect to
                       date shown in the Declarations or the                     have loss or damage settled on an actual
                       policy expiration date, whichever oc-                     cash value basis, you may still make a
                       curs first.                                               claim for the additional coverage this Op-
                                                                                 tional Coverage provides if you notify us of
         2.   Inflation Guard                                                    your intent to do so within 180 days after
              a.   The Limit of Insurance for property to                        the loss or damage.
                   which this Optional Coverage applies will                d.   We will not pay on a replacement cost ba-
                   automatically increase by the annual per-                     sis for any loss or damage:
                   centage shown in the Declarations.
                                                                                 (1) Until the lost or damaged property is
              b.   The amount of increase will be:                                   actually repaired or replaced; and
                   (1) The Limit of Insurance that applied on                    (2) Unless the repair or replacement is
                       the most recent of the policy inception                       made as soon as reasonably possible
                       date, the policy anniversary date, or                         after the loss or damage.
                       any other policy change amending the
                       Limit of Insurance, times                                 With respect to tenants' improvements
                                                                                 and betterments, the following also apply:
                   (2) The percentage of annual increase
                       shown in the Declarations, expressed                      (3) If the conditions in d.(1) and d.(2)
                       as a decimal (example: 8% is .08),                            above are not met, the value of ten-
                       times                                                         ants' improvements and betterments
                                                                                     will be determined as a proportion of
                   (3) The number of days since the begin-                           your original cost, as set forth in the
                       ning of the current policy year or the                        Valuation Loss Condition of this Cov-
                       effective date of the most recent policy                      erage Form; and
                       change amending the Limit of Insur-
                       ance, divided by 365.                                     (4) We will not pay for loss or damage
                                                                                     to tenants' improvements and bet-
   Example                                                                           terments if others pay for repairs or
   If:    The applicable Limit of Insurance is:       $ 100,000                      replacement.
          The annual percentage increase is:                8%              e.   We will not pay more for loss or damage
          The number of days since the                                           on a replacement cost basis than the least
          beginning of the policy year                                           of (1), (2) or (3), subject to f. below:
          (or last policy change) is:                      146                   (1) The Limit of Insurance applicable to
          The amount of increase is:                                                 the lost or damaged property;
          $100,000 x .08 x 146 = 365 =                 $ 3,200                   (2) The cost to replace the lost or dam-
   3.    Replacement Cost                                                            aged property with other property:

              a.   Replacement Cost (without deduction for                           (a) Of comparable material and qual-
                   depreciation) replaces Actual Cash Value                              ity; and
                   in the Valuation Loss Condition of this                           (b) Used for the same purpose; or
                   Coverage Form.                                                (3) The amount actually spent that is nec-
              b.   This Optional Coverage does not apply to:                         essary to repair or replace the lost or
                   (1) Personal property of others;                                  damaged property.
                   (2) Contents of a residence;                                  If a building is rebuilt at a new premises,
                                                                                 the cost described in e.(2) above is limited
                   (3) Works of art, antiques or rare articles,                  to the cost which would have been in-
                       including etchings, pictures, statuary,                   curred if the building had been rebuilt at
                       marbles, bronzes, porcelains and                          the original premises.
                       bric -a -brac; or




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           f.   The cost of repair or replacement does not      H.   Definitions
                include the increased cost attributable to           1.   "Fungus" means any type or form of fungus, in-
                enforcement of or compliance with any or-                 cluding mold or mildew, and any mycotoxins,
                dinance or law regulating the construction,               spores, scents or by- products produced or re-
                use or repair of any property.                            leased by fungi.
      4.   Extension Of Replacement Cost To Personal                 2.   "Pollutants" means any solid, liquid, gaseous
           Property Of Others                                             or thermal irritant or contaminant, including
           a. If the Replacement Cost Optional Cover-                     smoke, vapor, soot, fumes, acids, alkalis,
              age is shown as applicable in the Declara-                  chemicals and waste. Waste includes materials
              tions, then this Extension may also be                      to be recycled, reconditioned or reclaimed.
              shown as applicable. If the Declarations               3.   "Stock" means merchandise held in storage or
              show this Extension as applicable, then                     for sale, raw materials and in- process or fin-
               Paragraph 3.b.(1) of the Replacement                       ished goods, including supplies used in their
              Cost Optional Coverage is deleted and all                    packing or shipping.
              other provisions of the Replacement Cost
              Optional Coverage apply to replacement
              cost on personal property of others.
           b. With respect to replacement cost on the
              personal property of others, the following
              limitation applies:
               If an item(s) of personal property of others
              is subject to a written contract which gov-
              erns your liability for loss or damage to
              that item(s), then valuation of that item(s)
              will be based on the amount for which you
              are liable under such contract, but not to
              exceed the lesser of the replacement cost
              of the property or the applicable Limit of
                Insurance.




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                                                                                                 COMMERCIAL PROPERTY
                                                                                                              CP00301012

                    BUSINESS INCOME (AND EXTRA EXPENSE)
                               COVERAGE FORM

   Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
   what is and is not covered.
   Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The words
   "we ", "us" and "our" refer to the company providing this insurance.
   Other words and phrases that appear in quotation marks have special meaning. Refer to Section F. Definitions.

   A Coverage                                                               With respect to the requirements set forth in
       1.   Business Income                                                 the preceding paragraph, if you occupy only
                                                                            part of a building, your premises means:
            Business Income means the:
                                                                                     (a) The portion of the building which
            a.   Net Income (Net Profit or Loss before in-                               you rent, lease or occupy;
                 come taxes) that would have been earned
                 or incurred; and                                                    (b)    of the premises described in the
                                                                                           Declarations, whichever distance
            b.   Continuing normal operating expenses in-                                  is greater (with respect to loss of
                 curred, including payroll.                                                or damage to personal property in
            For manufacturing risks, Net Income includes                                   the open or personal property in a
            the net sales value of production.                                             vehicle); and
            Coverage is provided as described and limited                            (c) Any area within the building or
            below for one or more of the following options                               at the described premises, if
            for which a Limit Of Insurance is shown in the                               that area services, or is used to
            Declarations:                                                                gain access to, the portion of the
                 (1) Business    Income    Including   "Rental                           building which you rent, lease or
                     Value ".                                                            occupy.
                 (2) Business Income Other Than "Rental                2.   Extra Expense
                     Value ".                                               a.   Extra Expense Coverage is provided at the
                 (3) "Rental Value ".                                            premises described in the Declarations
                                                                                 only if the Declarations show that Business
            If option (1) above is selected, the term Busi-                      Income Coverage applies at that premises.
            ness Income will include "Rental Value ". If op-
            tion (3) above is selected, the term Business                   b.   Extra Expense means necessary expenses
            Income will mean "Rental Value" only.                                you incur during the "period of restoration"
                                                                                 that you would not have incurred if there
            If Limits of Insurance are shown under more                          had been no direct physical loss or dam-
            than one of the above options, the provisions                        age to property caused by or resulting
            of this Coverage Part apply separately to each.                      from a Covered Cause of Loss.
            We will pay for the actual loss of Business                          We will pay Extra Expense (other than the
            Income you sustain due to the necessary "sus-                        expense to repair or replace property) to:
            pension" of your "operations" during the "pe-
            riod of restoration ". The "suspension" must be                      (1) Avoid or minimize the "suspension" of
            caused by direct physical loss of or damage to                           business and to continue opera-
            property at premises which are described in                              tions at the described premises
            the Declarations and for which a Business                                or at replacement premises or tempo-
             Income Limit Of Insurance is shown in the                               rary locations, including relocation
            Declarations. The loss or damage must be                                 expenses and costs to equip and op-
            caused by or result from a Covered Cause of                              erate the replacement location or tem-
            Loss. With respect to loss or damage to per-                             porary location.
            sonal property in the open or personal prop-
            erty in a vehicle, the described premises
            include the area within 100 feet of of such
            premises.


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                 (2) Minimize the "suspension" of business              5.   Additional Coverages
                     if you cannot continue "operations ".                   a. Civil Authority
                 We will also pay Extra Expense to repair or                    In this Additional Coverage, Civil Authority,
                 replace property, but only to the extent it                    the described premises are premises to
                 reduces the amount of loss that otherwise                      which this Coverage Form applies, as
                 would have been payable under this Cov-                        shown in the Declarations.
                 erage Form.
                                                                                When a Covered Cause of Loss causes
       3.   Covered Causes Of Loss, Exclusions And                              damage to property other than property at
            Limitations                                                         the described premises, we will pay for the
            See applicable Causes Of Loss form as shown                         actual loss of Business Income you sus-
            in the Declarations.                                                tain and necessary Extra Expense caused
       4.   Additional Limitation - Interruption Of                             by action of civil authority that prohibits
            Computer Operations                                                 access to the described premises, pro-
                                                                                vided that both of the following apply:
            a. Coverage for Business Income does not
               apply when a "suspension" of "operations"                        (1) Access to the area immediately sur-
               is caused by destruction or corruption of                            rounding the damaged property is
                 electronic data, or any loss or damage to                          prohibited by civil authority as a result
                 electronic data, except as provided under                          of the damage, and the described
                 the Additional Coverage, Interruption Of                           premises are within that area but are
                 Computer Operations.                                               not more than one mile from the dam-
                                                                                    aged property; and
            b.   Coverage for Extra Expense does not ap-
                 ply when action is taken to avoid or                           (2) The action of civil authority is taken
                 minimize a "suspension" of "operations"                            in response to dangerous physical
                 caused by destruction or corruption of                             conditions resulting from the damage
                 electronic data, or any loss or damage to                          or continuation of the Covered Cause
                 electronic data, except as provided under                          of Loss that caused the damage, or
                 the Additional Coverage, Interruption Of                           the action is taken to enable a civil au-
                 Computer Operations.                                               thority to have unimpeded access to
                                                                                    the damaged property.
            c.   Electronic data means information, facts
                 or computer programs stored as or on,                          Civil Authority Coverage for Business In-
                 created or used on, or transmitted to or                       come will begin 72 hours after the time of
                 from computer software (including sys-                         the first action of civil authority that pro-
                 tems and applications software), on hard                       hibits access to the described premises
                 or floppy disks, CD -ROMs, tapes, drives,                      and will apply for a period of up to four
                 cells, data processing devices or any other                    consecutive weeks from the date on which
                 repositories of computer software which                        such coverage began.
                 are used with electronically controlled                        Civil Authority Coverage for Extra Expense
                 equipment. The term computer programs,                         will begin immediately after the time of the
                 referred to in the foregoing description of                    first action of civil authority that prohibits
                 electronic data, means a set of related                        access to the described premises and will
                 electronic instructions which direct the op-                   end:
                 erations and functions of a computer or                        (1) Four consecutive weeks after the date
                 device connected to it, which enable the                           of that action; or
                 computer or device to receive, process,
                 store, retrieve or send data.                                  (2) When your Civil Authority Coverage
                                                                                    for Business Income ends;
            d.   This Additional Limitation does not apply
                 when loss or damage to electronic data                         whichever is later.
                 involves only electronic data which is inte-
                 grated in and operates or controls a build-
                 ing's elevator, lighting, heating, ventilation,
                 air conditioning or security system.




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         b.   Alterations And New Buildings                                       However, Extended Business Income
              We will pay for the actual loss of Business                         does not apply to loss of Business In-
               Income you sustain and necessary Extra                             come incurred as a result of unfavora-
              Expense you incur due to direct physical                            ble business conditions caused by the
              loss or damage at the described premises                            impact of the Covered Cause of Loss
              caused by or resulting from any Covered                             in the area where the described prem-
              Cause of Loss to:                                                   ises are located.

              (1) New buildings or structures, whether                            Loss of Business Income must be
                  complete or under construction;                                 caused by direct physical loss or dam-
                                                                                  age at the described premises caused
              (2) Alterations or additions to existing                            by or resulting from any Covered
                  buildings or structures; and                                    Cause of Loss.
              (3) Machinery, equipment, supplies or                           (2) 'Rental Value"
                  build of the described premises and:
                                                                                  If the necessary "suspension" of your
                  (a) Used in the construction, altera-                           "operations" produces a "Rental Value"
                       tions or additions; or                                     loss payable under this policy, we
                  (b) Incidental to the occupancy of                              will pay for the actual loss of "Rental
                      new buildings.                                              Value" you incur during the period
               If such direct physical loss or damage de-                         that:
              lays the start of "operations", the "period of                      (a) Begins on the date property is ac-
              restoration" for Business Income Cover-                                 tually repaired, rebuilt or replaced
              age will begin on the date "operations"                                 and tenantability is restored; and
              would have begun if the direct physical                             (b) Ends on the earlier of:
              loss or damage had not occurred.
                                                                                         (i)   The date you could restore
         c.   Extended Business Income                                                         tenant occupancy, with rea-
              (1) Business Income Other Than 'Rental                                           sonable speed, to the level
                  Value"                                                                       which would generate the
                  If the necessary "suspension" of   your                                      "Rental Value" that would have
                  "operations" produces a Business In-                                         existed if no direct physical
                  come loss payable under this policy,                                         loss or damage had occurred;
                  we will pay for the actual loss of Busi-                                     or
                  ness Income you incur during the pe-                               (ii)      60 consecutive days after the
                  riod that:                                                                   date determined     in   (2)(a)
                  (a) Begins on the date property (ex-                                         above.
                      cept "finished stock ") is actually                         However, Extended Business Income
                      repaired, rebuilt or replaced and                           does not apply to loss of "Rental
                      "operations" are resumed; and                               Value" incurred as a result of unfavora-
                  (b) Ends on the earlier of:                                     ble business conditions caused by the
                                                                                  impact of the Covered Cause of Loss
                      (i)    The date you could restore                           in the area where the described prem-
                             your "operations ", with rea-                        ises are located.
                             sonable speed, to the level
                             which would generate the                            Loss of "Rental Value" must be caused
                             business income amount that                         by direct physical loss or damage at
                             would have existed if no direct                     the described premises caused by or
                             physical loss or damage had                         resulting from any Covered Cause of
                             occurred; or                                        Loss.

                      (ii)   60 consecutive days after the               d.   Interruption Of Computer Operations
                             date determined      in   (1)(a)                 (1) Under this Additional Coverage, elec-
                             above.                                               tronic data has the meaning described
                                                                                 under Additional Limitation - Interrup-
                                                                                 tion Of Computer Operations.




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              (2) Subject to all provisions of this Addi-                      (4) The most we will pay under this Addi-
                  tional Coverage, you may extend the                              tional Coverage, Interruption Of Com-
                  insurance that applies to Business In-                           puter Operations, is $2,500 (unless a
                  come and Extra Expense to apply to a                             higher limit is shown in the Declara-
                  "suspension" of "operations" caused                              tions) for all loss sustained and ex-
                  by an interruption in computer opera-                            pense incurred in any one policy year,
                    tions due to destruction or corruption                         regardless of the number of interrup-
                    of electronic data due to a Covered                            tions or the number of premises, loca-
                    Cause of Loss. However, we will not                            tions or computer systems involved. If
                    provide coverage under this Addi-                              loss payment relating to the first inter-
                    tional Coverage when the Additional                            ruption does not exhaust this amount,
                    Limitation - Interruption Of Computer                          then the balance is available for loss or
                    Operations does not apply based on                             expense sustained or incurred as a re-
                    Paragraph A.4.d. therein.                                      sult of subsequent interruptions in that
              (3) With respect to the coverage provided                            policy year. A balance remaining at
                  under this Additional Coverage, the                              the end of a policy year does not in-
                  Covered Causes of Loss are subject to                            crease the amount of insurance in the
                  the following:                                                   next policy year. With respect to any
                                                                                   interruption which begins in one policy
                    (a) If the Causes Of Loss - Special                            year and continues or results in addi-
                        Form applies, coverage under this                          tional loss or expense in a subsequent
                        Additional Coverage, Interruption                          policy year(s), all loss and expense is
                        Of Computer Operations, is lim-                            deemed to be sustained or incurred in
                        ited to the "specified causes of                           the policy year in which the interrup-
                        loss" as defined in that form and                          tion began.
                        Collapse as set forth in that form.
                                                                               (5) This Additional Coverage, Interruption
                    (b) If the Causes Of Loss - Broad                              Of Computer Operations, does not ap-
                        Form applies, coverage under this                          ply to loss sustained or expense in-
                        Additional Coverage, Interruption                          curred after the end of the "period of
                        Of Computer Operations, includes                           restoration ", even if the amount of in-
                        Collapse as set forth in that form.                        surance stated in (4) above has not
                    (c) If the Causes Of Loss form is en-                          been exhausted.
                        dorsed to add a Covered Cause of             6.   Coverage Extension
                        Loss, the additional Covered
                        Cause of Loss does not apply to                   If a Coinsurance percentage of 50% or more is
                        the coverage provided under this                  shown in the Declarations, you may extend the
                        Additional Coverage, Interruption                 insurance provided by this Coverage Part as
                        Of Computer Operations.                           follows:
                    (d) The Covered Causes of Loss in-                    Newly Acquired Locations
                        clude a virus, harmful code or sim-               a. You may extend your Business Income
                        ilar instruction introduced into or                  and Extra Expense Coverages to apply to
                        enacted on a computer system                         property at any location you acquire other
                        (including electronic data) or a                     than fairs or exhibitions.
                        network to which it is connected,                 b.   The most we will pay under this Extension,
                        designed to damage or destroy                          for the sum of Business Income loss and
                        any part of the system or disrupt                      Extra Expense incurred, is $100,000 at
                        its normal operation. But there is
                                                                               each location, unless a higher limit is
                        no coverage for an interruption
                                                                               shown in the Declarations.
                        related to manipulation of a com-
                        puter system (including electronic                c.   Insurance under this Extension for each
                        data) by any employee, including                       newly acquired location will end when any
                        a temporary or leased employee,                        of the following first occurs:
                        or by an entity retained by you or                     (1) This policy expires;
                        for you to inspect, design, install,
                        maintain, repair or replace that
                        system.




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                  (2) 30 days expire after you acquire or be-          2.   Duties In The Event Of Loss
                      gin to construct the property; or                     a.   You must see that the following are done
                  (3) You report values to us.                                   in the event of loss:
                  We will charge you additional premium for                      (1) Notify the police if a law may have
                  values reported from the date you acquire                          been broken.
                  the property.                                                  (2) Give us prompt notice of the direct
             The Additional Condition, Coinsurance, does                             physical loss or damage. Include a de-
             not apply to this Extension.                                            scription of the property involved.
   B.   Limits Of Insurance                                                      (3) As soon as possible, give us a descrip-
        The most we will pay for loss in any one occur-                              tion of how, when and where the direct
        rence is the applicable Limit Of Insurance shown in                          physical loss or damage occurred.
        the Declarations.                                                        (4) Take all reasonable steps to protect
        Payments under the following coverages will not                              the Covered Property from further
        increase the applicable Limit of Insurance:                                  damage, and keep a record of your
                                                                                     expenses necessary to protect the
        1.   Alterations And New Buildings;                                          Covered Property, for consideration in
        2.   Civil Authority;                                                        the settlement of the claim. This will
        3.   Extra Expense; or                                                       not increase the Limit of Insurance.
                                                                                     However, we will not pay for any sub-
        4.   Extended Business Income.                                               sequent loss or damage resulting from
        The amounts of insurance stated in the Interruption                          a cause of loss that is not a Covered
        Of Computer Operations Additional Coverage and                               Cause of Loss. Also, if feasible, set the
        the Newly Acquired Locations Coverage Extension                              damaged property aside and in the
        apply in accordance with the terms of those cover-                           best possible order for examination.
        ages and are separate from the Limit(s) Of Insur-                        (5) As often as may be reasonably re-
        ance shown in the Declarations for any other                                 quired, permit us to inspect the prop-
        coverage.                                                                    erty proving the loss or damage and
   C.   Loss Conditions                                                              examine your books and records.
        The following conditions apply in addition to the                            Also permit us to take samples of
        Common Policy Conditions and the Commercial                                  damaged and undamaged property
        Property Conditions:                                                         for inspection, testing and analysis,
                                                                                     and permit us to make copies from
        1.   Appraisal
                                                                                     your books and records.
             If we and you disagree on the amount of Net
                                                                                 (6) Send us a signed, sworn proof of loss
             Income and operating expense or the amount
                                                                                     containing the information we request
             of loss, either may make written demand for an
                                                                                     to investigate the claim. You must do
             appraisal of the loss. In this event, each party
                                                                                     this within 60 days after our request.
             will select a competent and impartial appraiser.
                                                                                     We will supply you with the necessary
             The two appraisers will select an umpire. If                            forms.
             they cannot agree, either may request that se-
                                                                                 (7) Cooperate with us in the investigation
             lection be made by a judge of a court having
                                                                                     or settlement of the claim.
             jurisdiction. The appraisers will state sepa-
             rately the amount of Net Income and operating                       (8) If you intend to continue your busi-
             expense or amount of loss. If they fail to agree,                       ness, you must resume all or part
             they will submit their differences to the umpire.                       of your "operations" as quickly as
             A decision agreed to by any two will be bind-                           possible.
             ing. Each party will:                                          b.   We may examine any insured under oath,
             a.   Pay its chosen appraiser; and                                  while not in the presence of any other
                                                                                 insured and at such times as may be rea-
             b.   Bear the other expenses of the appraisal
                                                                                 sonably required, about any matter relat-
                  and umpire equally.
                                                                                 ing to this insurance or the claim, including
             If there is an appraisal, we will still retain our                  an insured's books and records. In the
             right to deny the claim.                                            event of an examination, an insured's an-
                                                                                 swers must be signed.




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      3.   Loss Determination                                              c.   Resumption Of Operations
           a.   The amount of Business Income loss will                         We will reduce the amount of your:
                be determined based on:
                                                                                (1) Business Income loss, other than Ex-
                (1) The Net Income of the business before                           tra Expense, to the extent you can re-
                    the direct physical loss or damage                              sume your "operations ", in whole or in
                    occurred;                                                       part, by using damaged or undam-
                (2) The likely Net Income of the business                            aged property (including merchandise
                    if no physical loss or damage had oc-                            or stock) at the described premises or
                    curred, but not including any Net In-                            elsewhere.
                    come that would likely have been                            (2) Extra Expense loss to the extent you
                    earned as a result of an increase in the                        can return "operations" to normal and
                    volume of business due to favorable                             discontinue such Extra Expense.
                    business conditions caused by the im-                  d.   If you do not resume "operations ", or do
                    pact of the Covered Cause of Loss on                        not resume "operations" as quickly as pos-
                    customers or on other businesses;                           sible, we will pay based on the length of
                (3) The    operating expenses, including                        time it would have taken to resume "opera-
                    payroll expenses, necessary to re-                          tions" as quickly as possible.
                    sume "operations" with the same qual-             4.   Loss Payment
                    ity of service that existed just before
                    the direct physical loss or damage;                    We will pay for covered loss within 30 days
                    and                                                    after we receive the sworn proof of loss, if you
                                                                           have complied with all of the terms of this Cov-
                (4) Other relevant sources of information,
                                                                           erage Part, and:
                    including:
                                                                           a.   We have reached agreement with you on
                    (a) Your financial records and ac-
                                                                                the amount of loss; or
                          counting procedures;
                                                                           b.   An appraisal award has been made.
                    (b) Bills, invoices and other vouchers;
                        and                                      D.   Additional Condition
                    (c) Deeds, liens or contracts.                    COINSURANCE
           b.   The amount of Extra Expense will be deter-            If a Coinsurance percentage is shown in the Decla-
                mined based on:                                       rations, the following condition applies in addition
                                                                      to the Common Policy Conditions and the Com-
                (1) All expenses that exceed the normal
                                                                      mercial Property Conditions.
                    operating expenses that would have
                    been incurred by "operations" during              We will not pay the full amount of any Business In-
                    the "period of restoration" if no direct          come loss if the Limit of Insurance for Business In-
                    physical loss or damage had oc-                   come is less than:
                    curred. We will deduct from the total of          1.   The Coinsurance percentage shown for Busi-
                    such expenses:                                         ness Income in the Declarations; times
                    (a) The salvage value that remains of             2.   The sum of:
                        any property bought for tempo-
                                                                           a.   The Net Income (Net Profit or Loss before
                        rary use during the "period of re-
                                                                                income taxes), and
                        storation", once "operations" are
                        resumed; and                                       b.   Operating expenses,      including   payroll
                                                                                expenses,
                    (b) Any Extra Expense that is paid for
                        by other insurance, except for in-                 that would have been earned or incurred (had
                        surance that is written subject to                 no loss occurred) by your "operations" at the
                        the same plan, terms, conditions                   described premises for the 12 months follow-
                        and provisions as this insurance;                  ing the inception, or last previous anniversary
                          and                                              date, of this policy (whichever is later).
                (2) Necessary expenses that reduce the
                    Business Income loss that otherwise
                    would have been incurred.




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      Instead, we will determine the most we will pay us-        Example        1   (Underinsurance)
      ing the following steps:
                                                                 When:      The Net Income and operating
      Step (1):    Multiply the Net Income and operating                    expenses for the 12 months
                   expense for the 12 monts following the                   following the inception, or last
                   inception, or last previous anniversary                  previous anniversary date, of
                   date, of this policy by the Coinsurance                  this policy at the described
                   percentage;                                              premises would have been:              $   400,000
      Step (2):    Divide the Limit of Insurance for the                    The Coninsurance percentage is:               50%
                   descriged premises by the figure de-
                                                                            The Limit of Insurance is:             $   150,000
                   termined in Step (1); and
                                                                            The amount of loss is:                 $    80,000
      Step (3):      Multiply the total amount of loss by the
                     figure determined in Step (2).              Step (1): $400,000 x 50% = $200,000
      We will pay the amount determined in Step (3) or                      (the minimum amount of insurane to
      the limit of insurance, whichever is less. For the re-                meet your Coninsurance requirements)
      mainder, you will either have to rely on other insur-      Step (2): $150,000 - $200,00 = .75
      ance or absorb the loss yourself.
                                                                 Step (3): $80,000 x .75 = $60,000
      In determining operating expenses for the purpose
                                                                 We will pay no more than $60,000. The remaining
      of applying the Coinsurance condition, the follow-
                                                                 $20,000 is not covered.
      ing expenses, if applicable, shall be deducted from
      the total of all operating expenses:                       Example    2  (Adequate Insurance)
              (1) Prepaid freight - outgoing;                    When:      The Net Income and operating
                                                                            expenses for the 12 months
              (2) Returns and allowances;
                                                                            following the inception, or last
              (3) Discounts;                                                previous anniversary date, of
              (4) Bad debts;                                                this policy at the described
                                                                            premises would have been:              $   400,000
              (5) Collection expenses;
                                                                            The Coninsurance percentage is:               50%
              (6) Cost of raw stock and factory supplies
                   consumed (including transportation                       The Limit of Insurance is:             $
                   charges);                                                The amount of loss is:                 $    80,000
              (7) Cost of merchandise sold (including            The minimum amount of insurance to meet your            Coin-
                  transportation charges);                       surance requirement is $200,000 ($400,000 x             50 %).
              (8) Cost of other supplies consumed (in-           Therefore, the Limit of Insurance in this example       is ad-
                  cluding transportation charges);               equate and no penalty applies. We will pay no           more
                                                                 than $80,000 (amount of loss).
              (9) Cost of services purchased from out-
                  siders (not employees) to resell, that         This condition does          not apply to Extra       Expense
                  do not continue under contract;                Coverage.
             (10) Power, heat and refrigeration ex-              E.   Optional Coverages
                  penses that do not continue under                   If shown as applicable in the Declarations, the fol-
                  contract (if Form CP 15 11 is                       lowing Optional Coverages apply separately to
                  attached);                                          each item.
             (11) All payroll expenses or the amount of               1.   Maximum Period Of Indemnity
                  payroll expense excluded (if Form
                                                                           a.       The Additional Condition, Coinsurance,
                  CP 15 10 is attached); and
                                                                                    does not apply to this Coverage Form at
             (12) Special deductions for mining proper-                             the described premises to which this Op-
                  ties (royalties unless specifically in-                           tional Coverage applies.
                  cluded in coverage; actual depletion
                  commonly known as unit or cost de-
                  pletion - not percentage depletion; wel-
                  fare and retirement fund charges
                  based on tonnage; hired trucks).




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           b.   The most we will pay for the total of Busi-                            (b) Estimated for the 12 months im-
                ness Income loss and Extra Expense is the                                  mediately following the inception
                lesser of:                                                                 of this Optional Coverage.
                (1) The amount of loss sustained and ex-                           (2) The Declarations must indicate that
                    penses incurred during the 120 days                                the Business Income Agreed Value
                         immediately following the beginning of                        Optional Coverage applies, and an
                         the "period of restoration"; or                               Agreed Value must be shown in the
                (2) The Limit Of Insurance shown in the                                Declarations. The Agreed      Value
                         Declarations.                                                 should be at least equal to:
      2.   Monthly Limit Of Indemnity                                                  (a) The      Coinsurance   percentage
                                                                                             shown in the Declarations; multi-
           a. The Additional Condition, Coinsurance,                                         plied by
                does not apply to this Coverage Form at
                the described premises to which this Op-                               (b) The amount of Net Income and
                tional Coverage applies.                                                   operating expenses for the follow-
                                                                                           ing 12 months you report on the
           b.   The most we will pay for loss of Business                                  Work Sheet.
                Income in each period of 30 consecutive
                days after the beginning of the "period of                    b.   The Additional Condition, Coinsurance, is
                restoration" is:                                                   suspended until:
                (1) The Limit of Insurance, multiplied by                          (1) 12 months after the effective date of
                                                                                       this Optional Coverage; or
                (2) The fraction shown in the Declarations
                    for this Optional Coverage.                                    (2) The expiration date of this policy;

   Example                                                                         whichever occurs first.
   When:        The Limit of Insurance is:           $120,000                 c.   We will reinstate the Additional Condition,
                                                                                   Coinsurance, automatically if you do not
                The fraction shown in the                                          submit a new Work Sheet and Agreed
                Declarations for this Optional                                     Value:
                Coverage is:                                1/4
                                                                                   (1) Within 12 months of the effective date
                The most we will pay for loss in                                       of this Optional Coverage; or
                each period of 30 consecutve
                days is:                             $   30,000                    (2) When you request a change in your
                                                                                       Business Income Limit of Insurance.
                ($120,000 x 1/ 4 = $30,000)
                                                                              d.   If the Business Income Limit of Insurance
                   this example, the actual
                If, in                                                             is less than the Agreed Value, we will not
                amount of loss is:                                                 pay more of any loss than the amount of
                Days 1 -30                           $   40,000                    loss multiplied by:
                Days 31 -60:                         $   20,000                    (1) The Business Income Limit of Insur-
                Days 61 -90:                         $   30,000                        ance; divided by
                                                                                   (2) The Agreed Value.
                                                     $   90,000
                We will pay:
                                                                     Example
                Days 1 -30:                                         When:          The Limit of Insurane is:          $   100,000
                                                     $   30,000
                Days 31 -60:                                                       The Agreed Value is:               $   200,000
                                                     $   20,000
                                                                    We will pay $40,000. The remaining $40,000 is not
                Days 61 -90:                         $   30,000
                                                                    covered.
                                                     $   80,000
                                                                         4.   Extended Period Of Indemnity
      3.   Business Income Agreed Value 2
                                                                              Under Paragraph A.5.c., Extended Business
           a. To activate this Optional Coverage:                             Income, the number 60 Subparagraphs (1)(b)
              (1) A Business Income Report/ Work                              and (2)(b) is replaced by the number shown in
                  Sheet must be submitted to us and                           the Declarations for this Optional Coverage.
                  must show financial data for your
                  "operations":
                  (a) During the 12 months prior to the
                      date of the Work Sheet; and




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   F.   Definitions                                                                 (2) Requires any insured or others to test
        1.   "Finished stock"     means       stock   you   have                        for, monitor, clean up, remove, con-
             manufactured.                                                              tain, treat, detoxify or neutralize, or in
                                                                                        any way respond to, or assess the ef-
             "Finished stock" also includes whiskey and al-                             fects of "pollutants ".
             coholic products being aged, unless there is a
             Coinsurance percentage shown for Business                         The expiration date of this policy will not cut
             Income in the Declarations.                                       short the "period of restoration ".
             "Finished stock" does not include stock you                  4.   "Pollutants" means any solid, liquid, gaseous
             have manufactured that is held for sale on the                    or thermal irritant or contaminant, including
             premises of any retail outlet insured under this                  smoke, vapor, soot, fumes, acids, alkalis,
             Coverage Part.                                                    chemicals and waste. Waste includes materials
                                                                               to be recycled, reconditioned or reclaimed.
        2.   "Operations" means:
                                                                          5.   "Rental Value" means Business Income that
             a.   Your business activities occurring at the                    consists of:
                  described premises; and
                                                                               a.   Net Income (Net Profit or Loss before
             b.   The tenantability of the described prem-                          income taxes) that would have been
                  ises, if coverage for Business Income                             earned or incurred as rental income from
                  Including "Rental Value" or "Rental Value"                        tenant occupancy of the premises de-
                  applies.                                                          scribed in the Declarations as furnished
        3.   "Period of restoration" means the period of                            and equipped by you, including fair rental
             time that:                                                             value of any portion of the described
             a.   Begins:                                                           premises which is occupied by you; and

                  (1) 72 hours after the time of direct physi-                 b.   Continuing normal operating expenses in-
                      cal loss or damage for Business In-                           curred in connection with that premises,
                      come Coverage; or                                             including:
                  (2) Immediately after the time of direct                          (1) Payroll; and
                      physical loss or damage for Extra Ex-                         (2) The amount of charges which are the
                      pense Coverage;                                                   legal obligation of the tenant(s) but
                  caused by or resulting from any Covered                               would otherwise be your obligations.
                  Cause of Loss at the described premises;                6.   "Suspension" means:
                  and                                                          a.   The slowdown or cessation of your busi-
             b.   Ends on the earlier of:                                           ness activities; or
                  (1) The date when the property at the de-                    b.   That a part or all of the described premises
                      scribed premises should be repaired,                          is rendered untenantable, if coverage for
                      rebuilt or replaced with reasonable                           Business Income Including "Rental Value"
                      speed and similar quality; or                                 or "Rental Value" applies.
                  (2) The date when business is resumed at
                      a new permanent location.
             "Period of restoration" does not include any in-
             creased period required due to the enforce-
             ment of or compliance with any ordinance or
             law that:
                  (1) Regulates the construction, use or re-
                      pair, or requires the tearing down, of
                      any property; or




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                                                                                                             CP 00 90 07 88


                         COMMERCIAL PROPERTY CONDITIONS
 This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
 Conditions and Additional Conditions in Commercial Property Coverage Forms.

 A. CONCEALMENT, MISREPRESENTATION OR FRAUD                               Part  bears to the Limits of Insurance of all
      This Coverage Part is void in any case of fraud by                  insurance covering on the same basis.
      you as it relates to this Coverage Part at any time. It        2.   If there is other insurance covering the same loss
      is also void if you or any other insured, at any time,              or damage, other than that described in 1.
      intentionally conceal or misrepresent a material fact               above, w e w ill pay only for the amount of
      concerning:                                                         covered loss or damage in excess of the amount
      1. This Coverage Part;                                              due from that other insurance, w hether you can
                                                                          collect on it or not. But we will not pay more
      2.   The Covered Property;                                          than the applicable Limit of Insurance.
      3.   Your interest in the Covered Property; or            H.   POLICY PERIOD, COVERAGE TERRITORY
      4.   A claim under this Coverage Part.                         Under this Coverage Part:
 B.   CONTROL OF PROPERTY                                            1.   We cover loss or damage commencing:
    Any act or neglect of any person other than you                       a.     During the policy period show n   in   the Decla-
    beyond your direction or control will not affect this                        rations; and
    insurance.
                                                                          b. Within the coverage territory.
    The breach of any condition of this Coverage Part at
    any one or more locations will not affect coverage at            2.   The coverage territory is:
    any location where, at the time of loss or damage,                    a. The United States of America (including its
    the breach of condition does not exist.                                  territories and possessions);
 C. INSURANCE UNDER TWO OR MORE COVERAGES                                 b.     Puerto Rico; and
    If two or more of this policy's coverages apply to                    c.     Canada.
    the same loss or damage, we will not pay more than          I.   TRANSFER OF RIGHTS OF RECOVERY AGAINST
    the actual amount of the loss or damage.                         OTHERS TO US
 D. LEGAL ACTION AGAINST US
                                                                     If any  person or organization to or for whom we
    No one may bring a legal action against us under                 make payment under this Coverage Part has rights
    this Coverage Part unless:                                       to recover damages from another, those rights are
    1. There has been full compliance w ith all of the               transferred to us to the extent of our payment. That
         terms of this Coverage Part; and                            person or organization must do everything necessary
                                                                     to secure our rights and must do nothing after loss
    2. The action is brought within 2 years after the                to impair them. But you may waive your rights
         date on w hich the direct physical loss or damage           against another party in writing:
         occurred.
                                                                     1.   Prior to a loss to your Covered           Property or
E.    LIBERALIZATION                                                      Covered Income.
      If we adopt any revision that would broaden the                2.   After a loss to your Covered Property or Covered
      coverage under this Coverage Part without additional                Income only if, at time of loss, that party is one
      premium within 45 days prior to or during the policy                of the following:
      period, the broadened coverage w ill immediately
      apply to this Coverage Part.                                        a.     Someone insured by this insurance;
F.    NO BENEFIT TO BAILEE                                                b.     A business firm:
      No  person or organization, other than you, having                      (1) Ow ned or controlled by you; or
      custody of Covered Property w ill benefit from this                     (2) That ow ns or controls you; or
      insurance.                                                         c. Your tenant.
G.    OTHER INSURANCE                                                This w ill not restrict your insurance.
      1.   You may have other insurance subject to the
           same plan, terms, conditions and provisions as
           the insurance under this Coverage Part. If you
           do, we will pay our share of the covered loss or
           damage. Our share is the proportion that the
           applicable Limit of Insurance under this Coverage




                                                                                                                   Hart Forms & Services
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   POLICY NUMBER: 773TA10063                                                                         COMMERCIAL PROPERTY
                                                                                                             CP 0411 0917

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     PROTECTIVE SAFEGUARDS
   This endorsement modifies insurance provided under the following:

        COMMERCIAL PROPERTY COVERAGE PART
        STANDARD PROPERTY POLICY


                                                           SCHEDULE

                                                                                                  Protective Safeguards
               Premises Number                          Building Number                            Symbols Applicable

                       1                                          1                                          P   -s




    Describe Any "P-9":




    Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

   A.   The following is added to the Commercial Property             B.   The following is added to the Exclusions section
        Conditions:                                                        of:
        Protective Safeguards                                              Causes Of Loss   -   Basic Form
        As a condition of this insurance, you are required                 Causes Of Loss   -   Broad Form
        to:                                                                Causes Of Loss   -   Special Form
        1.   Maintain the protective safeguards listed in the              Mortgageholders Errors And Omissions Coverage
             Schedule, and over which you have control, in                 Form
             complete working order;
                                                                           Standard Property Policy
        2.   Actively engage and maintain in the "on" posi-
             tion at all times any automatic fire alarm or                 We will not pay for loss or damage caused by or
             other automatic system listed in the Schedule;                resulting from fire if, prior to the fire, you failed to
             and                                                           comply with any condition set forth in Paragraph A.
        3.   Notify us if you know of any suspension of or            C.   The protective safeguards to which this endorse-
             impairment in any protective safeguard listed                 ment applies are identified by the following
             in the Schedule.                                              symbols:
             However, if part of an Automatic Sprinkler                    "P-1" Automatic Sprinkler System, including re-
             System or Automatic Commercial Cooking Ex-                    lated supervisory services.
             haust And Extinguishing System is shut off due
             to breakage, leakage, freezing conditions or
             opening of sprinkler heads, notification to us
             will not be necessary if you can restore full pro-
             tection within 48 hours.




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      Automatic Sprinkler System means:                               'P -3 " Security Service, with a recording system or
           a.    Any automatic fire protective or extinguish-         watch clock, making hourly rounds covering the
                 ing system, including connected:                     entire building, when the premises are not in actual
                                                                      operation.
                 (1) Sprinklers and discharge nozzles;
                                                                       'P -4" Service Contract with a privately owned fire
                 (2) Ducts, pipes, valves and fittings;                department providing fire protection service to the
                 (3) Tanks, their component parts and sup-            described premises.
                     ports; and                                       "P -5" Automatic Commercial Cooking Exhaust
                 (4) Pumps     and   private fire   protection        And Extinguishing System installed on cooking
                     mains.                                           appliances and having the following components:
           b.    When supplied from an automatic fire pro-                 a.   Hood;
                 tective system:                                           b.   Grease removal device;
                 (1) Non -automatic fire protective systems;               c.   Duct system; and
                     and
                                                                           d.   Wet chemical fire extinguishing    equip-
                 (2) Hydrants, standpipes and outlets.                          ment.
      'P -2" Automatic Fire Alarm, protecting the entire               'P -9 ", the protective system described    in   the
      building, that is:                                               Schedule.
          a.     Connected to a central station; or
          b.     Reporting to a public or private fire alarm
                 station.




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                                                                                                  COMMERCIAL PROPERTY
                                                                                                               CP 10 30 10 12


                             CAUSES OF LOSS                        -   SPECIAL FORM
   Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.


   A.   Covered Causes Of Loss                                                   (4) Earth    sinking (other than sinkhole
        When Special is shown in the Declarations, Cov-                                collapse), rising or shifting including
        ered Causes of Loss means direct physical loss                                 soil conditions which cause settling,
        unless the loss is excluded or limited in this policy.                         cracking or other disarrangement of
                                                                                       foundations or other parts of realty.
   B.   Exclusions                                                                     Soil conditions include contraction,
        1.   We will not pay for loss or damage caused di-                             expansion, freezing, thawing, erosion,
             rectly or indirectly by any of the following.                             improperly compacted soil and the
             Such loss or damage is excluded regardless of                             action of water under the ground
             any other cause or event that contributes con-                            surface.
             currently or in any sequence to the loss.                          But if Earth Movement, as described in
             a.   Ordinance Or Law                                              b.(1) through (4) above, results in fire or
                  The enforcement of or compliance with                         explosion, we will pay for the loss or dam-
                  any ordinance or law:                                         age caused by that fire or explosion.

                  (1) Regulating the construction, use or re-                    (5) Volcanic eruption, explosion or effu-
                      pair of any property; or                                       sion. But if volcanic eruption, explo-
                                                                                     sion or effusion results in fire, building
                  (2) Requiring the tearing down of any                                glass breakage or Volcanic Action, we
                      property, including the cost of remov-                           will pay for the loss or damage caused
                      ing its debris.                                                  by that fire, building glass breakage or
                  This exclusion, Ordinance Or Law, applies                            Volcanic Action.
                  whether the loss results from:                                       Volcanic Action means direct loss or
                      (a) An ordinance or law that is en-                              damage resulting from the eruption of
                          forced even if the property has not                          a volcano when the loss or damage is
                          been damaged; or                                             caused by:
                      (b) The increased costs incurred to                              (a) Airborne volcanic blast or airborne
                          comply with an ordinance or law                                  shock waves;
                          in the course of construction, re-                           (b) Ash, dust or particulate matter; or
                          pair, renovation, remodeling or
                          demolition of property, or removal                           (c) Lava flow.
                          of its debris, following a physical                          With respect to coverage for Volcanic
                          loss to that property.                                       Action as set forth in (5)(a), (5)(b) and
             b.   Earth Movement                                                       (5)(c), all volcanic eruptions that oc-
                                                                                       cur within any 168 -hour period will
                  (1) Earthquake,     including tremors and                            constitute a single occurrence.
                      aftershocks and any earth sinking, ris-
                      ing or shifting related to such event;                           Volcanic Action does not include the
                                                                                       cost to remove ash, dust or particulate
                  (2) Landslide, including any earth sinking,                          matter that does not cause direct
                      rising or shifting related to such event;                        physical loss or damage to the de-
                  (3) Mine   subsidence, meaning subsi-                                scribed property.
                      dence of a man -made mine, whether                        This   exclusion applies regardless of
                      or not mining activity has ceased;                        whether any of the above, in Paragraphs
                                                                                (1) through (5), is caused by an act of
                                                                                nature or is otherwise caused.




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           c.     Governmental Action                                            (3) Insurrection, rebellion, revolution,
                  Seizure or destruction of property by order                        usurped power, or action taken by
                  of governmental authority.                                            governmental authority in hindering or
                                                                                        defending against any of these.
                  But we will pay for loss or damage caused
                  by or resulting from acts of destruction                  g.   Water
                  ordered by governmental authority and                          (1) Flood, surface water, waves (including
                  taken at the time of a fire to prevent its                         tidal wave and tsunami), tides, tidal
                  spread, if the fire would be covered under                         water, overflow of any body of water,
                  this Coverage Part.                                                or spray from any of these, all whether
           d.     Nuclear Hazard                                                     or not driven by wind (including storm
                                                                                     surge);
                  Nuclear reaction or radiation, or radioac-
                  tive contamination, however caused.                            (2) Mudslide or mudflow;

                  But if nuclear reaction or radiation, or ra-                   (3) Water that backs up or overflows or is
                  dioactive contamination, results in fire, we                       otherwise discharged from a sewer,
                  will pay for the loss or damage caused by                          drain, sump, sump pump or related
                  that fire.                                                            equipment;
           e.     Utility Services                                               (4) Water under the ground surface press-
                                                                                     ing on, or flowing or seeping through:
                  The failure of power, communication,
                  water or other utility service supplied to the                        (a) Foundations, walls,     floors    or
                  described premises, however caused, if                                    paved surfaces;
                  the failure:                                                          (b) Basements, whether paved or not;
                  (1) Originates away from the described                                    or
                      premises; or                                                      (c) Doors, windows or other open-
                  (2) Originates at the described premises,                                 ings; or
                      but only if such failure involves equip-                   (5) Waterborne material carried or other-
                      ment used to supply the utility ser-                           wise moved by any of the water re-
                      vice to the described premises from a                          ferred to in Paragraph (1), (3) or (4),
                      source away from the described                                 or material carried or otherwise moved
                      premises.                                                      by mudslide or mudflow.
                  Failure of any utility service includes lack                   This   exclusion applies regardless of
                  of sufficient capacity and reduction in                        whether any of the above, in Paragraphs
                  supply.                                                        (1) through (5), is caused by an act of
                  Loss or damage caused by a surge of                            nature or is otherwise caused. An example
                  power is also excluded, if the surge would                     of a situation to which this exclusion ap-
                  not have occurred but for an event caus-                       plies is the situation where a dam, levee,
                  ing a failure of power.                                        seawall or other boundary or containment
                                                                                 system fails in whole or in part, for any rea-
                But if the failure or surge of power, or the                     son, to contain the water.
                failure of communication, water or other
                utility service, results in a Covered Cause                      But if any of the above, in Paragraphs (1)
                of Loss, we will pay for the loss or damage                      through (5), results in fire, explosion or
                caused by that Covered Cause of Loss.                            sprinkler leakage, we will pay for the loss
                                                                                 or damage caused by that fire, explosion
                Communication services include but are                           or sprinkler leakage (if sprinkler leakage is
                not limited to service relating to Internet                      a Covered Cause of Loss).
                access or access to any electronic, cellu-
                lar or satellite network.                                   h.   "Fungus", Wet Rot, Dry Rot And Bacteria
           f.   War And Military Action                                          Presence, growth, proliferation, spread or
                                                                                 any activity of "fungus ", wet or dry rot or
                (1) War, including undeclared or civil war;                      bacteria.
                  (2) Warlike action by a military force, in-                    But if "fungus ", wet or dry rot or bacteria
                      cluding action in hindering or defend-                     result in a "specified cause of loss ", we will
                      ing against an actual or expected                          pay for the loss or damage caused by that
                      attack, by any government, sovereign                       "specified cause of loss ".
                      or other authority using military per-
                      sonnel or other agents; or




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                 This exclusion does not apply:                                  (5) Nesting or infestation, or discharge or
                 (1) When "fungus ", wet or dry rot or bacte-                        release of waste products or secre-
                     ria result from fire or lightning; or                           tions, by insects, birds, rodents or
                                                                                     other animals.
                 (2) To the extent that coverage is pro-
                     vided in the Additional Coverage, Lim-                      (6) Mechanical breakdown, including rup-
                     ited Coverage For "Fungus ", Wet Rot,                           ture or bursting caused by centrifugal
                     Dry Rot And Bacteria, with respect                              force. But if mechanical breakdown re-
                     to loss or damage by a cause of loss                            sults in elevator collision, we will pay
                      other than fire or lightning.                                  for the loss or damage caused by that
                                                                                     elevator collision.
            Exclusions B.1.a. through B.1.h. apply
            whether or not the loss event results in wide-                       (7) The following causes of loss to per-
            spread damage or affects a substantial area.                             sonal property:
       2.   We will not pay for loss or damage caused by                             (a) Dampness            or    dryness     of     at-
            or resulting from any of the following:                                         mosphere;
            a. Artificially generated electrical, magnetic                           (b) Changes        in        or   extremes        of
                 or electromagnetic energy that damages,                                    temperature; or
                 disturbs, disrupts or otherwise interferes                          (c) Marring or scratching.
                with any:
                                                                                 But if an excluded cause of loss that is
                 (1) Electrical or electronic wire, device,                      listed in 2.d.(1) through (7) results in a
                     appliance, system or network; or                            "specified cause of loss" or building glass
                 (2) Device, appliance, system or network                        breakage, we will pay for the loss or dam-
                     utilizing cellular or satellite technology.                 age caused by that "specified cause of
                                                                                 loss" or building glass breakage.
                 For the purpose of this exclusion, electri-
                 cal, magnetic or electromagnetic energy                    e.   Explosion of steam boilers, steam pipes,
                 includes but is not limited to:                                 steam engines or steam turbines owned or
                                                                                 leased by you, or operated under your
                     (a) Electrical current, including arc-                      control. But if explosion of steam boilers,
                         ing;                                                    steam pipes, steam engines or steam tur-
                     (b) Electrical charge produced or                           bines results in fire or combustion explo-
                         conducted by a magnetic or elec-                        sion, we will pay for the loss or damage
                         tromagnetic field;                                      caused by that fire or combustion explo-
                     (c) Pulse of electromagnetic energy;                        sion. We will also pay for loss or damage
                         or                                                      caused by or resulting from the explosion
                                                                                 of gases or fuel within the furnace of any
                     (d) Electromagnetic waves or micro-                         fired vessel or within the flues or passages
                          waves.                                                 through which the gases of combustion
                 But if fire results, we will pay for the loss or                pass.
                 damage caused by that fire.                                f.   Continuous or repeated seepage or leak-
            b.   Delay, loss of use or loss of market.                           age of water, or the presence or conden-
                                                                                 sation of humidity, moisture or vapor, that
            c.   Smoke, vapor or gas from agricultural
                                                                                 occurs over a period of 14 days or more.
                 smudging or industrial operations.
                                                                            g.   Water, other liquids, powder or molten
            d.   (1) Wear and tear;
                                                                                 material that leaks or flows from plumbing,
                 (2) Rust or other corrosion, decay, deteri-                     heating, air conditioning or other equip-
                     oration, hidden or latent defect or any                     ment (except fire protective systems)
                     quality in property that causes it to                       caused by or resulting from freezing,
                     damage or destroy itself;                                   unless:
                 (3) Smog;                                                       (1) You do your best to maintain heat in
                 (4) Settling, cracking, shrinking       or ex-                      the building or structure; or
                     pansion;




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                  (2) You drain the equipment and shut                               (b) To collapse caused by one or
                      off the supply if the heat is not                                  more of the following:
                      maintained.                                                          (i)   The "specified causes of loss";
           h.    Dishonest or criminal act (including theft)                               (ii) Breakage of building glass;
                by you, any of your partners, members,
                officers, managers, employees (includ-                                  (iii) Weight of rain that collects on
                ing temporary employees and leased                                            a roof; or
                workers), directors, trustees or authorized                             (iv) Weight of people or personal
                representatives, whether acting alone or in                                  property.
                collusion with each other or with any other
                                                                            I.   Discharge, dispersal, seepage, migration,
                party; or theft by any person to whom you
                                                                                 release or escape of "pollutants" unless the
                entrust the property for any purpose,
                                                                                 discharge, dispersal, seepage, migration,
                whether acting alone or in collusion with
                                                                                 release or escape is itself caused by any of
                any other party.
                                                                                 the "specified causes of loss ". But if the
                  This exclusion:                                                discharge, dispersal, seepage, migration,
                  (1) Applies whether or not an act oc-                          release or escape of "pollutants" results in
                      curs during your normal hours of                           a "specified cause of loss ", we will pay for
                      operation;                                                 the loss or damage caused by that "speci-
                                                                                 fied cause of loss ".
                  (2) Does not apply to acts of destruction
                      by your employees (including tempo-                        This exclusion does not apply to damage
                      rary employees and leased workers)                         to glass caused by chemicals applied to
                      or authorized representatives; but theft                   the glass.
                      by your employees (including tempo-                   m. Neglect of an insured to use all reasonable
                      rary employees and leased workers)                       means to save and preserve property from
                      or authorized representatives is not                     further damage at and after the time of
                      covered.                                                 loss.
           i.   Voluntary parting with any property by you             3.   We will not pay for loss or damage caused by
                or anyone else to whom you have en-                         or resulting from any of the following, 3.a.
                trusted the property if induced to do so by                 through 3.c. But if an excluded cause of loss
                any fraudulent scheme, trick, device or                     that is listed in 3.a. through 3.c. results in a
                false pretense.                                             Covered Cause of Loss, we will pay for the loss
          J     Rain, snow, ice or sleet to personal prop-                  or damage caused by that Covered Cause of
                erty in the open.                                           Loss.
          k.    Collapse, including any of the following                    a.   Weather conditions. But this exclusion
                conditions of property or any part of the                        only applies if weather conditions con-
                property:                                                        tribute in any way with a cause or event ex-
                                                                                 cluded in Paragraph 1. above to produce
                (1) An abrupt falling down or caving in;
                                                                                 the loss or damage.
                (2) Loss of structural integrity, including                 b.   Acts or decisions, including the failure to
                    separation of parts of the property or                       act or decide, of any person, group, or-
                    property in danger of falling down or                        ganization or governmental body.
                    caving in; or
                                                                            c.   Faulty, inadequate or defective:
                (3) Any cracking, bulging, sagging, bend-
                    ing, leaning, settling, shrinkage or ex-                     (1) Planning, zoning, development, sur-
                    pansion as such condition relates to                             veying, siting;
                    (1) or (2) above.                                            (2) Design, specifications, workmanship,
                But if collapse results in a Covered Cause                           repair, construction, renovation, re-
                of Loss at the described premises, we will                           modeling, grading, compaction;
                pay for the loss or damage caused by that                        (3) Materials used in repair, construction,
                Covered Cause of Loss.                                               renovation or remodeling; or
                This exclusion, k., does not apply:                              (4) Maintenance;
                      (a) To the extent that coverage is pro-                    of part or all of any property on or off the
                          vided under the Additional Cover-                      described premises.
                          age, Collapse; or




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       4.   Special Exclusions                                                (5) Any other consequential loss.
            The following provisions apply only to the                   b.   Leasehold Interest Coverage Form
            specified Coverage Forms:                                         (1) Paragraph B.1.a., Ordinance Or Law,
            a. Business Income (And Extra Expense)                                does not apply to insurance under this
                Coverage Form, Business Income                                    Coverage Form.
                (Without Extra Expense) Coverage                              (2) We will not pay for any loss caused by:
                Form, Or Extra Expense Coverage Form
                                                                                  (a) Your cancelling the lease;
               We will not pay for:
                                                                                  (b) The suspension, lapse or cancel-
               (1) Any loss caused by or resulting from:                              lation of any license; or
                    (a) Damage or destruction        of "fin-                     (c) Any other consequential loss.
                        ished stock "; or
                                                                         c.   Legal Liability Coverage Form
                    (b) The time required to reproduce
                        "finished stock ".                                    (1) The following exclusions do not apply
                                                                                  to insurance under this Coverage
                    This exclusion does not apply to Extra
                                                                                  Form:
                    Expense.
                                                                                  (a) Paragraph B.1.a. Ordinance Or
               (2) Any loss caused by or resulting from
                                                                                      Law;
                   direct physical loss or damage to ra-
                   dio or television antennas (including                          (b) Paragraph B.1.c.        Governmental
                   satellite dishes) and their lead -in wir-                             Action;
                   ing, masts or towers.                                          (c) Paragraph B.1.d. Nuclear Hazard;
               (3) Any increase of loss caused by or re-                          (d) Paragraph B.1.e. Utility Services;
                    sulting from:                                                     and
                    (a) Delay in rebuilding, repairing or re-                     (e) Paragraph B.1.f. War And Military
                        placing the property or resuming                                 Action.
                        "operations ", due to interference
                                                                              (2) The  following additional exclusions
                        at the location of the rebuilding,
                                                                                  apply to insurance under this Cover-
                        repair or replacement by strikers
                                                                                  age Form:
                        or other persons; or
                                                                                  (a) Contractual Liability
                    (b) Suspension, lapse or cancellation
                        of any license, lease or contract.                               We will not defend any claim or
                        But if the suspension, lapse or                                  "suit ", or pay damages that you
                        cancellation is directly caused by                               are legally liable to pay, solely by
                        the "suspension" of "operations ",                               reason of your assumption of lia-
                        we will cover such loss that affects                             bility in a contract or agreement.
                        your Business Income during the                                  But this exclusion does not apply
                        "period of restoration" and any ex-                              to a written lease agreement in
                        tension of the "period of restora-                               which you have assumed liability
                        tion" in accordance with the terms                               for building damage resulting from
                        of the Extended Business Income                                  an actual or attempted burglary or
                        Additional Coverage and the Ex-                                  robbery, provided that:
                        tended Period Of Indemnity Op-                                   (i)   Your assumption of liability
                        tional Coverage or any variation of                                    was executed prior to the
                        these.                                                                 accident; and
               (4) Any Extra Expense caused by or re-                                    (ii) The building is Covered Prop-
                   sulting from suspension, lapse or                                          erty under this Coverage
                   cancellation of any license, lease                                         Form.
                   or contract beyond the "period of
                    restoration ".                                                (b) Nuclear Hazard
                                                                                         We will not defend any claim or
                                                                                         "suit ", or pay any damages, loss,
                                                                                         expense or obligation, resulting
                                                                                         from nuclear reaction or radiation,
                                                                                         or      radioactive  contamination,
                                                                                         however caused.




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        5.       Additional Exclusion                                            d.   Building materials and supplies not at-
                 The following provisions apply only to the                           tached as part of the building or structure,
                 specified property:                                                  caused by or resulting from theft.
                 Loss Or Damage To Products                                           However, this limitation does not apply to:
                 We will not pay for loss or damage to any mer-                       (1)   Building materials and supplies held
                 chandise, goods or other product caused by                                 for sale by you, unless they are in-
                 or resulting from error or omission by any per-                            sured under the Builders Risk Cover-
                 son or entity (including those having posses-                              age Form; or
                 sion under an arrangement where work or a                            (2) Business Income Coverage or Extra
                 portion of the work is outsourced) in any stage                          Expense Coverage.
                 of the development, production or use of the                    e.   Property that is missing, where the only
                 product, including planning, testing, process-                       evidence of the loss or damage is a short-
                 ing, packaging, installation, maintenance or re-                     age disclosed on taking inventory, or other
                 pair. This exclusion applies to any effect that                      instances where there is no physical evi-
                 compromises the form, substance or quality of                        dence to show what happened to the
                 the product. But if such error or omission re-                       property.
                 sults in a Covered Cause of Loss, we will pay
                 for the loss or damage caused by that Covered                   f.   Property that has been transferred to a
                 Cause of Loss.                                                       person or to a place outside the described
                                                                                      premises on the basis of unauthorized
   C.   Limitations                                                                   instructions.
        The following limitations apply to all policy forms
                                                                                 g.   Lawns, trees, shrubs or plants which are
        and endorsements, unless otherwise stated:
                                                                                      part of a vegetated roof, caused by or re-
        1.       We will not pay for loss of or damage to prop-                       sulting from:
                 erty, as described and limited in this section. In                   (1) Dampness or dryness of atmosphere
                 addition, we will not pay for any loss that is a                         or of soil supporting the vegetation;
                 consequence of loss or damage as described
                 and limited in this section.                                         (2) Changes in or extremes of tempera-
                                                                                          ture;
                 a.   Steam boilers, steam pipes, steam engines
                      or steam turbines caused by or resulting                        (3) Disease;
                      from any condition or event inside such                         (4) Frost or hail; or
                      equipment. But we will pay for loss of or
                                                                                      (5) Rain, snow, ice or sleet.
                      damage to such equipment caused by or
                      resulting from an explosion of gases or               2.   We will not pay for loss of or damage to the fol-
                      fuel within the furnace of any fired vessel                lowing types of property unless caused by the
                      or within the flues or passages through                    "specified causes of loss" or building glass
                      which the gases of combustion pass.                        breakage:
                 b.   Hot water boilers or other water heating                   a.   Animals, and then only if they are killed or
                      equipment caused by or resulting from                           their destruction is made necessary.
                      any condition or event inside such boilers                 b.   Fragile articles such as statuary, marbles,
                      or equipment, other than an explosion.                          chinaware and porcelains, if broken. This
                 c.   The interior of any building or structure, or                   restriction does not apply to:
                      to personal property in the building or                         (1) Glass; or
                      structure, caused by or resulting from rain,
                      snow, sleet, ice, sand or dust, whether                         (2) Containers of property held for sale.
                      driven by wind or not, unless:                             c.   Builders' machinery, tools and equipment
                      (1) The building or structure first sustains                    owned by you or entrusted to you, pro-
                          damage by a Covered Cause of Loss                           vided such property is Covered Property.
                          to its roof or walls through which the                      However, this limitation does not apply:
                          rain, snow, sleet, ice, sand or dust                        (1) If the property is located on or within
                          enters; or                                                      100 feet of the described premises,
                      (2) The loss or damage is caused by or                              unless the premises is insured under
                          results from thawing of snow, sleet or                          the Builders Risk Coverage Form; or
                          ice on the building or structure.                           (2) To Business Income Coverage or to
                                                                                          Extra Expense Coverage.




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        3.   The special limit shown for each category, a.                2.   We will pay for direct physical loss or damage
             through d., is the total limit for loss of or dam-                to Covered Property, caused by abrupt col-
             age to all property in that category. The special                 lapse of a building or any part of a building that
             limit applies to any one occurrence of theft, re-                 is insured under this Coverage Form or that
             gardless of the types or number of articles that                  contains Covered Property insured under this
             are lost or damaged in that occurrence. The                       Coverage Form, if such collapse is caused by
             special limits are (unless a higher limit is                      one or more of the following:
             shown in the Declarations):                                       a.   Building decay that is hidden from view,
             a.   $2,500 for furs, fur garments and garments                        unless the presence of such decay is
                  trimmed with fur.                                                 known to an insured prior to collapse;
             b.   $2,500 for jewelry, watches, watch move-                     b.   Insect or vermin damage that is hidden
                  ments, jewels, pearls, precious and semi-                         from view, unless the presence of such
                  precious stones, bullion, gold, silver,                           damage is known to an insured prior to
                  platinum and other precious alloys or                             collapse;
                  metals. This limit does not apply to jewelry                 c.   Use of defective material or methods in
                  and watches worth $100 or less per item.
                                                                                    construction, remodeling or renovation if
             c.   $2,500 for patterns, dies, molds and forms.                       the abrupt collapse occurs during the
             d.   $250 for stamps, tickets, including lottery                       course of the construction, remodeling or
                  tickets held for sale, and letters of credit.                     renovation.
             These special limits are part of, not in addition                 d.   Use of defective material or methods in
             to, the Limit of Insurance applicable to the                           construction, remodeling or renovation
             Covered Property.                                                      if the abrupt collapse occurs after the
                                                                                    construction, remodeling or renovation is
             This limitation, C.3., does not apply to Busi-                         complete, but only if the collapse is
             ness Income Coverage or to Extra Expense                               caused in part by:
             Coverage.
                                                                                    (1) A cause of loss listed in 2.a. or 2.b.;
        4.   We will not pay the cost to repair any defect to
             a system or appliance from which water, other                          (2) One or more of the "specified causes
             liquid, powder or molten material escapes. But                             of loss";
             we will pay the cost to repair or replace dam-                         (3) Breakage of building glass;
             aged parts of fire- extinguishing equipment if                         (4) Weight of people or personal property;
             the damage:                                                                or
             a.   Results in discharge of any substance
                                                                                    (5) Weight of rain that collects on a roof.
                  from an automatic fire protection system;
                  or                                                      3.   This Additional Coverage - Collapse does not
                                                                               apply to:
             b.   Is   directly caused by freezing.
                                                                               a.   A building or any part of a building that is
             However, this limitation does not apply to Busi-                       in danger of falling down or caving in;
             ness Income Coverage or to Extra Expense
             Coverage.                                                         b.   A part of a building that is standing, even if
                                                                                    it has separated from another part of the
   D.   Additional Coverage - Collapse                                              building; or
        The coverage provided under this Additional Cov-                       c.   A building that is standing or any part of a
        erage, Collapse, applies only to an abrupt collapse                         building that is standing, even if it shows
        as described and limited in D.1. through D.7.                               evidence of cracking, bulging, sagging,
        1.   For the purpose of this Additional Coverage,                           bending, leaning, settling, shrinkage or
             Collapse, abrupt collapse means an abrupt                              expansion.
             falling down or caving in of a building or any               4.   With respect to the following property:
             part of a building with the result that the build-
             ing or part of the building cannot be occupied                    a.   Outdoor radio or television antennas (in-
             for its intended purpose.                                              cluding satellite dishes) and their lead -in
                                                                                    wiring, masts or towers;




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               b.      Awnings, gutters and downspouts;                   E.   Additional Coverage - Limited Coverage For
               c.      Yard fixtures;                                          "Fungus", Wet Rot, Dry Rot And Bacteria
               d.      Outdoor swimming pools;                                 1.   The coverage described in E.2. and E.6. only
                                                                                    applies when the "fungus ", wet or dry rot or
               e.      Fences;                                                      bacteria are the result of one or more of the
               f.      Piers, wharves and docks;                                    following causes that occur during the policy
                    Beach or diving           platforms or appur-                   period and only if all reasonable means were
               g.                                                                   used to save and preserve the property from
                    tenances;
                                                                                    further damage at the time of and after that
               h.      Retaining walls; and                                         occurrence:
               i.   Walks,    roadways         and    other     paved               a.   A "specified cause of loss" other than fire
                    surfaces;                                                            or lightning; or
               if an abrupt collapse is caused by a cause of                        b.   Flood, if the Flood Coverage Endorsement
               loss listed in 2.a. through 2.d., we will pay for                         applies to the affected premises.
               loss or damage to that property only if:
                                                                                    This Additional Coverage does not apply to
                       (1) Such loss or damage is a direct result                   lawns, trees, shrubs or plants which are part of
                           of the abrupt collapse of a building in-                 a vegetated roof.
                           sured under this Coverage Form; and
                                                                               2.   We will pay for loss or damage by "fungus ",
                       (2) The  property is Covered           Property              wet or dry rot or bacteria. As used in this Lim-
                           under this Coverage Form.                                ited Coverage, the term loss or damage
      5.       If personal property abruptly falls down or                          means:
               caves in and such collapse is not the result of                      a.   Direct physical loss or damage to Covered
               abrupt collapse of a building, we will pay for                            Property caused by "fungus ", wet or dry
               loss or damage to Covered Property caused                                 rot or bacteria, including the cost of re-
               by such collapse of personal property only if:                            moval of the "fungus", wet or dry rot or
               a.   The collapse of personal property was                                bacteria;
                    caused by a cause of loss listed in 2.a.                        b.   The cost to tear out and replace any part
                    through 2.d.;                                                        of the building or other property as needed
               b.   The personal property which collapses is                             to gain access to the "fungus ", wet or dry
                    inside a building; and                                               rot or bacteria; and
               c.   The property which collapses is not of a                        c.   The cost of testing performed after re-
                    kind listed in 4., regardless of whether that                        moval, repair, replacement or restoration
                    kind of property is considered to be per-                            of the damaged property is completed,
                    sonal property or real property.                                     provided there is a reason to believe that
                                                                                         "fungus ", wet or dry rot or bacteria are
               The coverage stated in this Paragraph 5. does
                                                                                         present.
               not apply to personal property if marring
               and / or scratching is the only damage to that                  3.   The coverage described under E.2. of this Lim-
               personal property caused by the collapse.                            ited Coverage is limited to $15,000. Regardless
                                                                                    of the number of claims, this limit is the most
      6.       This Additional Coverage, Collapse, does not
                                                                                    we will pay for the total of all loss or damage
               apply to personal property that has not
                                                                                    arising out of all occurrences of "specified
               abruptly fallen down or caved in, even if the
                                                                                    causes of loss" (other than fire or lightning)
               personal property shows evidence of cracking,
                                                                                    and Flood which take place in a 12 -month pe-
               bulging, sagging, bending, leaning, settling,
                                                                                    riod (starting with the beginning of the present
               shrinkage or expansion.
                                                                                    annual policy period). With respect to a parti-
      7.       This Additional Coverage, Collapse, will not in-                     cular occurrence of loss which results in "fun-
               crease the Limits of Insurance provided in this                      gus", wet or dry rot or bacteria, we will not pay
               Coverage Part.                                                       more than a total of $15,000 even if the "fun-
      8.       The term Covered Cause of Loss includes the                          gus", wet or dry rot or bacteria continue to
               Additional Coverage, Collapse, as described                           be present or active, or recur, in a later policy
               and limited in D.1. through D.7.                                     period.




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       4.   The coverage provided under this Limited Cov-          F.   Additional Coverage Extensions
            erage does not increase the applicable Limit of             1. Property In Transit
            Insurance on any Covered Property. If a parti-
            cular occurrence results in loss or damage by                    This Extension applies only to your personal
            "fungus ", wet or dry rot or bacteria, and other                 property to which this form applies.
            loss or damage, we will not pay more, for the                    a.   You may extend the insurance provided
            total of all loss or damage, than the applicable                      by this Coverage Part to apply to your per-
            Limit of Insurance on the affected Covered                            sonal property (other than property in the
            Property.                                                             care, custody or control of your salesper-
            If there is covered loss or damage to Covered                         sons) in transit more than 100 feet from the
            Property, not caused by "fungus ", wet or dry                         described premises. Property must be in
            rot or bacteria, loss payment will not be limited                     or on a motor vehicle you own, lease or
            by the terms of this Limited Coverage, except                         operate while between points in the cover-
            to the extent that "fungus", wet or dry rot or                        age territory.
            bacteria cause an increase in the loss. Any                      b.    Loss or damage must be caused by or re-
            such increase in the loss will be subject to the                      sult from one of the following causes of
            terms of this Limited Coverage.                                       loss:
      5.    The terms of this Limited Coverage do not in-                         (1) Fire, lightning, explosion, windstorm
            crease or reduce the coverage provided under                              or hail, riot or civil commotion, or
            Paragraph F.2. (Water Damage, Other Liquids,                              vandalism.
            Powder Or Molten Material Damage) of this
                                                                                  (2) Vehicle collision, upset or overturn.
            Causes Of Loss form or under the Additional
                                                                                      Collision means accidental contact of
            Coverage, Collapse.
                                                                                      your vehicle with another vehicle or
      6.    The following, 6.a. or 6.b., applies only if Busi-                        object. It does not mean your vehicle's
            ness Income and/ or Extra Expense Coverage                                contact with the roadbed.
            applies to the described premises and only if
                                                                                  (3) Theft of an entire bale, case or pack-
            the "suspension" of "operations" satisfies all
                                                                                      age by forced entry into a securely
            terms and conditions of the applicable Busi-
                                                                                      locked body or compartment of the
            ness Income and/ or Extra Expense Coverage
                                                                                      vehicle. There must be visible marks of
            Form:
                                                                                      the forced entry.
            a.   If the loss which resulted in "fungus ", wet
                                                                             c.   The most we will pay for loss or damage
                 or dry rot or bacteria does not in itself
                                                                                  under this Extension is $5,000.
                 necessitate a "suspension" of "operations ",
                 but such "suspension" is necessary due to                   This Coverage Extension is additional insur-
                 loss or damage to property caused by                        ance. The Additional Condition, Coinsurance,
                 "fungus ", wet or dry rot or bacteria, then                 does not apply to this Extension.
                 our payment under Business Income                      2.   Water Damage, Other Liquids, Powder Or
                 and/ or Extra Expense is limited to the                     Molten Material Damage
                 amount of loss and/ or expense sustained
                                                                             If loss or damage caused by or resulting from
                 in a period of not more than 30 days. The
                 days need not be consecutive.                               covered water or other liquid, powder or mol-
                                                                             ten material damage loss occurs, we will also
            b.   If a covered "suspension" of "operations"                   pay the cost to tear out and replace any part of
                 was caused by loss or damage other than                     the building or structure to repair damage to
                 "fungus ", wet or dry rot or bacteria but re-               the system or appliance from which the water
                 mediation of "fungus ", wet or dry rot or                   or other substance escapes. This Coverage
                 bacteria prolongs the "period of restora-                   Extension does not increase the Limit of
                 tion", we will pay for loss and/ or expense                 Insurance.
                 sustained during the delay (regardless of
                 when such a delay occurs during the "pe-               3.   Glass
                 riod of restoration "), but such coverage is                a.   We will pay for expenses incurred to put
                 limited to 30 days. The days need not be                         up temporary plates or board up openings
                 consecutive.                                                     if repair or replacement of damaged glass
                                                                                  is delayed.




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             b.   We will pay for expenses incurred to re-                  c.   Water damage means:
                  move or replace obstructions when repair-                      (1) Accidental discharge or leakage of
                  ing or replacing glass that is part of a
                                                                                     water or steam as the direct result of
                  building. This does not include removing                           the breaking apart or cracking of a
                  or replacing window displays.                                      plumbing, heating, air conditioning or
             This Coverage Extension F.3. does not in-                               other system or appliance (other than
             crease the Limit of Insurance.                                          a sump system including its related
   G.   Definitions                                                                  equipment and parts), that is located
                                                                                     on the described premises and con-
        1.   "Fungus" means any type or form of fungus, in-                          tains water or steam; and
             cluding mold or mildew, and any mycotoxins,
             spores, scents or by- products produced or re-                      (2) Accidental discharge or leakage of
             leased by fungi.                                                        water or waterborne material as the
                                                                                     direct result of the breaking apart or
        2.   "Specified causes of loss" means the following:                         cracking of a water or sewer pipe that
             fire; lightning; explosion; windstorm or hail;                          is located off the described premises
             smoke; aircraft or vehicles; riot or civil commo-                       and is part of a municipal potable
             tion; vandalism; leakage from fire-extinguish-                          water supply system or municipal san-
             ing equipment; sinkhole collapse; volcanic                              itary sewer system, if the breakage or
             action; falling objects; weight of snow, ice or                         cracking is caused by wear and tear.
             sleet; water damage.
                                                                                 But water damage does not include loss or
             a.   Sinkhole collapse means the sudden sink-                       damage otherwise excluded under the
                  ing or collapse of land into underground                       terms of the Water Exclusion. Therefore,
                  empty spaces created by the action of                          for example, there is no coverage under
                  water on limestone or dolomite. This cause                     this policy in the situation in which dis-
                  of loss does not include:                                      charge or leakage of water results from the
                  (1) The cost of filling sinkholes; or                          breaking apart or cracking of a pipe which
                  (2) Sinking or collapse of land into man-                      was caused by or related to weather -
                      made underground cavities.                                 induced flooding, even if wear and tear
                                                                                 contributedto the breakage or cracking. As
             b.   Falling objects does not include loss or                       another example, and also in accordance
                  damage to:                                                     with the terms of the Water Exclusion,
                  (1) Personal property in the open; or                          there is no coverage for loss or damage
                                                                                 caused by or related to weather- induced
                  (2) The interior of a building or structure,
                                                                                 flooding which follows or is exacerbated
                      or property inside a building or struc-
                                                                                 by pipe breakage or cracking attributable
                      ture, unless the roof or an outside wall
                                                                                 to wear and tear.
                      of the building or structure is first dam-
                      aged by a falling object.                                  To the extent that accidental discharge or
                                                                                 leakage of water falls within the criteria set
                                                                                 forth in c.(1) or c.(2) of this definition of
                                                                                 "specified causes of loss," such water is
                                                                                 not subject to the provisions of the Water
                                                                                 Exclusion which preclude coverage for
                                                                                 surface water or water under the surface of
                                                                                 the ground.




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   POLICY NUMBER:         773TA10063                                                               COMMERCIAL PROPERTY
                                                                                                                CP10540607
              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              WINDSTORM OR HAIL EXCLUSION
   This endorsement modifies insurance provided under the following:
        CAUSES OF LOSS - BASIC FORM
        CAUSES OF LOSS - BROAD FORM
        CAUSES OF LOSS - SPECIAL FORM
        STANDARD PROPERTY POLICY

                                                          SCHEDULE

                         Premises Number                                               Building Number
    I                                                           1




    Information required to complete this Schedule, if not shown above, will be shown      in   the Declarations.


   With respect to the location(s) indicated in the Sched-          B.   The terms of the Windstorm Or Hail exclusion, or
   ule, the following provisions apply.                                  the inapplicability of this exclusion to a particular
   A.    The following is added to the Exclusions section                loss, do not serve to create coverage for any loss
         and is therefore not a Covered Cause of Loss:                   that would otherwise be excluded under this
                                                                         policy.
         WINDSTORM OR HAIL
                                                                    C.   Under Additonal Coverage - Collapse, in the
         We will not pay for loss or damage:                             Causes of Loss - Broad Form, Windstorm or Hail is
         1.   Caused directly or indirectly by Windstorm or              deleted from Paragraph 2.a.
              Hail, regardless of any other cause or event          D.    In the Causes Of Loss - Special Form, Windstorm
              that contributes concurrently or in any se-                or Hail is deleted from the "specified causes of
              quence to the loss or damage; or                           loss ".
         2.   Caused by rain, snow, sand or dust, whether           E.   Under Additional Coverage Extensions - Prop-
              driven by wind or not, if that loss or damage              erty In Transit, in the Causes Of Loss - Special
              would not have occurred but for the Wind-                  Form, Windstorm or Hail is deleted from Para-
              storm or Hail.                                             graph b.(1),
              But if Windstorm or Hail results in a cause of
              loss other than rain, snow, sand or dust, and
              that resulting cause of loss is a Covered Cause
              of Loss, we will pay for the loss or damage
              caused by such Covered Cause of Loss. For
              example, if the Windstorm or Hail damages a
              heating system and fire results, the loss or
              damage attributable to the fire is covered sub-
              ject to any other applicable policy provisions.




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   POLICY NUMBER:         7 7   3TÁ10 0   63                                                          COMMERCIAL PROPERTY
                                                                                                                   CP 12 11 09 17

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          BURGLARY AND ROBBERY PROTECTIVE
                                    SAFEGUARDS
   This endorsement modifies insurance provided under the following:

        COMMERCIAL PROPERTY COVERAGE PART

                                                                SCHEDULE

                   Premises                                       Building                         Protective Safeguards
                      No.                                           No.                             Symbols Applicable

                      1                                              1                     BR -1




    Describe any 'BR-4":

    Additional requirements, if any, for engagement of an automatic burglary alarm or other automatic system
    listed in this Schedule (other than the requirements of Paragraph A.2.):


    Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

   A.   The following is added to the Commercial Property                     3.   Actively engage an automatic burglary alarm
        Conditions:                                                                or other automatic system, or parts thereof, in
        Burglary And Robbery Protective Safeguards                                 accordance with any other requirements, if
                                                                                   any, indicated in the Schedule; and
        As a condition of this insurance, you are required
        to:                                                                   4.   Notify us if you know of any suspension of or
                                                                                   impairment in any protective safeguard listed
        1.   Maintain the protective safeguards listed in the                      in the Schedule.
             Schedule, and over which you have control, in
             complete working order;                                               However, notification to us of the suspension
                                                                                   of or impairment in an automatic burglary
        2.   Actively engage any automatic burglary alarm                          alarm or other automatic system listed in the
             or other automatic system listed in the Sched-                        Schedule will not be necessary if you:
             ule and maintain it in the "on" position during
             all non -work hours and whenever the premises                         a.   Can restore full protection within 48 hours
             are unoccupied;                                                            of the suspension or impairment;




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             b.       Provide at least one watchperson or other            2.   "BR-2" Automatic Burglary Alarm, protecting
                      means of surveillance at the premises dur-                the entire building, that has a loud sounding
                      ing all non -work hours and whenever the                  gong or siren on the outside of the building.
                      premises are otherwise unoccupied; and
                                                                           3.   ''BR-3" Security Service, with a recording sys-
             c.       Provide at least one watchperson or other                 tem or watch clock, making hourly rounds cov-
                      means of surveillance during work hours if                ering the entire building, when the premises
                      the Schedule requires that the premises or                are not in actual operation.
                      part thereof be protected during work
                                                                           4.   "BR -4" The protective safeguard described in
                      hours.
                                                                                the Schedule.
   B.   The following is added to the Exclusions section of
        the Causes Of Loss - Special Form:
        Burglary And Robbery Protective Safeguards
        We will not pay for loss or damage caused by or
        resulting from theft if, prior to the theft, you failed to
        comply with any condition set forth in Paragraph A.
   C.   The protective safeguards to which this endorse-
        ment applies are identified by the following
        symbols:
        1.   "BR-1" Automatic Burglary Alarm, protecting
             the entire building, that signals to:
             a.       An outside central station; or
             b.       A police station.




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                                                                                                 COMMERCIAL PROPERTY
                                                                                                        CP 14     70    06       07



              THIS ENDORSEMENT CHANGES THE POLICY.                         PLEASE READ IT CAREFULLY.

                                 BUILDING GLASS               -   TENANT'S POLICY
    This endorsement modifies insurance provided under the follow ing:


          BUILDING AND PERSONAL PROPERTY COVERAGE FORM
          STANDARD PROPERTY POLICY




                                              SCHEDULE
     Location Of Building:                   15450 New Barn Road, Miami Lakes, FL 32014

     Description Of Building Glass:          Building Glass

     Causes Of Loss Form:               Special
     (And Related Endorsements, If Any)



     Limit Of Insurance:                     $5,000



     Information required to complete this Schedule, if not shown above, will be shown   in   the Declarations.




    A. Under this endorsement, building glass means                C.       The value of property covered under
       the building glass described in the Schedule.                        this endorsement will be determined in
    B.   We will pay for direct physical loss of or                         accordance w ith the Valuation
         damage to building glass at the building                           Condition aplicable under this Coverage
         shown in the Schedule caused by or resulting                       Form or Policy, or at the amount for
         from a Covered Cause of Loss shown in the                          w hich you are liable under contract,
         Schedule, provided that:                                           w hichever is less. If required by law,
                                                                            glass covered at the cost of
         1.     You are a tenant of the building shown                      replacement w ith safety glazing
                in the Schedule; and                                        material. However, the most we will
         2.    You have a contractual responsibility to                     pay for the coverage provided under
                insure the building glass, or a                             this endorsement is the Limit of
                contractual responsibility to pay for                       Insurance shown in the Schedule.
                loss or damage to that property.




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Policy Number: 773TA10063
                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              PROPERTY EXTENSION ENDORSEMENT - SPECIAL FORM

                                  This endorsement modifies insurance provided under the following:

                                    BUILDING AND PERSONAL PROPERTY COVERAGE FORM
                                              CAUSES OF LOSS - SPECIAL FORM

 Premium Charge:        $ 2 o o
                                                            SCHEDULE

            COVERAGES                                                                  LIMIT OF INSURANCE
            Limited Equipment Breakdown                                            $    25,000
            Computer Equipment                                                     $    25,000

            Accounts Receivables                                                  $     25,000

            Outdoor Signs                                                         $     25,000
            Spoilage                                                              $     25,000
            Valuable Papers                                                       $     25,000
            Money And Securities                                                  $     15,000
            Water Backup or Overflow of Sewers And Drains                         $     5,000
            Employee Dishonesty                                                   $     15,000

            With respect to this endorsement, the following Deductible provision applies:

            The deductible for Limited Equipment Breakdown is $500 per occurrence. The deductible per
            occurrence for all other coverages in the schedule of this endorsement is $500 per coverage
            subject to a maximum of $1,000 in any one occurrence for all other coverages other than Limited
            Equipment Breakdown. We will not pay for loss or damage in any one occurrence until the
            amount of loss or damage exceeds the Deductible. We will then pay the amount of loss or
            damage in excess of that Deductible, up to the applicable Limit of Insurance provided by this
            endorsement. No other deductible in this policy applies to the coverage provided by this
            endorsement.




           The following is added as an Additional Coverage to the CAUSES OF LOSS -SPECIAL FORM:

           Additional Coverage- Limited Equipment Breakdown

                 The term Covered Cause of Loss includes the Additional Coverage Limited Equipment
                 Breakdown as described and limited below.




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 1.   We will pay for direct physical damage to Covered Property that is the direct result of an "accident"
      The "accident" must occur on the premises described in the Declarations not withstanding any
      other provision in the policy.

 2.   The following coverages also apply to the direct result of an "accident." These coverages do not
      provide additional amounts of insurance.

      a.   Expediting Expenses

           With respect to your damaged Covered Property, we will pay the reasonable extra cost to:

           (1) Make temporary repairs; and

           (2) Expedite permanent repairs or permanent replacement.

      b.   Hazardous Substances

           We will pay for the additional cost to repair or replace Covered Property because of
           contamination by a "hazardous substance." This includes the additional expenses to clean up
           or dispose of such property.

           As used in this coverage, additional costs means those beyond what would have been
           payable under this Limited Equipment Breakdown Coverage had no "hazardous substance"
           been involved.

 3.   Exclusions

      All exclusions in the CAUSES OF LOSS -SPECIAL FORM apply except as modified below and to
      the extent that coverage is specifically provided by this Additional Coverage- Limited Equipment
      Breakdown.

      a.   The exclusions are modified as follows:

           As respects this Additional Coverage only, the last paragraph of Exclusion B.2.d. is replaced
           by:
           But if an excluded cause of loss that is listed in 2.d.(1) through (7) results in an "accident," we
           will pay for the loss, damage or expense caused by that "accident."

      b.   We will not pay under this Additional Coverage for loss, damage or expense caused by or
           resulting from:

           (1) Any defect, programming error, programming limitation, computer virus, malicious code,
               loss of "data," loss of access, loss of use, loss of functionality or other condition within or
               involving "data" or "media" of any kind. But if an "accident" results, we will pay for the
               resulting loss, damage or expense;

           (2) Any of the following tests:

               A hydrostatic, pneumatic or gas pressure test of any boiler or pressure vessel, or an
               electrical insulation breakdown test of any type of electrical equipment;

           (3) Change in temperature, humidity or pressure, whether or not resulting from an "accident";
               or

           (4) Contamination by a refrigerant resulting from an "accident."

      c.   We will not pay under this Additional Coverage for any loss or damage to animals, land (in-
           cluding land on which the property is located) or lawns.

      d.   With respect to Business Income and Extra Expense coverages, we will also not pay for:




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         (1) Loss caused by your failure to use due diligence and dispatch and all reasonable means to
             resume business; or

         (2) Any increase in loss resulting from an agreement between you and your customer or
              supplier.

The following conditions are in addition to Section E. Loss Conditions in the BUILDING AND
PERSONAL PROPERTY COVERAGE FORM and the Common Policy Conditions.

         a.   Suspension

         Whenever "covered equipment" is found to be in, or exposed to, a dangerous condition, any of
         our representatives may immediately suspend the insurance against loss from an "accident" to
         that "covered equipment." This can be done by mailing or delivering a written notice of
         suspension to:

         (1) Your last known address; or

         (2) The address where the "covered equipment" is located.

         Once suspended in this way, your insurance can be reinstated only by an endorsement for that
         "covered equipment." If we suspend your insurance, you will get a pro rata refund of premium for
         that "covered equipment" for the period of suspension. But the suspension will be effective even if
         we have not yet made or offered a refund.

         b.   Jurisdictional Inspections

              If any property that is "covered equipment" under this Additional Coverage requires
              inspection to comply with state or municipal boiler and pressure vessel regulations, we agree
              to perform such inspection on your behalf. We do not warrant that conditions are safe or
              healthful.

         The most we will pay for loss, damage or expense under this Additional Coverage arising from
         any "one accident" is as shown on the schedule limit. Coverage provided under this Additional
         Coverage does not provide an additional amount of insurance.

         If there is other coverage endorsed to this policy for the same loss, damage or expense, this
         Additional Coverage will pay only for the amount of covered loss, damage or expense in excess
         of the amount provided by the other coverage.

The following extensions are added to the BUILDING AND PERSONAL PROPERTY COVERAGE FORM,
Section A. Coverage, paragraph 5. Coverage Extensions:

    1.   Accounts Receivable

         You may extend the insurance that applies to Your Business Personal Property to:

         a.   All amounts due from your customers that you are unable to collect;

         b.   Interest charges on any loan required to offset amounts you are unable to collect pending our
              payment of these amounts;

         c.   Collection expenses in excess of your normal collection expenses that are made necessary
              by the loss or damage; and

         d.   Other reasonable expenses that you incur to re- establish your Records of Accounts
              Receivable;

         that result from loss or damage to your Records of Accounts Receivable.

         The most we will pay under this Extension is as shown on the schedule limit at each described
         premises.




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2.   Computer Equipment

     a.   You may extend the insurance that applies to Your Business Personal Property to apply to:

          (1) Computer equipment and related component parts that are:

                (a) Your property; or

                (b) The property of others that is in your care, custody or control;

          (2) Your instructional material and prepackaged software programs purchased for use with your
              computer system; or

          (3) Your blank electronic or magnetic media.

     b.   The following CAUSES OF LOSS -SPECIAL FORM Exclusions do not apply to this
          Extension:

          (1) Exclusion 1.e. Utility Services;

          (2) Exclusion 2.a. (Artificially generated electric current);

          (3) Exclusion 2.d.(6) (Mechanical breakdown); or

          (4) Exclusion 2.d.(7) (Dampness or dryness of atmosphere, changes in or extremes of temperature
              and marring or scratching).

     c.   The most we will pay for loss or damage under this Extension is as shown on the schedule limit at each
          described premises.

          If there is other coverage endorsed to this policy for the same loss, damage or expense, this Additional
          Coverage will pay only for the amount of covered loss, damage or expense in excess of the amount
          provided by the other coverage.

3.   Money And Securities -Inside The Premises And Outside The Premises

     You may extend the insurance that applies to Your Business Personal Property to the loss of "money" and
     "securities" resulting from "theft," disappearance or destruction.

     The most we will pay under this Extension is as shown on the schedule limit in any one policy year,
     regardless of the number of occurrences of loss or the number of premises.

4.   Outdoor Signs

     The second paragraph of Section C. Limits Of Insurance of the BUILDING AND PERSONAL PROPERTY
     COVERAGE FORM is replaced by:

     The most we will pay for loss or damage to outdoor signs, whether or not the sign is attached to a building, is
     as shown on the schedule limit per sign in any one occurrence.

5.   Spoilage Coverage

     You may extend the insurance that applies to Your Business Personal Property for Covered Causes of Loss
     shown in the Declarations, but only with respect to coverage provided by this
     endorsement.

     a.   Paragraph 1. Covered Property of Section A. Coverage is replaced by the following:

          Covered Property

          Covered Property means "perishable stock" at the premises described in the Declarations owned by you
          or by others that is in your care, custody or control.




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   b.    The following is added to paragraph 2. Property Not Covered of Section A. Coverage:

         Covered Property does not include property located:

         (1) On buildings;

         (2) In the open; or

         (3) In vehicles.

   c.    Paragraphs A.5. Coverage Extensions are deleted       in   their entirety.

   cl.   Paragraph B. Exclusions and Limitations is replaced by:

         (1) Only the following Exclusions contained in paragraph B.1. of the CAUSES OF LOSS
             FORM -SPECIAL FORM apply to Spoilage Coverage:

              (a) Exclusion b. Earth Movement;

              (b) Exclusion c. Government Action;

              (c) Exclusion d. Nuclear Hazard;

              (d) Exclusion f. War and Military Action; or

              (e) Exclusion g. Water;

         (2) The following Exclusions are added:

              We will not pay for loss or damage caused directly or indirectly by any of the following. Such
              loss or damage is excluded regardless of any other cause or event that contributes
              concurrently or in any sequence to the loss:

              (a) The disconnection of any refrigerating, cooling, or humidity control system from its source
                    of power.

              (b) The deactivation of electrical power caused by the manipulation of any switch or
                  other device used to control the flow of electrical power or current.

              (c) The inability of an Electrical Utility Company or other power source to provide sufficient
                  power due to:

                    (i)   Lack of fuel; or

                    (ii) Governmental order.

              (d) The inability of a power source at the described premises to provide sufficient power due
                  to lack of generating capacity to meet demand.

              (e) Breaking of any glass that is a permanent part of any refrigerating, cooling or humidity
                  control unit.

         e.   Paragraph G. Optional Coverages is deleted in its entirety.

         f.   Paragraph A. Covered Causes of Loss of CAUSES OF LOSS -SPECIAL FORM is replaced
              by:

              A.    Covered Causes of Loss
                    When Special is shown in the Declarations, Covered Causes of Loss means:

                    1.    Breakdown or Contamination by:




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                a.   Change in temperature or humidity resulting from mechanical breakdown or failure of
                     refrigerating, cooling or humidity control apparatus or equipment, but only while such
                     equipment or apparatus is at the premises described in the Declarations; and

                b.   Contamination by the refrigerant.

           2.   Power Outage, meaning a change in temperature or humidity resulting from complete or
                partial interruption of electrical power, either on or off the premises described in the
                Declarations, due to conditions beyond your control.

      The most we will pay for any one occurrence is as shown on the schedule limit per described
      premises.

      Ifthere is other coverage endorsed to this policy for the same loss or damage, this Additional
      Coverage will pay only for the amount of covered loss or damage in excess of the amount provided
      by the other coverage.

 6.   Valuable Papers And Records (Other Than Electronic Data)

      Paragraph (4) of 5.c. Valuable Papers and Records (Other Than Electronic Data) of the
      BUILDING AND PERSONAL PROPERTY COVERAGE FORM, Coverage Extension of Sec-
      tion A. Coverage is replaced by the following:

      (4) Copy the records. The costs of blank material and labor are subject to the applicable
          Limit of Insurance on Your Business Personal Property and therefore coverage on such costs is
          not additional insurance.

      Under this extension, the most we will pay to replace or restore the lost information is as shown on
      the schedule limit at each described premises, unless a higher limit is shown in the Declarations.
      Such amount is additional insurance. We will also pay for the cost of blank ma-terial for reproducing
      the records (whether or not duplicates exist), and (when there is a du-plicate) for the cost of labor to
      transcribe; or

      7.   Water Backup Or Overflow Of Sewers And Drains

           a.   We will pay for direct physical loss or damage to Covered Property caused by or resulting
                from water that backs up or overflows or is otherwise discharged from a sewer, drain, sump
                or sump pump.

                The most we will pay for this extension is as shown on the schedule limit at each described
                premises.

           b.   Under the CAUSES OF LOSS -SPECIAL FORM, subsection B. Exclusions, para-
                graph g.(3) (Water that backs up or overflows from a sewer, drain or sump) is deleted for
                the purposes of this extension only.

      8.   Employee Dishonesty

           a.   We will pay for direct loss of or damage to Business Personal Property and "money" and
                "securities" resulting from dishonest acts committed by any of your employees acting alone
                or in collusion with other persons (except you or your partner) with the manifest intent to:

                (1) Cause you to sustain loss or damage; and also

                (2) Obtain financial benefit (other than salaries, commissions, fees, bonuses, promotions,
                    awards, profit sharing, pensions or other employee benefits earned in the normal
                     course of employment) for:

                     (a) Any employee; or




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                    (b) Any other person or organization.

            b.      We will not pay for loss or damage:

                    (1) Resulting from any dishonest or criminal act that you or any of your partners
                        or "members" commit whether acting alone or in collusion with other
                        persons.

                    (2) Resulting from any dishonest act committed by any of your employees
                        (except as pro -vided in paragraph a.), "managers" or directors:

                        (a) Whether acting alone or in collusion with other persons; or

                        (b) While performing services for you or otherwise.

                    (3) The only proof of which as to its existence or amount is:

                        (a) An inventory computation; or

                        (b) A profit and loss computation.

            c.      The most we will pay for loss or damage in any one occurrence under this
                    extension is as shown on the schedule limit at each described premises.

            d.      All loss or damage:

                    (1) Caused by one or more persons; or

                    (2) Involving a single act or series of acts;
                        is considered one occurrence.

            e.      This extension of coverage is canceled as to any employee immediately upon
                    discovery by:

                    (1) You; or

                    (2) Any of your partners, "members," "managers," officers or directors not in
                        collusion with the employee;

                    of any dishonest act committed by that employee before or after being hired by
                    you.

            f.      We will pay only for covered loss or damage sustained during the policy period
                    and discovered by you during the policy period shown in the Declarations.

            g.      With respect to this Employee Dishonesty extension of coverage, employee
                    means:

                    (1) Any natural person:

                        (a) While in your service or for thirty (30) days after termination of service;

                        (b) Who you compensate directly by salary, wages or commissions; and

                        (c) Who you have the right to direct and control while performing services for
                            you;

                    (2) Any natural person who is furnished temporarily to you:

                        (a) To substitute for a permanent employee as defined in paragraph (1)
                            above, who is on leave; or

                        (b) To meet seasonal or short-term workload conditions;

                    (3) Any natural person who is leased to you under a written agreement between
                        you and a labor leasing firm, to perform duties related to the conduct of your
                        business, but does not mean a temporary employee as defined in paragraph
                        (2) above;
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         (4) Any natural person who is a former employee, director, partner, member, manager, rep
             resentative or trustee retained as a consultant while performing services for you; or

         (5) Any natural person who is a guest student or intern pursuing studies or duties, excluding,
             however, any such person while having care and custody of property outside any building you
             occupy in conducting your business.

         But employee does not mean:

         (1) Any agent, broker, factor, commission merchant, consignee, independent contractor or
             representative of the same general character; or

         (2) Any "manager," director or trustee except while performing acts coming within the usual duties
             of an employee.

    h.   Under the CAUSES OF LOSS -SPECIAL FORM, subsection B. Exclusions, paragraph 2.h. is
         deleted in its entirety for the purposes of this extension only.

For the purpose of this endorsement only, the following definitions are added to the G. DEFINITIONS
section of the CAUSES OF LOSS -SPECIAL FORM and the H. DEFINITIONS section of the BUILDING
AND PERSONAL PROPERTY COVERAGE FORM:

    1.   "Accident" means a fortuitous event that causes direct physical damage to "covered equipment."
         The event must be one of the following:

         a.   Mechanical breakdown, including rupture or bursting caused by centrifugal force;

         b.   Artificially generated electrical current, including electric arcing, that disturbs electrical
              de- vices, appliances or wires;

         c.   Explosion of steam boilers, steam pipes, steam engines or steam turbines owned or leased by
              you, or operated under your control;

         d.   Loss or damage to steam boilers, steam pipes, steam engines or steam turbines caused by or
              resulting from any condition or event inside such equipment; or

         e.   Loss or damage to hot water boilers or other water heating equipment caused by or resulting
              from any condition or event inside such boilers or equipment.

    2.   "Covered Equipment"

         a.   "Covered equipment" means Covered Property:

              (1) That generates, transmits or utilizes energy, including electronic communications and
                    data processing equipment; or

              (2) Which, during normal usage, operates under vacuum or pressure, other than the weight of
                  its contents.

         b.   None of the following is "covered equipment":

              (1) Structure, foundation, cabinet, compartment or air supported structure or building;

              (2) Insulating or refractory material;

              (3) Sewer piping, underground vessels or piping, or piping forming a part of a sprinkler
                    system;

              (4) Water piping other than boiler feedwater piping, boiler condensate return piping or water
                  piping forming a part of a refrigerating or air conditioning system;

              (5) "Vehicle" or any equipment mounted on a "vehicle ";




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                    (6) Satellite, spacecraft or any equipment mounted on a satellite or spacecraft;

                    (7) Dragline, excavation or construction equipment;

                    (8) Equipment manufactured by you for sale; or

                    (9) Electronic data processing equipment, unless used to control or operate "covered
                        equipment." Electronic Data Processing Equipment includes programmable electronic equipment that is
                        used to store, retrieve and process data; and associated peripheral equipment.

        3.   "Data" means information or instructions stored in digital code capable of being processed by machinery.

        4.   "Hazardous substance" means any substance that            is   hazardous to health or has been declared to be hazardous
             to health by a governmental agency.

        5.   "Manager" means a person serving       in a   directorial capacity for   a   limited liability company.

        6.   "Member" means an owner of a limited liability company represented by its membership interest, who also may
             serve as a "manager."

        7.   "Media" means material on which "data" is recorded, such as magnetic tapes, hard disks, optical disks or floppy
             disks.

        8.   "Money" means:

             a.     Currency, coins and bank notes in current use and having          a   face value; and

             b.     Traveler's checks, registered checks and money orders held for sale to the public.

        9.   "One accident" means: If an initial "accident" causes other "accidents," all will be considered "one accident." All
             "accidents" that are the result of the same event will be considered "one accident."

        10. "Perishable Stock" means personal property:

             a.     Maintained under temperature -controlled conditions for its preservation; and

             b.     Susceptible to loss or damage if changes in or extremes of temperature result.

        11. "Securities" means negotiable and nonnegotiable instruments or contracts representing either "money" or other
            property and includes:

             a.     Tokens, tickets revenue and other stamps (whether represented by actual stamps or unused value in              a
                    meter) in current use; and

             b.     Evidences of debt issued in connection with credit or charge cards, which cards are not is -sued by you;
                    but does not include "money."

        12. "Theft" means the unlawful taking of "money" and "securities" to the deprivation of the insured.

        13. "Vehicle" means, as respects this Additional Coverage only, any machine or apparatus that is used for
            transportation or moves under its own power. 'Vehicle" includes, but is not limited to, car, truck, bus, trailer, train,
            aircraft, watercraft, forklift, bulldozer, tractor or harvester.


        However, any property that is stationary, permanently installed at a covered location and that receives electrical
        power from an external power source will not be considered a "vehicle."




                                                                            AUTHORIZED REPRESENTATIVE                  DATE   07/03/2019




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                                          This certificate prepared by:

                    SCU - A Division of CRC Insurance Services Inc.
                                               Clearwater, Florida




  The Assured is requested to read this certificate                  This certificate cannot be cancelled flat.
  and if it is incorrect, advise immediately for                     Earned premium must be paid for the
  alteration.                                                        time the insurance has been in force.
                                                                                               USU1 (04/09)
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                                                                                                 COMMERCIAL PROPERTY
                                                                                                              CP01250212

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                             FLORIDA CHANGES
   This endorsement modifies insurance provided under the following:

        COMMERCIAL PROPERTY COVERAGE PART

   A.   When this endorsement is attached to Standard                    When loss or damage to exterior paint or water-
        Property Policy CP 00 99, the term Coverage Part                 proofing material is excluded, we will not include
        in this endorsement is replaced by the term Policy.              the value of paint or waterproofing material to
   B.   The following provision applies when a Coinsur-                  determine:
        ance percentage is shown in the Declarations:                        a.   The amount of the Windstorm or Hail De-
        Florida law states as follows:                                            ductible; or
        Coinsurance contract: The rate charged in this pol-                  b.   The value of Covered Property when ap-
        icy is based upon the use of the coinsurance                              plying the Coinsurance Condition.
        clause attached to this policy, with the consent of         D.   The Loss Payment Condition dealing with the
        the Insured.                                                     number of days within which we must pay for cov-
   C.   The following is added:                                          ered loss or damage is replaced by the following:

        If windstorm is a Covered Cause of Loss and loss                 Provided you have complied with all the terms of
        or damage to Covered Property is caused by or re-                this Coverage Part, we will pay for covered loss or
        sults from windstorm, the following exclusion ap-                damage upon the earliest of the following:
        plies in:                                                                 (1) Within 20 days after we receive the
        1.   Broward County;                                                          sworn proof of loss and reach written
                                                                                      agreement with you;
        2.   Dade County;
                                                                                  (2) Within 30 days after we receive the
        3.   Martin County;                                                           sworn proof of loss and:
        4.   Monroe County;                                                           (a) There is an entry of a final judg-
        5.   Palm Beach County; and                                                       ment; or
        6.   All the areas east of the west bank of the Intra-                        (b) There is a filing of an appraisal
             coastal Waterway in the counties of:                                         award with us; or
             a.   Indian River; and                                               (3) Within 90 days of receiving notice of
                                                                                      an initial, reopened or supplemental
             b.   St. Lucie.
                                                                                      claim, unless we deny the claim during
        Windstorm Exterior Paint And Waterproofing                                    that time or factors beyond our control
        Exclusion                                                                     reasonably prevent such payment. If a
        We will not pay for loss or damage caused by                                  portion of the claim is denied, then the
        windstorm to:                                                                 90-day time period for payment of
                                                                                      claim relates to the portion of the claim
        1.   Paint; or
                                                                                      that is not denied.
        2.   Waterproofing material;
                                                                                      Paragraph (3) applies only to the
        applied to the exterior of buildings unless the build-                        following:
        ing to which such loss or damage occurs also sus-
                                                                                      (a) A claim under a policy covering
        tains other loss or damage by windstorm in the
                                                                                          residential property;
        course of the same storm event. But such cover-
        age applies only if windstorm is a Covered Cause                              (b) A claim for building or contents
        of Loss.                                                                          coverage if the insured structure is
                                                                                          10,000 square feet or less and the
                                                                                          policy covers only locations in
                                                                                          Florida; or




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                         (c) A claim for contents coverage                 Catastrophic Ground Cover Collapse
                             under a tenant's policy if the                We will pay for direct physical loss or damage to
                             rented   premises are        10,000           Covered Property caused by or resulting from
                             square feet or less and the policy            catastrophic ground cover collapse, meaning geo-
                             covers only locations in Florida.             logical activity that results in all of the following:
   E.   Sinkhole Collapse Coverage Removed                                 1. The abrupt collapse of the ground cover;
        Sinkhole Collapse coverage is removed, as indi-                    2.   A depression in the ground        cover clearly
        cated in Paragraphs E.1. through EA.; and cover-                        visible to the naked eye;
        age for Catastrophic Ground Cover Collapse is
        added instead as set forth in Paragraph F.                         3.   "Structural damage" to the building, including
                                                                                the foundation; and
        1.       In the Causes Of Loss - Basic Form and in the
                 Standard Property Policy, Sinkhole Collapse is            4.   The insured structure being condemned and
                 deleted from the Covered Causes of Loss and                    ordered to be vacated by the governmental
                 sinkhole collapse is no longer an exception to                 agency authorized by law to issue such an
                 the Earth Movement Exclusion.                                  order for that structure.
        2.       In the Causes Of Loss - Broad Form, Sinkhole              However, damage consisting merely of the settling
                 Collapse is deleted from the Covered Causes               or cracking of a foundation, structure or building
                 of Loss and from the Additional Coverage -                does not constitute loss or damage resulting from
                 Collapse; and sinkhole collapse is no longer an           a catastrophic ground cover collapse.
                 exception to the Earth Movement Exclusion.                The Earth Movement Exclusion and the Collapse
        3.       In the Causes Of Loss - Special Form, Sinkhole            Exclusion do not apply to coverage for Cata-
                 Collapse is deleted from the "specified causes            strophic Ground Cover Collapse.
                 of loss" and is no longer an exception to the             Coverage for Catastrophic Ground Cover Collapse
                 Earth Movement Exclusion.                                 does not increase the applicable Limit of Insur-
        4.       In the Mortgageholders Errors And Omissions               ance. Regardless of whether loss or damage attrib-
                 Coverage Form, Sinkhole Collapse is deleted               utable to catastrophic ground cover collapse also
                 from the Covered Causes of Loss under Cov-                qualifies as Sinkhole Loss or Earthquake (if either
                 erage B and from the "specified causes of                 or both of those causes of loss are covered under
                 loss ", and is no longer an exception to the              this Coverage Part), only one Limit of Insurance will
                 Earth Movement Exclusion.                                 apply to such loss or damage.
        Further, this Coverage Part does not insure against           G.   The following applies to the Additional Coverage -
        Sinkhole Loss as defined in Florida law unless                     Civil Authority under the Business Income (And
        an endorsement for Sinkhole Loss is made part of                   Extra Expense) Coverage Form, Business Income
        this policy. However, if Sinkhole Loss causes Cata-                (Without Extra Expense) Coverage Form and Extra
        strophic Ground Cover Collapse, coverage is pro-                   Expense Coverage Form:
        vided for the resulting Catastrophic Ground Cover                  1.   The Additional Coverage - Civil Authority in-
        Collapse even if an endorsement for Sinkhole Loss                       cludes a requirement that the described prem-
        is not made part of this policy.                                        ises are not more than one mile from the
   F.   The following is added to this Coverage Part as a                       damaged property. With respect to described
        Covered Cause of Loss. In the Causes Of Loss -                          premises located in Florida, such one-mile
        Special Form and Mortgageholders Errors And                             radius does not apply.
        Omissions Coverage Form, the following is also                     2.   The Additional Coverage - Civil Authority is
        added as a "specified cause of loss ". However, as a                    limited to a coverage period of up to four
        "specified cause of loss ", the following does not ap-                  weeks. With respect to described premises
        ply to the Additional Coverage - Collapse.                              located in Florida, such four-week period is re-
                                                                                placed by a three -week period.
                                                                           3.   Civil Authority coverage is subject to all other
                                                                                provisions of that Additional Coverage.




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    H.   The following provisions are added to the Duties In           2.    Foundation displacement or deflection in ex-
         The Event Of Loss Or Damage Loss Condition:                        cess of acceptable variances as defined in
                   (1) A claim, supplemental claim or re-                   ACI 318 -95 or the Florida Building Code, which
                       opened claim for loss or damage                      results in settlement related damage to the pri-
                       caused by hurricane or other wind-                   mary structural members or primary structural
                       storm is barred unless notice of claim               systems that prevents those members or sys-
                       is given to us in accordance with the                tems from supporting the loads and forces
                       terms of this policy within three years              they were designed to support to the extent
                       after the hurricane first made landfall              that stresses in those primary structural mem-
                       or a windstorm other than hurricane                  bers or primary structural systems exceed one
                       caused the covered damage. (Sup-                     and one-third the nominal strength allowed
                       plemental claim or reopened claim                    under the Florida Building Code for new build-
                       means an additional claim for recovery               ings of similar structure, purpose, or location;
                       from us for losses from the same hurri-         3.   Damage that results in listing, leaning, or
                       cane or other windstorm which we                     buckling of the exterior load bearing walls or
                       have previously adjusted pursuant to                 other vertical primary structural members to
                       the initial claim.)                                  such an extent that a plumb line passing
                      This   provision concerning time for                  through the center of gravity does not fall in-
                      submission of claim, supplemental                     side the middle one-third of the base as de-
                      claim or reopened claim does not af-                  fined within the Florida Building Code;
                      fect any limitation for legal action             4.   Damage that results in the building, or any
                      against us as provided in this policy                 portion of the building containing primary
                      under the Legal Action Against Us                     structural members or primary structural sys-
                      Condition, including any amendment                    tems, being significantly likely to imminently
                      to that condition.                                    collapse because of the movement or instabil-
                  (2) Any inspection or survey by us, or on                 ity of the ground within the influence zone of
                      our behalf, of property that is the sub-              the supporting ground within the sheer plane
                      ject of a claim, will be conducted with               necessary for the purpose of supporting such
                      at least 48 hours' notice to you. The                 building as defined within the Florida Building
                      48 -hour notice may be waived by you.                 Code; or
   I.    The following definition of structural damage is              5.   Damage occurring on or after October 15,
         added with respect to the coverage provided                        2005, that qualifies as substantial structural
         under this endorsement:                                            damage as defined in the Florida Building
                                                                            Code.
         "Structural damage" means a covered building, re-
         gardless of the date of its construction, has experi-
         enced the following.
         1.   Interior floor displacement or deflection in ex-
              cess of acceptable variances as defined in
              ACI 117 -90 or the Florida Building Code, which
              results in settlement related damage to the in-
              terior such that the interior building struc-
              ture or members become unfit for service or
              represent a safety hazard as defined within the
              Florida Building Code;




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                                                                                               IL 01 75 07 02

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               FLORIDA CHANGES      -   LEGAL ACTION AGAINST US




   This endorsement modifies insurance provided under the following:

       BOILER AND MACHINERY COVERAGE PART
       CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
       COMMERCIAL INLAND MARINE COVERAGE PART
       COMMERCIAL PROPERTY COVERAGE PART
       FARM COVERAGE PART


   The following replaces the second paragraph of the Legal Action Against Us condition:
   LEGAL ACTION AGAINST US
   Legal action against us involving direct physical loss or damage to property must be brought within   5       years
   from the date the loss occurs.




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                                                 INSURED
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                                                                                                         IL 02 55 03 16


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         FLORIDA CHANGES - CANCELLATION
                                AND NONRENEWAL
   This endorsement modifies insurance provided under the following:

      CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
      COMMERCIAL INLAND MARINE COVERAGE PART
      COMMERCIAL PROPERTY COVERAGE PART
      CRIME AND FIDELITY COVERAGE PART
      EQUIPMENT BREAKDOWN COVERAGE PART
      FARM COVERAGE PART
      STANDARD PROPERTY POLICY


   A. Paragraph 2. of the Cancellation Common Policy                     (2) Solely on the basis of a single property
      Condition is replaced by the following:                                insurance claim which is the result of
      2.   Cancellation For Policies In Effect 90 Days                       water    damage,    unless    we     can
           Or Less                                                           demonstrate that you have failed to take
                                                                             action reasonably requested by us to
           a. If this policy has been in effect for 90 days
                                                                             prevent a future similar occurrence of
              or less, we may cancel this policy by                          damage to the insured property.
              mailing or delivering to the first Named
                                                                B. Paragraph 5. of the Cancellation Common Policy
              Insured written notice of cancellation,
              accompanied by the specific reasons for              Condition is replaced by the following:
              cancellation, at least:                              5. If this policy is cancelled, we will send the first
             (1) 10 days before the effective date of                 Named Insured any premium refund due. If we
                 cancellation if   we    cancel    for                cancel, the refund will be pro rata. If the first
                 nonpayment of premium; or                            Named Insured cancels, the refund may be
                                                                      less than pro rata. If the return premium is not
             (2) 20 days before the effective date of                 refunded with the notice of cancellation or
                 cancellation if we cancel for any other              when this policy is returned to us, we will mail
                 reason,    except    we    may   cancel              the refund within 15 working days after the
                 immediately if there has been:                       date cancellation takes effect, unless this is an
                 (a) A    material    misstatement       or           audit policy.
                     misrepresentation; or                             If this is an audit policy, then, subject to your
                (b) A failure to comply with underwriting              full cooperation with us or our agent in securing
                    requirements established by the                    the necessary data for audit, we will return any
                    insurer.                                           premium refund due within 90 days of the date
           b. We may not cancel:                                       cancellation takes effect. If our audit is not
                                                                       completed within this time limitation, then we
             (1) On the basis of property insurance                    shall accept your own audit, and any premium
                 claims that are the result of an act of               refund due shall be mailed within 10 working
                  God, unless we can demonstrate, by                   days of receipt of your audit.
                 claims frequency or otherwise, that you
                  have failed to take action reasonably                The cancellation will be effective even if we
                  necessary as requested by us to                      have not made or offered a refund.
                  prevent recurrence of damage to the
                 insured property; or




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   C. The  following is added to the Cancellation                          (2) 45 days before the effective date of
      Common Policy Condition:                                                 cancellation   if:
      7. Cancellation For Policies In Effect For More                          (a) Cancellation is for one or more of the
         Than 90 Days                                                              reasons stated in Paragraphs 7.a.(2)
         a. If this policy has been in effect for more                             through 7.a.(7) above, and this policy
            than 90 days, we may cancel this policy                                does not cover a residential structure
            only for one or more of the following                                  or its contents; or
            reasons:                                                          (b) Cancellation is based on the reason
            (1) Nonpayment of premium;                                            stated in Paragraph 7.a.(8) above;
            (2) The policy was obtained by a material                      (3) 120 days before the effective date of
                misstatement;                                                  cancellation if:
            (3) In the event of failure to comply, within                      (a) Cancellation is for one or more of the
                90 days after the effective date of                                reasons stated in Paragraphs 7.a.(2)
                coverage,        with        underwriting                          through 7.a.(7) above; and
                requirements established by us before                         (b) This policy covers a          residential
                 the effective date of coverage;                                  structure or its contents.
            (4) There has been a substantial change in                  c. If this policy has been in effect for more
                the risk covered by the policy;                            than 90 days and covers a residential
            (5) The cancellation is for all insureds under                 structure or its contents, we may not cancel
                such policies for a given class of                         this policy based on credit information
                insureds;                                                  available in public records.
            (6) On                                             D. The following is added:
                       the basis of property insurance
                 claims that are the result of an act of           Nonrenewal
                 God, if we can demonstrate, by claims             1.   If we decide not to renew this policy, we will
                 frequency or otherwise, that you have                  mail or deliver to the first Named Insured
                 failed   to take    action reasonably                  written notice of nonrenewal, accompanied by
                 necessary as requested by us to                        the specific reason for nonrenewal, at least:
                 prevent recurrence of damage to the
                 insured property;                                      a. 45 days prior to the expiration   of the policy
                                                                           if this policy does not cover a residential
            (7) On    the basis of a single property                       structure or its contents, or if nonrenewal is
                insurance claim which is the result of                     for the reason stated in Paragraph D.S.; or
                water damage, if we can demonstrate
                that you have failed to take action                     b. 120 days prior to the expiration of the policy
                reasonably requested by us to prevent a                    if this policy covers a residential structure or
                future similar occurrence of damage to                     its contents.
                the insured property; or                          2. Any notice of nonrenewal will be mailed or
            (8) The cancellation of some or all of our               delivered to the first Named Insured at the last
                policies is necessary to protect the best            mailing address known to us. If notice is
                interests of the public or policyholders             mailed, proof of mailing will be sufficient proof
                and such cancellation is approved by                    of notice.
                the     Florida  Office   of   Insurance          3. We may not refuse to renew this policy:
                Regulation.
                                                                        a. On the basis of property insurance claims
         b. If we cancel this policy for any of these                      that are the result of an act of God, unless
            reasons, we will mail or deliver to the first                  we can demonstrate, by claims frequency
            Named      Insured     written     notice  of                  or otherwise, that you have failed to take
            cancellation, accompanied by the specific                      action reasonably necessary as requested
            reasons for cancellation, at least:                            by us to prevent recurrence of damage to
            (1) 10 days before the effective date of                       the insured property;
                 cancellation if cancellation      is   for
                 nonpayment of premium;




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           b. On the basis of filing of claims for sinkhole               b. We may cancel or nonrenew the policy prior
              loss. However, we may refuse to renew this                     to restoration of the structure or its contents
                 policy   if:                                                for any of the following reasons:
              (1) The total of such property insurance                      (1) Nonpayment of premium;
                  claim payments for this policy equals or                  (2) Material misstatement or fraud related to
                  exceeds the policy limits in effect on the                    the claim;
                  date of loss for property damage to the
                    covered building; or                                    (3) We       determine      that you have
                                                                                 unreasonably caused a delay in the
              (2) You have failed to repair the structure in
                                                                                 repair of the structure; or
                  accordance with       the    engineering
                  recommendations upon which any loss                       (4) We have paid the policy limits.
                  payment or policy proceeds were based;                     If we cancel or nonrenew for nonpayment of
                  or                                                         premium, we will give you 10 days' notice. If
           c. Solely on the basis of a single property                       we cancel or nonrenew for a reason listed
              insurance claim which is the result of water                   in Paragraph b.(2), b.(3) or b.(4), we will
                 damage, unless     we can demonstrate that                  give you 45 days' notice.
                 you have failed    to take action reasonably          2. With respect to a policy covering a residential
                 requested by us    to prevent a future similar           structure or its contents, any cancellation or
                 occurrence of      damage to the insured                 nonrenewal that would otherwise take effect
                 property.                                                during the duration of a hurricane will not take
        4. Notwithstanding the provisions of Paragraph                    effect until the end of the duration of such
           D.3., we may refuse to renew this policy if this               hurricane, unless a replacement policy has
           policy includes Sinkhole Loss coverage. If we                  been obtained and is in effect for a claim
           nonrenew this policy for purposes of removing                  occurring during the duration of the hurricane.
           Sinkhole Loss coverage, pursuant to section                    We may collect premium for the period of time
           627.706, Florida Statutes, we will offer you a                 for which the policy period is extended.
           policy that includes catastrophic ground cover              3. With respect to Paragraph E.2., a hurricane is
           collapse coverage.                                             a storm system that has been declared to be a
        5. Notwithstanding the provisions of Paragraph                    hurricane by the National Hurricane Center of
           D.3., we may refuse to renew this policy if                    the National Weather Service (hereafter
           nonrenewal of some or all of our policies is                   referred to as NHC). The hurricane occurrence
           necessary to protect the best interests of the                 begins at the time a hurricane watch or
           public or policyholders and such nonrenewal is                 hurricane warning is issued for any part of
           approved by the Florida Office of Insurance                    Florida by the NHC and ends 72 hours after
           Regulation.                                                    the termination of the last hurricane watch or
                                                                          hurricane warning issued for any part of Florida
   E.   Limitations On Cancellation And Nonrenewal
                                                                          by the NHC.
        In The Event Of Hurricane Or Wind Loss -
        Reside ntial Property
        1. The    following provisions apply to a policy
           covering a residential structure or its contents,
           if such property has sustained damage as a
           result of a hurricane or windstorm that is the
           subject of a declaration of emergency by the
           Governor and filing of an order by the
           Commissioner of Insurance Regulation:
            a. Except as provided in Paragraph E.1.b., we
               may not cancel or nonrenew the policy until
               at least 90 days after repairs to the
                                _




               residential structure or its contents have
               been substantially completed so that it is
               restored to the extent that it is insurable by
               another insurer writing policies in Florida. If
               we elect to not renew the policy, we will
               provide at least 100 days' notice that we
               intend to nonrenew 90 days after the
               substantial completion of repairs.




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